                       EXHIBIT A




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Dear Honorable Judge Woodlock,

I had been hoping to speak directly to you on the day of sentencing but I understand this isn’t
the standard practice in Massachusetts and wasn’t allowed which is of course completely
understandable. So instead I am writing this letter which I hope you will read and I will still be in
the courtroom to show my love and support for David. My name is Sylvia Greenblatt. I was born
in 1927 in Hungary. I am a holocaust survivor and spent 1944-1945 in Auschwitz.
                                               lost my parents and numerous family members at
Auschwitz. My husband Bernie came to America in 1940 when his parents realized things didn’t
look good for the Jews in Hungary at that time. Even though he himself had fled persecution
the minute World War II broke out for the USA Bernie enlisted and served overseas in the
Pacific, serving his country, proudly his new homeland the USA, for 3 years (he was only 17
when he enlisted but was so determined to serve he somehow talked them into letting him join
at the enlistment office). I met David in approximately 2015. He lives in the same apartment
complex as me. When we first met Bernie was still alive. David became like a son to us. He was
a godsend. Our children don’t live in Miami and David took it upon himself to visit us, bring his
kids over to see us, and so many other things. I remember once commenting to David that
Bernie loves lamb chops but it’s hard for him to chew them and I can’t make them soft enough
for him anymore. David showed up the next day with the softest lamb chops in the world for
Bernie.




                                           I insisted on coming to Boston, on making the trip,
because he means that much to me. Your Honor I have heard you are a very nice and fair man,
a compassionate man. I am 95 years old. I don’t know how much time I have left but I do know
that any time without my David would be incredibly painful for me and I know that I have
suffered enough, far more than one should ever have to suffer in a lifetime, in even ten
lifetime’s. Please don’t take my David away from me for even a day. He has certainly learned his
lesson and he is sharing this lesson with others. His wife and children need him. I need him.
Please let him come home and stay there, with us. Thank you.

Sedonia Sylvia Greenblatt
Surfside, Florida




 Exhibit A - Page 002
Dear Judge Douglas P. Woodlock:

I am writing to you in support of Mr. David Schottenstein and his request for leniency.
My name is Pastor Eric Robinson, and I am the Spiritual Life and Wellness Coordinator
at Chapman Partnership. Located in South Florida, Chapman Partnership is a
homeless shelter that houses over 500 men, women, and children. I met Mr.
Schottenstein last year, when he came to the center to inquire about volunteer
opportunities. During our initial conversations, David was fully transparent and
forthcoming about his life’s journey; he shared his accomplishments as well as
transgressions. Soon, it became clear that David wanted to do more than simply
volunteer; he wanted to truly atone for his sin.

Despite having fundamental differences in our religious beliefs (Christianity versus
Judaism), David and I agreed to work together for the betterment of the South Florida
community. Together, we created a 12-week male mentorship program (Chapman
Champs) that addresses life skills, addiction, and financial literacy. To date, David has
done extraordinary work with the mentees; his impact is tangible. He truly gets
involved with the mentees, helping them find jobs and apartments, obtain medical
records, etc.--whatever it may be that they need to transition out of homelessness. He
takes initiative, provides the mentees with his cell phone number, texts them,
helps them, and encourages them at all hours of the day. David has gotten his family
involved as well. His daughter attends the Chapman Champs sessions and has recently
inquired about starting the same type of program for the female residents. He is
also collaborating with our staff on creating new Social Enterprise Programs which will
not only provide much needed employment to some of our residents but will provide
additional much needed revenue to Chapman Partnership.

Your honor, you possess the power to influence people’s lives and to set them on the
right path.




                      I have served as a chaplain for the Department of Juvenile Justice
and an educator for the GATE program which targets juvenile weapons offenders.
I am currently engaged in the Kairos prison ministry at Everglades Correctional
Institution, and I am an ordained pastor, a certified addiction counselor, and
a certified behavioral health technician. Your honor, I understand David’s path to
redemption because I have walked in his shoes. I have seen David’s dedication,


 Exhibit A - Page 003
compassion, and eagerness to help those in need. I don't know who David was prior
to meeting him, but I admire his tenacity and his genuine desire to help those who
cannot help themselves.




                                     . I pray that you could have mercy on David and
allow him to continue the work that God has started in him and his path of
redemption.
                                                                                 The
people we work with don’t have many champions but David is one of them. Please
allow him to continue being their champion.

Thank you,

Pastor Eric L. Robinson




 Exhibit A - Page 004
December 16, 2022                                                                Arlene B.C. Peterson




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,

This past year, I had the pleasure of meeting David Schottenstein in my role as Vice President
of Philanthropy at Chapman Partnership. In our first interaction, we discussed his interest in
learning more about our mission, and scheduled a tour. As we walked through the center, his
comments were thoughtful and his questions were mainly about how he could help.
Following the tour, we had a chance to sit and discuss his impressions and explore opportunities
for further involvement. I invited our resident chaplain, Pastor Eric, to join us, and it was truly
one of the most memorable conversations I’ve had this year. The three of us, from different faith
perspectives, life experiences and backgrounds, found instant rapport and common ground while
discussing our desire to serve the needs of our clients experiencing homelessness. We designed a
plan for inspiring our clients to rebuild their lives through love, compassion and one-on-one
mentorship. David’s ideas helped Pastor Eric and I develop a more solid approach to the
program, and we were encouraged by his enthusiasm to bring his years of successful
entrepreneurial and business experience to impact the lives of those we serve.
He fully accepted responsibility for his misdeeds, and demonstrated incredible integrity and
humility as he expressed how this has influenced his role as a father and member of our
community. It became very clear to Pastor Eric and I that he sincerely regrets what he has
done. He described having to face his adolescent son with the truth of his wrongdoing, and his
determination to leave a legacy of service and good stewardship with all that he has available to
him.
As a mother of six children, this really resonated with me. We discussed the responsibility we
have as parents, to teach our children to live their lives with integrity and in the service of others,
and I thanked him for his honesty. Shortly after, he brought his son to the center to provide a
beautiful and incredibly memorable Seder meal for our clients. Individuals from all faiths
participated, and it was so beautiful to learn about the details of this sacred tradition from David
and his son. The clients were curious and enjoyed a wonderful time of fellowship. This was one
of many instances where David came to our center to spend time with our clients, especially
through the Chapman Champs mentorship program.




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David’s role as a mentor made an incredible difference to our clients. One client in particular,
benefited from time with David. David helped him with public speaking, introduced him to
someone who offered him a good paying job, and developed a plan for his future that includes
creating a program to help mothers experiencing homelessness. This is a personal passion for
this young man, and during this time, he gained much confidence and learned how to take his
own experiences of adversity and homelessness to inspire and help others.
In addition to the mentorship program, David has been working with our President and CEO
and other leaders in our organization to develop a Social Enterprise model that can be
integrated into our Workforce Trades program. His expertise and business experience has been
invaluable and he has been incredibly generous with his time and guidance.
I have worked in Philanthropy for close to thirty years, and have witnessed members of our
community exercise their philanthropic involvement in a variety of ways. This past year, it has
been a true pleasure to see David’s enthusiasm and desire to support the needs of our mission.
He is humble, curious, thoughtful and engaged for the love of community. These core values
and so many more shine through in every interaction, and I feel blessed to have met him.
It is very difficult for me to imagine David facing a sentence that would keep him from the life
of community and service that I have observed this year. My hope is that he is able to continue
to work with us and the clients we serve to rebuild lives as he continues to rebuild his. Please
receive my letter as a vote of confidence in David, and as a request to consider leniency in his
sentencing. He is a beloved member of our Chapman Partnership family.



Respectfully and Sincerely,




Arlene Peterson




 Exhibit A - Page 006
December 7, 2022
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor


         Re: David Schottenstein
Dear Judge Woodlock,
My name is Hindel Swerdlov, a citizen of the United States, and I have been living with my
husband and seven children in Israel for 25 years. I’m 48 years old, female, and I ran my own
beauty salon for ten years while my husband worked in the travel industry. In 2009, our
daughter, the fourth of seven, was killed by a hit-and-run driver in Jerusalem. Our lives were
drastically overturned, and we both quit our jobs to start more meaningful lives that contributed
to community service. We now run a non-profit assisting many with food packages, and we also
have a thriving children’s lending library open five days a week in memory of our daughter
Shula, called Shula’s Library. I am the director and coordinator of over 450 families as members
and over 5,000 books on our shelves.
I am also a Jewish Mysticism teacher and a motivational speaker for Chabad communities
around the world, and contributing writer to a bereavement magazine called Our Tapestry.
My husband, Rabbi Yossi Swerdlov, since our loss in 2009, has been on the board of several
charities and now works for the Azar Foundation as CEO, delegating funds to those in need.
We first met David in Italy when he was a studying Yeshiva student in Venice at about age 16
(around 2001?). His kindness jumped out at us as he had just met us at the synagogue but
begged us to give him some time to put together a package of Italian goodies for his friends in
Jerusalem. He was warm, outgoing, sincere, confident, and already nurturing. He was just a kid.
We met again when he married my best friend Tzivia Wuensch’s sister, Eda. Tzivia’s husband is
Yossi, who happens to be David’s first cousin. David has such a big heart that, by association, he
loved Yossi and me because Tzivia and Yossi were our friends.
When my daughter was killed in 2009, David was so heartbroken for us that he told me he
wanted to bring another child into this world since ours was senselessly taken. Ten months later,
he and Eda gave birth to their third child and named her after our daughter, Alta Shula. May I
add that in Jewish custom, parents hesitate to name their children after someone who died
young or tragically because of superstition?
I have 11 siblings, and not ONE has named their child after mine.



 Exhibit A - Page 007
David, with his natural way of always wearing his heart on his sleeve, wanting to help others
and do whatever he can to ease people’s pain, hardship, challenges, and struggles, knew that the
greatest gift he could ever give a bereaved mom is to name his child for the deceased. Therefore,
he did.
When I heard that David might be charged with a federal crime, I called him immediately to tell
him how much we love him, and he has friends in his corner as support while he goes through
the judicial system and whatever it entails. He was quite remorseful and humbled on the phone.
Throughout the years of being friends with Tzivia, I have heard her say countless times that I
have no idea how much David does for charity without anyone even knowing. Many people have
lots of pride and would never want public knowledge that he is being charitable to them and
their families.
What I can tell you personally is that David has sponsored countless projects in memory of our
Shula. From as humane as buying my family a dishwasher so that I don’t have to work physically
so hard while I grieve to sending gifts for the kids and myself with beautiful shoes and electronic
games and constantly doing acts of goodness and kindness in Shula’s merit, David also
dedicated a Torah scroll to the Alef institute, sponsored YEARS worth of Torah classes, and daily
Torah study by sponsoring the Chayenu Magazine also in memory of our daughter. Jewish
tradition believes that doing good deeds on the merit of the deceased brings life to her soul I can
tell you, as a mom, the fact that so many projects have been done in memory of Shula and that
little Alta Shula Schottenstein exists brings daily comfort like no other! David continues to this
day, sending us videos and photos of his Alta Shula at her milestones.
I'd like to also mention that I honestly have never seen as an attentive husband as David. David
NEEDS his wife Eda like his oxygen. He is NOT ok without her. He is jittery when she is not
nearby. She is his life force and his sanity. I’m not sure how he’ll fare with much time away from
her, and without projecting,
                                       . She is usually at his side when he travels, even for one
night and for all his charitable events and works. He is his full golden self when she is around.




David has consistently been all goodness, heart, and mushy feelings. He is sentimental, loving,
and all embracing. He has tolerance for all kinds of people.
I already know, as per our conversation when I called to lend support when the court case was
made public, that he is willing and will do anything to make things better in the future. I would
stand behind him so that he would never be a repeat offender.
I beg on behalf of David, Eda, and their children Ari, Nina, (Aliyah) Alta Shula, and Reva, to be
gentle and merciful in your judgment on behalf of the words above. David is one of those rare
people in our life that have changed the world for the better with quiet and humble good deeds,
one at a time.
Respectfully Yours,
Hindel Swerdlov



 Exhibit A - Page 008
        December 27, 2022                                                         Yakov Fellig


        BH
        December 27, 2022
        Judge Douglas P. Woodlock
        John Joseph Moakley U.S. Courthouse
        1 Courthouse Way, Suite 2300
        Boston, Massachusetts 02210
        Courtroom 1, 3rd floor
        Re: David Schottenstein

        Dear Judge Woodlock,

        Re: David Schottenstein

        Your Honor,

        My name is Yakov Fellig. I reside in South Florida. I am writing regarding David
        Schottenstein.

        I understand that the Court will soon be imposing a sentence upon David for his part in
        connection with a case I know very little about. I know David sincerely regrets
        whatever his conduct was, which now finds him before the Court, but that is for him
        to express in his own words. The purpose of my letter is to give the Court some deeper
        insight into David’s character.

        When my son Tzvi was first married and looking for work, David hired him to work at
        his men’s clothier business, even though Tzvi had no prior experience. David
        mentored my son, allowing him to learn the business and make a living to support
        his new wife and new infant. After working with David and learning the business, Tzvi
        was presented with a new opportunity and, with David’s continued support, moved
        on to a new company. While I was aware of Tzvi’s relationship with David
        Schottenstein, I was not well-acquainted with him.




Exhibit A - Page 009
                             .

               I firmly believe that the goodness in people will eventually triumph over one’s
        shortcomings. I also agree that misconduct should not go unpunished. But where
        discretion is permitted regarding the severity of punishment, one’s previous unique
        acts of humanity and good deeds should be given appropriate consideration in the
        final determination.

               As I mentioned, I did not know David Schottenstein well before my son’s
        accident. But my wife and I have come to know him very well in the aftermath. While
        not without his shortcomings, David Schottenstein’s goodness is truly legendary.



                                                                               I plead with
        your honor to allow David to remain at home with his family so he can keep doing
        what he is doing for us, his family, and all the others he cares for.



        Sincerely,



        Yakov Fellig




Exhibit A - Page 010
Judge Douglas P. Woodlock                                                   Lenny Russel
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein




Dear Judge Woodlock,


My name is Lenny Russell. I am writing this letter on behalf of my mentor, David Schottenstein.
(I used to call him Mr David but then he said if I kept calling him then he would start calling me
Mr Lenny so now I just call him David). God gave me the opportunity to be at the right place and
at the right time to meet David and to have real redemption in my life.

Based on some bad decisions I made in my life I have had major setbacks. I lost everything.




One day, Pastor Eric Robinson, who works at the shelter, asked me to join a new mentorship
program he was starting with this guy named David Schottenstein. This man changed my life. He
made me believe in myself, he gave me the strength and hope to really work on myself and stay
on the righteous path. David taught me about finances, he taught me about how to interview for
a job and a whole bunch of other things I need to live a productive and meaningful life. They say
don’t give a man a fish, teach a man to fish. That’s what he did. Honorable Judge, he went way
further than that. After I got laid off at the towing yard David told me “Lenny don’t worry, I got
you, we will find you something even better”. And he did. He got me an interview with a
company one of his friends owns and I have been happily working there for quite some time
now. The new job was far away and the bus route was very tough. I had to change 3 buses to get
there so David helped me buy a car. He got me auto insurance too. He then helped me move out
of the shelter and move into an apartment, the very first time I have a home of my own. I have
never had my own place. David actually drove with me to see the different apartments to make
sure they were in good locations and to make sure I would be comfortable. And he did this same
type of stuff for other guys who were in the mentorship class and who have all moved out of the
shelter into their own apartments and now these guys are working and being real members of
society.




 Exhibit A - Page 011

For the first time in my life I have a steady job, a home and car of my own and a father figure in
David and real love. He even has us come over on Sunday’s to eat dinner with him and his
beautiful family. I’m sorry for going on too long but I need to share this too because it’s very
important. David told me “Lenny you inspire me and you can inspire others and you need to use
your voice to go talk to young kids who are in the situation you were in and have a choice to
make and get them to make the right choices. Be a role model to them. Get them to learn from
your experience and they will choose the righteous path”. The problem is I have never spoken in
front of people before. So David hired a speaking coach for me, Rosh Lowe, and this fellow
taught me how to get up and share my message. Once I finished the lessons David started
arranging for me to speak in front of audiences and we are having a real positive impact on these
young folks.

We have created a platform for positive change. David and Pastor Eric even have me speaking
at the next round of their mentorship program so it’s all coming full circle. We might not
change the world but we can change and touch all these lives around us and get them to go out
and do good too, just like David has done with me and the other guys. Honorable Judge
Woodlock I ask for your mercy on David, I ask for you to please let him stay with me and with
us and to not make him go away not even for one day. We have so much more work to do, we
have so many more young people to help and I ask that you let David keep doing his deeds of
redemption for the greater good. Thank you so much.

Respectfully,

Lenny Russel




 Exhibit A - Page 012
Exhibit A - Page 013
Exhibit A - Page 014
December 8, 2022                                                                          Anna Sirota




  Judge Douglas P. Woodlock
  John Joseph Moakley U.S. Courthouse
  1 Courthouse Way, Suite 2300
  Boston, Massachusetts 02210
  Courtroom 1, 3rd floor
  Re: David Schottenstein

  Dear Honorable Judge Woodlock,

  My name is Anna Sirota. My daughter Eda is married to David Schottenstein. From the day Eda and David got
  married, David was and still is the anchor of our family.
                                                                                                            . He hired
  help for her family, paid tuition for her children, bought a car for her husband, and even paid for music lessons
  for her children.

                                                                                                He continued his
  support, sending older children away for education and paying tuition, sending them to summer camps – doing
  everything in his power to help.

  When my other daughter’s husband lost his main supporter in the organization that he runs to help
  underprivileged youth, David immediately came to the rescue so the organization could continue, so my other
  son-in-law did not lose his source of income.




  David Schottenstein gives me more strength and support than anyone else in the family. He gives me great
  support and is my pillar of strength
                                                                                          He gives me
  unprecedented moral support.




  I was devastated when I found out about David’s legal problems. David sincerely regrets his act. He stopped on
  his own before he was approached by the FBI. David will never commit any offense again.




        Exhibit A - Page 015
                                                                                                       David is
such a family man. He has never missed family events. He is a part of our daily lives.


Your Honor, I beg you with all my heart, please have compassion for David. So many people will suffer if we are
separated from David. So many people will suffer if he is not there for them. We all need David. We beg for
compassion and mercy.

Sincerely,

Anna Sirota




      Exhibit A - Page 016
January 4, 2023                                                                   Amanda Gore




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
        Re: David Schottenstein

Dear Judge Woodlock,

This letter is intended to speak on the character of Mr. David Schottenstein, who I worked closely with
for 16 years. I met David in the spring of 2006 when I came to his small office in downtown Columbus,
Astor & Black Custom Clothiers. I remember the day quite vividly as he, a young man, also had his son
Ari, a young toddler, with him. As we spoke, I immediately noticed that David had such down-to-earth,
charismatic energy as he played ball with his son in the office. I had no idea at the time that he was a
“Schottenstein, " a very prominent name In Columbus, Ohio. I appreciated David as he gave me, a
minimally educated woman and single mom, an opportunity at his company to work part-time in office
support. Although I came from corporate America, the thought of working part-time with a startup was
exciting. Over the years, David invested in me and my career. David taught me things that any higher
learning institute could never teach. David also invested in my children and took great interest in their
well-being and success just as a close relative would, maybe even more.

I would love to share some examples of things he did for me, my children, and my colleagues over the
years. These are just a few examples of many that I could write about.

In 2009, my home was robbed twice in two weeks. Without hesitation, David reached out to the entire
company sharing my story and asked the team to donate to replace the stolen items, and he would
match 100% of what everyone else would donate. No one had ever done something like this for me. I
foolishly had no renter’s insurance, and I was so grateful. That same year I needed a co-signer on a
vehicle. I humbly asked David if he would be willing to do so, and again without hesitation, he said yes.
The trust it takes to put your name on the line for someone who works for you isn't a small thing and
how quickly he said yes was astonishing.

In 2013, David helped me with a down payment on a home. My family wouldn’t be able to do or afford
this, and he did it again without hesitation.

In 2014, we hired a young man who had just graduated high school, Boycie Richardson. David always
tried to hire people from disadvantaged backgrounds, such as minorities and single moms. I know that is
something David does until today. Boycie came from the projects, but that only made David want to hire
him even more and give him a chance. David took great interest in him and his success, and Boycie
quickly became a close member of the team.




 Exhibit A - Page 017
                                                                         The relief I saw on Boycie’s
mother's face when I relayed the news that David would cover all the costs was so touching.

From 2008-2016, David sponsored my son’s traveling baseball team. David really enjoyed watching my
son grow and live his dreams and was always willing to invest in making that happen all the way to
college, where my son attended Notre Dame University on a baseball scholarship.

Lastly, during my career with Astor & Black, I encountered situations with a couple of key employees
whose behavior and conduct should have resulted in their termination. However, David always wanted
every employee to succeed and extended countless opportunities for these two individuals to improve.
Many employers would have given up on such employees. Still, David sees the best in every person and
is extremely compassionate and generous even when these key employees weren’t deserving at all. He
always gave people 2nd and 3rd, and even 4th chances.

I cannot express how much I admire David; he was never an entitled man. He has always worked hard
for everything, which directly reflects his amazing parents and family. David was always in the trenches
with the employees doing the work, not just barking orders. His work ethic and extreme level of
empathy for not only his community but for all he meets are unwavering and selfless. These qualities
have motivated me to be better and to believe in myself; for this, I will always be grateful.

In closing, I would like to say this: The Bible says everything is measured for measure, that we are
treated as we act toward others. Please treat David with the same level of mercy and understanding
that David himself judged others over and over again and give him a chance to show you exactly what I
have seen for almost two decades. He has given so many people so much and extended many extra
possibilities and opportunities to everyone he came into contact with. Please give him just one chance.
Please allow him to remain with his family and not be separated from them.

Kindest Regards,

Amanda Gore




 Exhibit A - Page 018
February 2, 2023                                                             Aaron Lipskar


Honorable Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

        Re: David Schottenstein

Dear Judge Woodlock,

I am writing in reference to Mr. David Schottenstein’s sentencing. My name is Rabbi Aaron
Lipskar. I am the Executive Director of an advocacy nonprofit for those in limited positions,
such as the brave men and women serving in the US military. I have been living in Surfside, FL,
for 20 years.

My relationship with David goes back many years before he made Surfside his home. Our
connection started through his loving children who connected with mine. I could immediately
tell he was and is a loving and caring father and husband, a real family man.

When David made Surfside his home, he immediately got involved in all community activities.
David and his wife, Eda, are extremely sensitive and compassionate people. When they heard of
the work that my organization has done helping those in limited environments, they immediately
wanted to partner with us to help in any way they could.

For over a decade, David has partnered with us. Ten years ago, David approached me and asked
how the men and women serving on bases across the country and throughout the world managed
to observe the holidays without having access to the prerequisite materials. After telling him we
did the best we could to get those materials out to the soldiers, David suggested that we establish
a formal program for each holiday that he would underwrite and sponsor, sending out all holiday
essentials to military personnel around the world, as far as Afghanistan, Iraq and beyond. For
David, it simply wasn't enough to just write the check. He wanted to ensure that the packages
arrived at the bases in pristine condition, in a way that demonstrated our gratitude to the soldiers
receiving them, so David personally involved himself in the packaging, the presentation, and the
quality of what was being sent out. It had to all be top-notch for the US military. When David
heard we were having an issue with FedEx and the exorbitant prices for shipping around the
world, he got involved in speaking with FedEx on our behalf. He was able to use his business
skills to negotiate amazing pricing, which we still benefit from today. Tens of thousands of
packages have gone out from these programs, which occur numerous times per year given a
large number of holidays. A couple of years after these holiday programs began with David’s
support and assistance, he approached me again. He asked me how soldiers around the world
handled giving their children gifts during the holiday season while away serving their country.
And so, again, with David’s direct oversight and complete support, we started a holiday gift
program, ensuring children received holiday gifts from their parents who are away serving in all
parts of the US and throughout the world. David personally cared about making sure that these
children felt connected to their parents and didn’t suffer due to their absence, and he did




 Exhibit A - Page 019
something about it. Every single year since then, David has proactively come to me to ensure
that we are not only repeating each of these programs but that they are expanded to include
more. And every single year since then, he has underwritten them with no fanfare. The
servicemen and servicewomen who are the beneficiaries have never met him and likely never
will. He has shown us how sincere he is. There is no agenda or personal gain to his generosity.
His giving and involvement are simply about assisting us in many humanitarian causes, wanting
to better the lives of those around him.

I have spoken to David many times over the past few months. He has learned his lesson and
understands that breaking the law has severe consequences, consequences I have watched him
suffer through, suffering in ways that are hard for me to even write about.

He has already taken this unfortunate experience and turned it into a positive by dedicating
himself even more to helping others. David has always been a force of good, someone who
clearly is committed to helping others in every way he can, both locally and far beyond. And
now he has taken this terrible experience and turned it into something incredibly positive,
teaching others about his failures, what led to them, and so on. His speeches have a very serious
impact. Please let him continue doing this important work and continue doing all of the other
incredible things he does that help so many who desperately need his help and benefit from him
in so many different ways. Therefore I respectfully request that your honor show him mercy and
compassion and not sentence him to physical incarceration.

Thank you, and may the Almighty bless Your Honor.

Respectfully yours,




Rabbi Aaron Lipskar




January 29, 2023                                                    Chaplain (MAJ) Moshe Lans


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210




 Exhibit A - Page 020
Courtroom 1, 3rd floor

Re: David Schottenstein

Dear Judge Woodlock,



Dear Honorable Judge Douglas P. Woodloclk,

I do not know Mr. David Schottenstein or anything about his legal situation. However, I know
Mr. Schottenstein is a benefactor of the Aleph Institute, a Jewish humanitarian organization for
prisoners and the United States Armed Services. Mr. Schottenstein's generous charity has
positively impacted my United States Army active-duty chaplain's ministry.

Mr. Schottenstein donates money throughout the year to the Aleph Institute, which provides
Jewish holiday ecclesiastical supplies and care packages. Without Mr. Schottenstein,
countless Jewish Service Members and their families would not have been able to observe the
tenets of their faith.

Please consider Mr. Schottenstein's philanthropy when deciding his fate. Thank you for your
favorable consideration.

Sincerely,

Mook Sans


Chaplain (MAJ) Moshe Lans




30 January 2023

Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor




 Exhibit A - Page 021
Re: David Schottenstein

Dear Judge Woodlock,
I am writing this letter to express my gratitude towards David Schottenstein for his support of
Aleph's military program, particularly regarding the Jewish Holidays supplies he sent to overseas
and deployed service members. During the past four years serving on bases in Japan and
Germany, I received these supplies. They significantly impacted the morale and spiritual well-
being of my Airmen and Marines.
David's generosity allowed us to observe the Jewish holidays with dignity and tradition, despite
being away from our families and homes. His thoughtfulness and commitment to the welfare of
deployed service members made a lasting impression on our community and me, and I know
that many others shared my experience.
I can attest to the value and impact of David's gift, and I am grateful for his support of our
military community. I believe that his charitable work should be recognized and
appreciated, even amidst the current circumstances.
Thank you for considering this letter.
Sincerely,


Chaplain, Captain Levy Pekar
Ramstein Air Base, Germany




                           Chaplain (LTC) Shlomo Shulman
                        Mihail Kogălniceanu Air Base, Romania




January 30, 2023

Judge Douglas P. Woodlock




 Exhibit A - Page 022
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

Re: David Schottenstein

Dear Judge Woodlock,

Your Honor, the purpose of this letter is to vouch for the character and integrity of Mr. David
Schottenstein.

I am a US Army chaplain stationed in Romania at the moment, with many months of deployment
experience under my belt. David has supported military assistance programs for years, and I have
nothing but the utmost gratitude for him and all he has done.

We spend a lifetime building our reputation and credibility so that we can leave a brilliant
legacy behind after we leave this world.

David has given so much to so many out of the goodness of his heart, and we – his friends and
family – are praying that this kindness is what he will always be known for.

David's generosity has allowed countless Jewish servicemembers to freely express their
religious faith and remain true to their traditions. So many of us have been able to observe the
Jewish Shabbat and holidays at the highest standards – despite being so far away from home –
thanks in no small part to David.

I can only attest to the impact David's support has made on Jewish servicemembers, as well
as his own circle of friends and family, and for this, we are most grateful.
It is our firm belief that his graciousness should be recognized and applauded. Please
consider this letter as a token of my resounding support for Mr. David Schottenstein.
Thank you, Sir, with only blessings to you and yours.
Most sincerely,


Shlomo Shulman




 Exhibit A - Page 023
                               DEPARTMENT OF THE ARMY
                          HEADQUARTERS, 106TH SIGNAL BRIGADE
                            2406 GUN SHED RD, BUILDING 2265
                             FORT SAM HOUSTON, TEXAS 78234



                                                     SAAC-CH 19 January 2023
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

        Re: David Schottenstein




Exhibit A - Page 024
Dear Judge Woodlock,

On behalf of myself and the Jewish community at Fort Sam Houston, Texas, we would like to
express our gratitude and support for Mr. David Schottenstein.

Through David’s generous support to the Aleph Institute Military Programs, Jewish Soldiers
and families have been able to observe and celebrate our Jewish traditions and heritage even
when far from the shores of our blessed country.

As I witnessed firsthand the excitement on Soldier’s faces when they received a holiday package
from the Aleph Institute, a reminder that there are people who care about them even in the
wilderness of Afghanistan, the deserts of Iraq, and the remote corners of the world. The Aleph
Institute would not have been able to send us these care packages without David’s generous
support.

I respectfully appeal to you to consider this when judging David, as the verse states,
“Tzedek Tzedek Tirdof – Justice, justice you shall pursue (Deuteronomy 16:18).” A judge
must pursue justice in humility, seeking the truth, leading with impartiality to facilitate
an ethical society, and ensuring that punishment should fit the transgression.

I pray that the Almighty G-d, who alone rules the world with justice, yet places in our hands
the solemn duty of participating in shaping our government and society through men and
women of wisdom who respect His laws, to give you the insight and clarity to judge impartially
and implement the laws justly.

Please do not hesitate to contact me at menachem.m.stern.mil@army.mil.


Sincerely,

MENACHEM M. STERN

Chaplain (MAJ), USA Jewish Chaplain




 Exhibit A - Page 025
December 9, 2022                                                          Adam Kashtanov




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

I am a father of a family with five children. We immigrated to Canada from Russia. I have a degree in
Computer Science from Russia but was unable to find a job in Montreal. I do not speak French, and my
English conversation is poor. I can read and write English, but learning to speak languages was always
difficult for me. We did not work and lived on welfare. We lived in a basement apartment with two
bedrooms. All our five children were sleeping in the same room.

We started coming to David and Eda Schottenstein’s Community Centre several years ago. We met
David Schottenstein there. When David learned about our difficult financial situation, he started helping
us where he could. When he was not in Montreal, he still kept in touch. He called me to find out how
my family is doing, always sending money to help. He started calling his contacts in Montreal to see if
anyone would hire me despite my poor language skills. One person, a generous donor to David and Eda
Schottenstein’s Community Center, Lorne Dubofsky, who donated beautiful windows when the building
was renovated, agreed to help. He gave me a job in computers at his company.

I have been working there for the last few months. I do not drive, and getting to work takes me 1.5
hours each way. I leave to work at 6.30 am and come home at 7.30 pm, but I am now able to provide for
my family. We just moved to a bigger place where we have two bedrooms for our five children – one for
girls, one for boys. It was thanks to David that I am now working. We are so thankful to David for his
financial help but, most of all, for caring and spending his time looking and helping me to get my first
real job in my field in Montreal. I hope this letter assists you in looking favorably at David, as we do. He
has done so much good for us.

Thank you,

Adam Kashtanov




 Exhibit A - Page 026
December 28, 2022                                                          Alex Kivritsky




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

My name is Alex Kivritsky, and I came to Montreal, Canada, from Donetsk, Ukraine. I met
David Schottenstein at the David and Eda Schottenstein Community Centre. Previously, I was a
practicing psychiatrist in Ukraine, and was going to pursue my studies in Canada to get a
medical license here.

After meeting with David, I was able to find a school in Vancouver, Canada, that trains foreign
professionals in the medical field, and they accepted me as a student. I am now actively studying
for medical exams to become a medical professional in Canada or the USA. David and I have
kept in touch via Facetime, Whatsapp, and email.

When the war in Ukraine started on February 24, it was I who needed David's help. My mother
moved from Donetsk to Kharkiv before the war, but now the Russian forces have started
bombing Kharkiv. She was forced to hide in the basement of a synagogue. David arranged
through his contacts for my mother to be put on a bus that took people from Kharkiv to
Poland. She then waited in Poland for a Visa to come to Canada, and arrived in Vancouver two
months ago, finally reuniting us. All of that happened thanks to David Schottenstein.

I beg you for compassion for David, for the sake of his family and so many other people he has
helped.

Respectfully yours,

Alex Kivritsky




 Exhibit A - Page 027
Janurary 11, 2022                                      Alex Vinokur


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

My name is Alex Vinokur. As a child, I came to Canada from Ukraine with my parents
and my sister. After graduation from high school, I studied in a trade school to become a
TV repairman. I worked as a repairman for TV and stereo equipment for a few years.
After a few years, my father and I opened our own service company, which was doing
well. I met a girl, and we got married.


                                                                                   . My
father had to hire someone to keep the company open. He did not have the expertise
that I had, so the company was not doing well anymore, but he kept it afloat, hoping I
would get better and return to work.

My sister was a very close friend of Sara, Eda Schottenstein's sister.

                                           . In fact, he is a very successful businessman,
and he was the one who bought the David and Eda Schottenstein Community Centre
for our community. I was never involved with the community or attended any programs,
so I did not even know the community was looking for a building of its own.
                . My sister, who was trying so much to help me, asked if I would agree to
meet David Schottenstein and talk to him. I agreed.

In the summer, David came over to my house. We talked for hours.




                                        I met a woman who is a single mother and
much older than me but who understands my struggles. She helps me in my journey.
When my father passed away,                                           . David came to
the funeral; he came to the rescue. My new wife was on my side and helped me as well.
I am now able to work on my own. I now repair the cash registers and make just enough
money to be able to provide for my family.


                                                                   . We are begging you
to show compassion to David. We are pleading for mercy.




 Exhibit A - Page 028
Respectfully yours,

Alex Vinokur




 Exhibit A - Page 029
December 28, 2022
Aliyah Schottenstein

Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,

My name is Aliyah Schottenstein. I am 12 years old, and I live in Miami. My father is David
Schottenstein. I call him Tatty. I work very hard in school and get mostly A’s. I try to follow my
mommy and Tatty’s example as best as I can and am part of lots of different programs outside
of school that help people who need it. I also help my Tatty take care of our special neighbor
Sylvia. My brother Ari said he is writing a letter to you about my Tatty and my sisters Nina and
Reeva and myself all wanted to write letters to you too, but my parents said no because we are
younger and they want to be respectful of your time, and we already got to speak about our
Tatty on the video. All of us could write hundreds and hundreds of pages about the good things
my Tatty does for everyone, even people he has never met. But I wanted to just write about
one specific thing that has to do with me.




                                                                            .

Last summer, I tried to go to sleep away camp. I wanted to come home after being there for
only a few hours because the homesickness was so bad. It didn’t help that some of the mean
girls made fun of me because of my Tatty’s legal problem and because he did something wrong.
But my Tatty spent the entire week on the phone with my counselors and the camp mother and
with me and was able to get me to stay in camp for a full week! (which was a very big victory
for me!) After a week, he drove into New York and picked me up himself and then spent the
rest of the summer making sure I had activities and productive things to do, like an art and
writing workshop. That week in camp gave me a lot of confidence.




 Exhibit A - Page 030
Exhibit A - Page 031
Exhibit A - Page 032
                             A N G E L                    R A M O S
                                          N   E   W   Y   O   R   K




        December 28, 2022                                                  Angel A. Ramos


        Judge Douglas P. Woodlock
        John Joseph Moakley U.S. Courthouse
        1 Courthouse Way, Suite 2300
        Boston, Massachusetts 02210
        Courtroom 1, 3rd floor
        Re: David Schottenstein


        Dear Judge Woodlock,


        My name is Angel Ramos, and I’m a Menswear Designer based in New York City.
        I’ve owned and operated my own business (ANGEL RAMOS | New York) for 12
        years. I'm also married for 17 years, and my wife and I have two children.

        I met David Schottenstein in 2010 when he gave me the opportunity to work for
        him as a salesman in his company, “Astor & Black Custom Clothiers,” when no
        one else in the industry would even look my way due to my lack of experience.
        However, David did.

        Although our relationship began like any other employer-to-employee, it quickly
        became a genuine friendship once I departed the company a year later to embark
        on my own journey. I wanted to start my own business, and not only did he give
        me his blessing to do so after only being with his company for a year, but he
        assisted me with the connections and gave me the direction to do so. As a result,
        he not only got my venture off the ground immediately but ultimately saved me
        upwards of $500,000 in an 8-year period.

        In all the years that I’ve known David, I have been inspired by his generosity. In
        some cases, when I worked for him, his generosity even made me uncomfortable
        because I was so undeserving of it. Still, his heart was always pointed in the
        direction of others, not toward himself.

        I can give countless examples of my experiences with David, but I’ll limit myself
        to two that stand out for me.

        The first occurred when I worked for him at Astor and Black. I was based out of
        Miami, FL, and by the time I started, Miami had a pretty thick book of business.
        David would often call and ask for me to go see specific high-powered clients,
        whether they were A-list celebrities, high net worth individuals, or mega athletes
        so that I could essentially wrap up a sale he had begun with them.


Exhibit A - Page 033
        He would literally have it all set up for me, what exactly they were buying, how
        much, and with every last detail. I would just show up, show them exactly what I
        was told to, and accept payment, sometimes for upwards of $30k-$40k. Since it
        felt like I had done so little, it only seemed right to immediately call him after
        such appointments, update him, and tell him I’d give the information to his
        assistant to place the order. Still, he always refused and would always say, “You
        place the order and get paid for it.”

        Quite frankly, I felt as if I was taking advantage of him because he was letting me
        get paid $10,000 on a commission that was all his work. Yet, he always said, “No,
        it’s your commission and now, your client.” This happened on multiple occasions.

        However, even more, powerful and meaningful, something that really hit home
        and spoke volumes about David, is this next incident.

        David’s always been a family man, through and through. He loved his kids and
        wife like no one else I knew. And approximately two years after I started my
        company, I was in Miami visiting David, as I would often try to do since
        relocating to New York City.




        David saw my pain as a friend, immediately understanding that writing a check
        for $40,000-$50,000 to start the process was just something I wasn’t able to do.
        He left the room and returned, holding a check for the full amount. I immediately
        burst into tears. At first, I refused to take it, but he persisted because that’s who
        he is. David Schottenstein is honestly one of the most selfless individuals I know.
        And I’m extremely grateful to know him.

        This conviction truly casts a shadow over the otherwise great and admirable man
        I know David is. He belongs at home with his wife, Eda, and four beautiful
        children, so that he can continue loving them, providing for them, and being the
        generous man he is, inspiring them to continue his legacy.

        I ask that you show compassion to a true family man, a generous man, and
        ultimately, a genuine man of God so that he may be with his beloved family.
        Please show mercy towards him, and allow for reconciliation.

        Thank you for hearing my story about David Schottenstein.

        Respectfully Yours,

        Angel A. Ramos, Creative Director

        ANGEL RAMOS | New York




Exhibit A - Page 034
                       13 Christopher Street | Upper Retail | New York , NY 10014 | 917. 525 . 3761




Exhibit A - Page 035
                                                                     Anna Opotovkskaya



Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

My name is Anna Opotovskaya. I am an immigrant who left Rostov, Russia, over 30 years ago
and moved to Israel with my husband. There, my two children were born. Meanwhile, my
parents had immigrated to Montreal, Canada, to be with a cousin of my father's.

We were working hard and raising our family in Israel when suddenly, my husband said he
wanted a divorce because he was in love with another woman. I was so devastated and affected
by it that I simply could not stay in Israel and constantly see my husband with his new family.
So, I took my children and moved to Montreal to join my parents.

My life as a single mother with two children and elderly parents was extremely difficult in
Montreal. However, we did get help from the Montreal community. When the David and Eda
Schottenstein Community Centre opened, over 1000 people rejoiced that we now had a place we
could call our own.

I met David Schottenstein shortly after the opening. I genuinely felt that he cared about each
person in our community. I could never afford to buy new toys for my children, but David
bought beautiful toys and distributed them to all the needy children at the Chanukah party. I will
never forget the excitement on my children's faces when they got those beautiful toys as
presents.

David also sponsored food baskets weekly for elderly people, single parents, families, and other
needy people. I was also a recipient of these food parcels. When David came to Montreal, he and
his family personally delivered the baskets. David always asked how we were doing and if there
was anything he could do to help.

One time, when he asked, I told him that I would like a better job with a better salary to support
my children. David immediately called a few of his contacts, and soon I got a much better-
paying job.

My children are now grown up and on their own. I have a job that pays enough that I do not need
to rely on food donations. I am no longer receiving the parcels because I no longer need them. I



 Exhibit A - Page 036
                                                                   Anna Opotovkskaya



am proud to be able to support myself and give back to the community, all thanks to David, who
went out of his way to help and found me a better job.

David is the kindest and most giving person. Your honor, we beg you to have compassion for
David, not only for the sake of his family but for the countless people in the community who will
truly suffer if David is incarcerated.

Respectfully yours,

Anna Opotovskaya




 Exhibit A - Page 037
December 30, 2022                                                           Ari Marinovsky




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge,

My name is Ari Marinovsky, and I live in Brooklyn, NY. I am writing this letter on behalf of my
brother-in-law, David Schottenstein.

From the minute I was engaged to David’s sister Chana back in 2012, David has been a huge
positive influence on my life as well as my entire family. I am aware he is being sentenced for
actions I know he is truly remorseful of. Please allow me to explain why I believe David is such a
special person despite his mistake and is worthy of the court's compassion.

After I got married and began working to support my family, David was there every step of the
way with advice and encouragement. When it came time to negotiate with my employer for a
much-needed increase in salary, David walked me through it and even reached out to my boss
on my behalf.

When I finally decided to venture off and start my own business, David was by my side with
sound advice, encouragement, and guidance; always wanting to see me succeed.

David has taught me over the years the true meaning of generosity and how to help others.
Beyond being incredibly generous with his time and mentorship, I’ve witnessed time and time
again how David rises to the occasion in service of others.




When my brother’s house burned down in Cypress, Texas, leaving him and his wife and two
small children with nothing, David was there.




                                           .

Synonymous with all of these situations was the speed and graciousness with which David
reacted to hearing the news. As soon as David was aware of the situation, he reached out and
asked how he could help. Funds arrived minutes later, along with words of encouragement.




 Exhibit A - Page 038
It’s never easy asking others for help, but David’s gracious and caring attitude made it so much
easier.

One incident that will always stick in my mind was when we were driving back from the airport
during a business trip I took in early 2020. (Most people take a Cab or Uber these days, but
David always insisted on picking us up from the airport.)

We were discussing the successful sale of his company Prive Revaux, and I asked David if
there was anything he was looking to buy once the transaction closed. Most people in the same
scenario would have their eye on something luxurious such as a new car or watch.

David’s response was emphatic. “Screw that, I don’t need any of that stuff”. He immediately
began to rattle off the many charitable organizations he would be supporting in amounts that
blew me away.

This personifies David, someone whose service to others sets an example for everyone who is
lucky to be in his orbit.

I strongly believe that such a person is a much bigger asset to his community and society at
large when allowed to remain at home with his family.

I plead with the court to be lenient on David based on the above examples and allow him to
continue to spread light and goodness into this world.

Respectfully Yours,

Ari Marinovsky




 Exhibit A - Page 039
January 18, 2023                                                               Ari Schottenstein


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

My name is Ari Schottenstein. David is my father. Thank you for taking the time to read my
letter. I wasn’t sure if I wanted to write a letter as the love I feel towards my father is at a level
that I have trouble expressing through writing. Being his oldest and only son, my relationship
with my father is rare and extremely special, and I would like to share things about it with you.
With that said, a typical letter would not adequately explain how I feel. Instead, I’d like to write a
poem to try and give you just a tiny glimpse of whom my father is to me.

When I came into the world as a little baby,
my father was always there to raise me,
He was young, my age, unsure of what to do,
Yet he’d keep me company and swaddle me too,
As I grew up, he stood by my side,
Through hardships, through struggles, he was my shoulder to cry,
He's funny and wacky and never lame
Not once did he ever miss my football game
He's the person I look up to, a role model for me
He’s the person I will always strive to be,
He taught me to love; he taught me to be brave,
He showed me that family is something to save,
He’s helped so many people; I can’t name them all,
For his friends and his family, he takes the fall,
He lives to help others; he puts them before him,
Without his presence, many lights become dim,
If he weren’t there, I wouldn’t know what to do,
There would be a gap in my heart, with no one to turn to,
Oh, how I love my father more than anything else,
His love and his warmth are what keep me and many in good health.

Judge Woodlock, the above poem does not remotely do my father justice. The number of
people he has helped, and the number of people he has literally saved is something I aspire to. I
could write story after story after story about how my father would just randomly take my sisters
and me out to buy food and give it out to the homeless, offering words of encouragement to
each person he handed the food to. This wasn’t a one-time thing. My father took us to do this,
dozens of times. It was never fun, but he made us do it, and he still does it to this very day.
Only as I got older did I learn to appreciate the beauty of this.




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Just one of many such examples: We were on a family vacation right before a major holiday
(when expenses become most difficult). My father called the local Rabbi and got the names and
addresses of 12 families that were in financial distress, families that couldn’t pay for groceries,
etc, and we went in a taxi from home to home knocking on the doors and handing envelopes
with large amounts of money to mothers and fathers and even children. I remember the taxi
driver asked my father what we were doing and when my father told him, the driver became
very emotional and insisted on giving my father a hug. He remarked how my father wouldn’t
even benefit from a deduction or anything like that because he was just giving this money
directly to people who needed it. My father didn’t care. No glamor, no accolades, and no
recognition for this type of stuff. And he did it, and does it literally all the time.

Some people start doing nice things, charitable things,, and good deeds after getting in trouble.
Not my father. He has been living and breathing this type of good for as long as I can
remember, and from what everyone else says about him, for much longer than that, since he
was a kid. All of these hundreds and hundreds, realistically thousands, of random people, the
homeless that he fed, the families that he took care of, they don’t know his name. He doesn’t
know theirs, so none of them will be writing letters on his behalf like everyone else is but
hopefully, as someone who has gotten to witness all of this firsthand, I can be their voice, I can
be their letter writer. I would like to point out that nothing gives my father more joy than helping
people who don’t look like he does, and he has taught my sisters and me to behave the same
way, to help others from different faiths, especially people that aren’t the same color as us.

My father did something wrong, and I know that he recognized that on his own he took
responsibility immediately and spoke openly to us about it, as hard as that was for him. Despite
being a successful and proud man, he is now spreading this incredible message all over, one
which even my friends are telling me about because they are all watching his speech online,
and I can see the impact, it is on them. As much as my father suffered over the past 18 months,
I think the people who suffered the most were my sisters and me and my mother. Not because
of the abuse we took from some of our community members but because we had to watch this
amazing and incredible man we call Tatty walk around in agony, like a shell of his former self.
But my father is finally getting back on his feet, he’s finally getting some of his sparks back, and
it looks like he might even come out of this stronger than ever and better than ever, and I beg of
you, please, please do not derail that. Please let him keep getting better, and please don’t make
my mother, myself, and my sisters suffer anymore.

My father took me with him to the Chapman Partnership, and it just blew my mind that is
something my sisters and I are all getting involved in as well, so I beg of you, Your Honor please
let him keep doing that incredible work. Please let him keep giving these amazing speeches and
please let him continue to be there with my mother myself and my sisters.

                                  Selfishly I know that if my father is not at home, I would not be
able to go to the school I was accepted to for next year because I would need to step in and be
at home and be there for my sisters, but I honestly don’t care about that. I know I will manage to




 Exhibit A - Page 041
do OK in life even if I don’t get to go to that school,

                                                                                My father taught
me to step up to the plate and be there for people in need and if I God forbid need to I will do my
best to step into his shoes and fill in wherever I can, but I am begging you Your Honor, please
don’t make me do that. If anyone I can think of deserves mercy and doesn’t belong away from
his family, it’s my dad.

Lastly, my father has taught me what it means to love a woman and to treat a woman the right
way. My mother is the only woman he has ever been with, and he is the only man she has ever
been with. They are going to celebrate their 20th anniversary this August 28, and it would be so
beyond heartbreaking for her to have to do that alone, without him. She is the most amazing
woman I know and has suffered so so much, and I beg you to keep father at home for her sake
as much as for ours. Thank you so much for reading my letter. I am sorry if it is lengthy. I tried to
keep it as short as possible.

With respect and appreciation,

Ari Schottenstein




 Exhibit A - Page 042
December 9, 2022                                                            Aryeh L. Wuensch


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,


As his cousin, I have known David his entire life. Everyone's life has its ups and downs,
challenges and triumphs. Having gone through a difficult divorce, even with lots of family and
friends, David's unique, steadfast support and love stood out. Not just family events or Shabbat,
but on random weeknights, he would call me up and insist I come over with my kids for dinner
and swimming, always making sure I never felt pitied or helped but just loving support and
friendship. I have a nephew here, living alone in his early thirties, and if David does not invite
him over for dinner Friday nights, which he usually does, he calls me and others always to make
sure he has a place to go.

David calls me for a favor on the day of his recent Bat Mitzva celebration for his daughter. Can I
please pick up Sylvia, a 90-something-year-old survivor of Auschwitz and Bergen Belsen who
lives in our building, to bring to the party? When I told my wife, she immediately said, “Wow,
we took Sylvia to their last Bat Mitzva three years ago for their 15-year-old daughter.” I spoke
with Sylvia, and she told me how they are her family here. They constantly check on her,
including her, the kids are always visiting, and she is always baking for them!

The amount of people he helps regularly is legendary. I meet people everywhere who speak of
his friendship and support, both financially and otherwise, and it is not just institutions but
private individuals.

When his legal troubles began, I was blown away by his reaction to the whole situation. In my
conversations with him, he really stepped up, took ownership and responsibility for what he had
done, and took immediate steps to improve his life spiritually in such a positive and exemplary
way. I speak to him daily, and when I suggested to him he should start praying daily with a
second pair of Tefillin, he immediately agreed. He immediately agreed when I suggested he
studies a little more every day. I send him daily a Teaching of Maimonides on Jewish Laws and
Ethics, and he learns it daily. His spiritual growth throughout this whole process has been so
inspiring. He is present in the Synagogue daily, always with a kind word and a smile.

Having known David his entire life, I know incarceration would devastate him and his loved
ones. Whatever the court can afford leniency him would be greatly and deeply appreciated. He is


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a beloved pillar of our family and community, always putting others first. Even his temporary
absence would negatively impact so many lives.

Thank you

Aryeh Wuensch

Aryeh L. Wuensch
LIONS GALLERY
Surfside, Florida
Phone: 1.305.992.7701
www.lionsgallery.com




 Exhibit A - Page 044
                                                                            Aryeh Schottenstein


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

I am writing to you as David’s older and only brother. I believe this gives me a unique
perspective in describing the upbringing and character of my brother David.

An outsider would readily observe that we were blessed with a privileged upbringing, and on
many levels, this is absolutely correct. As is often the case, the challenges unique to our family
and upbringing only become apparent when digging a bit deeper and seeing the context.

My grandfather passed away in 1971 at the age of 54, when my father was 20 years old. In the
11-month mourning period following my grandfather’s passing, my father began attending
synagogue to recite the Kaddish prayer for his father. I believe it was during this time that my
father began his lifelong spiritual journey, continuing to this day, of growing in his observance
and study of Torah and mitzvot. To the sometimes frustration of our mother and amusement of
his children, every so often, we catch our father observing some obscure custom or tradition
that he just learned of.

We grew up in the affluent neighborhood of Bexley, Ohio. Though there is a large Jewish
community with a Jewish day school, growing up, my brother and I were of the few orthodox
and even fewer ultra-orthodox children.

While our conservative, reform, and less observant schoolmates donned small kippot decorated
with sport team logos pulled from their pockets on entering the school and re-pocketed promptly
after, my brother and I were outfitted with big poorly decorated velvet yarmulkes atop our freshly
shaved heads replete with peyos, side curls. Though my buck teeth were likely enough to do the
trick, our ultra-orthodox getup and hairdos sealed the deal. For years we’d board the school bus
with trepidation, dreading the bullying that was sure to follow. I recall one particularly bad day
when some of the older boys were especially vicious in their taunting. My younger brother David
leaped to my defense and started pummeling the ringleader. Though I didn’t know it then but it
would, in some form or other, not be the last time.




 Exhibit A - Page 045
At the age of ten, it was decided that the Columbus Jewish day school education was
inadequate for me and that I would go to live with a family a few hours away in Cleveland so
that I could receive an ultra-orthodox cheder education. I said goodbye to my brother and
roommate and boarded a Greyhound to begin what would be the rest of my education away
from home. It was only later I learned that while I sat crying somewhere on the bus, David sat
crying in the backseat of our father’s car on the return home from the downtown Columbus bus
station.

I have many wonderful memories of my childhood and many that are too painful, even now for
the purposes of this letter, to discuss in any degree of detail. You may ask why on earth a ten-
year-old would agree, even (initially) want, to leave home.

We attended an ultra-orthodox overnight camp together in the Catskills. Being the older brother,
each night at lights out, I’d check in on David, who was in the youngest bunk, to make sure he
was okay.

                      .

I




David chose to forgive a lot of people.




    Exhibit A - Page 046
He is an amazing son to our parents and supports numerous Jewish charities, including ultra-
orthodox organizations.

During the first wave of Covid, our sister Chana happened upon a woman struggling to pay for a
few basic groceries, pleading with the grocer to extend more credit. She got the address of the
woman and discovered a family sitting in the dark, unable to pay their utilities. Chana
coordinated a grassroots effort to assist a number of needy families, and of course, David was
first and likely last to contribute, no questions asked.

My brother has been recognized and honored by numerous organizations for his charitable
giving. I tell him he should strategically invest in a plaque company. I also know of how much
more charity he gives that goes entirely unawarded, with no plaques, dinners, or honors
involved. Just a check sent to pay the tuition of a widow’s children.

I also know of it firsthand.




(I know of at least one other person who he is doing the same for; an unrelated, older, single
struggling fellow in the Surfside community named           who he regularly hosts for dinner.)

Together with all the incredible things David’s accomplished and done, he has made some very
bad reckless choices. My brother definitely has work to do, and he knows it. This past year has
been a living nightmare for David and his family. It has forced David to face some of the deep-
seated issues stemming from our past and do continuous work to prevent them from informing
his future.

Despite any number of reasons to be resentful, unforgiving, and uncharitable, David has been
anything but to his loved ones and the hundreds and quite possibly thousands that he has
assisted over the years.

I beseech you, Your Honor, to please show mercy to my brother.

Respectfully,


Aryeh Schottenstein




 Exhibit A - Page 047
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Baila Kievman, and I am the Director of a girls' sleepaway camp in upstate NY. I
have been involved with this camp for over 25 years.

This summer, Mr. David Schottenstien registered his daughter Aliya to spend the summer with
us. From the get-go, I realized that David was an extremely loving and involved father in Aliya's
life.
                                                                 He was kind and extremely
respectful of the camp guidelines and was willing to do whatever he could within those
guidelines to help Aliya have the best experience possible.

We worked hard with her, and he was in constant contact with us.




I had heard about David from My sister at Ohio State University, where I understand over the
years, he has been a generous donor toward student programs, etc. He displayed the same
kindness with us and told me that he would like to do something special for our camp in
appreciation of all that we had done for his daughter, Aliya.

I saw firsthand what an outstanding father David is and how connected he is to his children. It
would definitely be a devastation to his family if he were to serve a prison sentence.
I am asking the judge for kindness and leniency toward David Schottenstien.

Thank You,

Baila Kievman
Director Camp Emunah Junior Division




 Exhibit A - Page 048
December 13, 2022                                                           Basya Rubashkin


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,
My name is Basya Rubashkin. I grew up in Miami Beach, met my husband while attending
Teacher’s Seminary in Brooklyn, and relocated to Postville, Iowa, where I have lived for the past
thirty-three years. Thank G-d, we have been blessed here with a large family of children and
grandchildren. We established a Jewish community here, and I co-founded our small Jewish
school to meet our community’s religious need for Jewish education. I worked there as an
administrator, principal, and teacher for many years.

I presently co-admin an international group online that spreads the Torah teachings of the
Lubavitcher Rebbe, specifically regarding his thoughts about the imminent Redemption and
arrival of the Moshiach (Messiah). Our group encourages awareness of the Rebbe’s relentless
call to “increase in acts of goodness and kindness” to improve ourselves and the world around
us.

David Schottenstein is my first cousin. His father and my mother are siblings. Our parents are
two shining examples of kindness and generosity, traits they inherited from their parent’s
example and have worked hard to instill in the next generation. From the immediate family of
cousins, all fine upstanding members of their communities, David has always been the most
generous and expansive of them all. I have called upon David many times to help out with
various charity work that I have been involved in, including helping disadvantaged families send
children to summer camp and for events that help spread the Rebbe’s message of preparing for
Redemption through good deeds and kindness. David is consistently there and makes you feel
as though you are doing him the favor of including him in this charitable act. He doesn’t receive
any acknowledgment for these charitable acts other than my sincerest thanks.

I have always known David all his life, as he is about 14 years younger than I am. He has
always been a very sociable, warm, and kind person. It was important to him in his choice for
marriage to find a girl with similar good character traits of generosity, integrity, and kindness,
and G-d blessed him with a wonderful wife, Eda. Her older sister is married to my younger
brother, and they come from a family that has dedicated their lives to helping people as leaders
of the Russian Jewish community in Montreal. I just recently directed a young Russian woman
to them from my community in Iowa for marital advice, which they willingly agreed to help her
with.

Personally, I have experienced what I consider an even greater form of kindness from David.
Jewish tradition puts great emphasis on the institution of marriage. While this leads to beautiful




 Exhibit A - Page 049
                                                                               Basya Rubashkin


families, it also can become somewhat lonely and stressful for older singles who have not yet
found their intended partner. My 32-year-old son lives in Surfside and has spent many Shabbos
meals on his own during his first six years living there… that is, until David realized he wasn’t
invited out every weekend. In the past couple of years, David has invited him over to his house
every week for both the Friday evening and Shabbos day meals, and if David’s family is invited
out to friends or family, he makes sure that my son is invited as well. If he goes out of town, he
makes calls to find him a place for Shabbos meals, even when he is out of the country and in a
different time zone. David is a busy man with a family of his own, yet he always takes the time
to call my son and invite him and find out his plans, to ensure that he doesn’t spend any of the
weekend meals alone.

It is hard to express exactly, as a mother, what this means to me. As I mentioned previously, I
come from a charitable family. My mother started an organization to distribute Shabbat food and
groceries to the needy in Miami Beach, many elderly and forgotten people. But what I value
even more is the lonely people my parents invited to the house, people who were otherwise
quite alone. I was raised to believe that providing this hospitality and kindness is the greatest
thing a person can do, and David has genuinely proven his character in this area. He
generously shares his resources, possessions, time, and space. This is a beautiful trait that is
so rarer to find, even in good people.

Another example of David’s good-heartedness happened on a trip to Orlando. Our two
extended families were spending the Passover holidays there. My family was experiencing a bit
of a rough time then, and David, who was taking his kids to Disney for the day, came over and
insisted on treating my children like his own. He heard that we were not planning to take them to
Disney, and he brought them along with his children so they wouldn’t feel left out. He also
reached out to me several times during that period to offer his help.

Another very distinct story that shows David’s deep drive to help people took place thirteen
years ago. A member of my brother’s community in Israel lost their three-year-old daughter. It
was a tragic accident, and we all felt terribly for the family. David not only helped them out
financially but also named his next child after the girl. In our faith, this is a tremendous merit for
the departed's soul and is usually reserved for family members or great spiritual leaders. It is a
great comfort to the deceased's family, and David just really felt for them and did the kindest
thing he could do. He also donated money to different charities in her name. This is also a great
merit for the deceased, as they can no longer perform good deeds in this world. I have only
scratched the surface of the kindnesses he has shown. There are innumerable stories that I
have heard from other people - but I am sure they will personally tell their first-hand accounts.

I know that David feels terrible about what happened and would never repeat something like this
again. I know he dislikes discord and any kind of conflict, and he has personally repaired
relationships between several conflicting family members’ long-standing arguments. He loves
his entire family and would never want to let them down in any way whatsoever.




 Exhibit A - Page 050
                                                                          Basya Rubashkin


Despite what he has done, I believe his overwhelming contribution to his family and community
showcases how amazing he is. His kindness and compassion, and generosity are truly
extraordinary and exemplary. He has always been a caring and thoughtful son to his parents
and a wonderful, understanding, and supportive husband and father who truly appreciates and
supports his wife and children’s accomplishments. I would ask the court to please show mercy
and forgiveness to a man of such stature, one who is humble and kind, compassionate to all
people, and works very hard to set a good example for those around him. I would also ask the
court to consider all the lives of those who will be adversely impacted by his incarceration.

David has expressed his remorse to me several times. He is a religious man with a deeply close
connection to G-d and his spiritual mentor, the Lubavitcher Rebbe. And he feels awful for letting
them down. I know that this remorse alone is the most crucial factor in a man improving his
future conduct, and David has expressed this numerous times. I know he also does not wish to
sully his family’s name, one which he has worked years on building through his tremendous
good character and exemplary deeds, and he will do everything in his power to ensure that he
lives up to his family’s expectations.

Thank you for your kind consideration.

Respectfully yours,

Basya Rubashkin




 Exhibit A - Page 051
                                                                           Benzion Korf                     B”H
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein




Dear Judge Woodlock,


My name is Rabbi Benzion Korf, and I am the Dean at the Lubavitch Educational Center, the largest Jewish
school in South Florida, serving 2000 children. Our school prides itself for not turning away a student due to his
financial situation, and eighty percent are on some measure of scholarship.

Being born and raised in Miami Beach has given me great pride in the Jewish community and the families who
have become part of the South Florida Community.

I have known Mr. David Schottenstein for over 20 years. His children attend our school, and he is a proud
member of the parent body. It is not a common occurrence that a philanthropist wants not only to help support
their children’s school financially but is sincere and interested in the efforts educators make to reach those
students who may fall through the cracks. David has been that supporter.

David does not just “write a check.” For example, one of David’s flagship programs is a creative writing program
he thought of, sponsored in memory of his 9th-grade English teacher, and then helped to implement it for our
entire student body. This wasn’t even on our radar. David felt that every child must acquire strong writing skills
no matter what they end up doing for a living, especially with so many of our students coming from more
underprivileged backgrounds, and he took action and made it happen. David introduced, at his expense (a number
of years ago before this became common), Promethean Smart Boards for every classroom. He didn’t just sponsor
the Smart Boards. Many companies make this product, but David helped with the research portion of the project.
Only after becoming convinced that Promethean made the absolute best product did we move forward. 99.9% of
donors would have just “written a check.” David also sponsored our computer lab by purchasing brand new
computers for our students to use in the David-initiated and David-sponsored computer coding program. The list
goes on and on.


As a result of my relationship with David and our conversations, I know that David is cognizant of the wrong he
has done and felt it extremely important to own up to it. No one of us is perfect, but recognizing our deficiencies
is the way to redemption.

It is in this vein that I request of your Honor that you take into consideration the good he has done for education
for thousands of LEC students. The impact his sentencing will have on our students and faculty, myself included.
Please do not separate us from David.


Respectfully yours,


                                      th
                          17330 N.W. 7 Ave. Miami, FL 33169 - 305-653-8770 Fax 305-653-679
         Exhibit A - Page 052
Rabbi Benzion Korf




                               2
        Exhibit A - Page 053
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,

My name is Berel Rapoport, the CEO, and Founder of Berel & Co. Custom. and am writing this
letter on behalf of David Schottenstein.

I am going to keep it short because knowing who David is and knowing how much good he does
for so many, I can only imagine you have quite a stack of letters to read. I will therefore control
myself from writing chapters about David and will focus on one key point.

After graduating from The University of Pennsylvania, Wharton School of Business, I was
unable to find employment that would provide for myself and my wife and children. I didn't even
know David. I only knew his brother, and his brother told David about my situation. With literally
no questions asked, I was brought in, trained in a trade that was completely new to me, and put
to work immediately. Literally treated as family! This was in May of 2008, as the economy
crashed and job opportunities were drying up right and left.

After a few years, I decided it was time to take what I have learned and go out on my own,
starting my own business in the exact same line of work David had trained me in. Not only did
David not object to this, but instead, he was as supportive as a person could possibly be.
Introducing me to vendors and manufacturers and setting me up with the logistics contacts
needed to make my own business a reality. This is who he is. He is a person that wants to do
good for others all the time, nonstop, and that’s what he does. He is a man of integrity!

My understanding of this current situation is that David committed a crime in 2017, and when
approached four years later, he immediately owned up to it and even tried his best to assist.
That doesn’t surprise me. It is who he is.

I know he and his family have suffered tremendously over the past year. I am not a judge, but I
believe that the pain and suffering his loved ones have gone through is more than enough
punishment for what he did. Please, your honor, we need people like David in our community. If
we had more people like David out in the world, we would all be a lot better off.

Thank you very much for reading my letter, and wishing you the very best.

With respect and admiration,




 Exhibit A - Page 054
Berel Rapoport




Berel Rapoport
CEO / Founder
Berel & Co. Custom
610.733.2455
berelandco.com




 Exhibit A - Page 055
Judge Douglas P. Woodlock

John Joseph Moakley U.S. Courthouse 1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210 Courtroom 1, 3rd floor

Re: David Schottenstein Dear Judge Woodlock,

My name is Brett Kaufman. I live in Columbus, Ohio, with my wife of 23 years and
our three sons. I’m the Founder of a real estate development company, an investor,
and a philanthropist with a passion for many causes related to mental health,
education, and the arts.

I have known David for over 20 years. He has always been an incredible light in my
life and a source of a tremendous amount of love, laughter, and constant care. He is a
true friend to our family and has always been there for us with anything we ever
needed. We’ve traveled together, we spent time in each other’s homes, and our
families know each other intimately.

I’ve always found David to be especially kind, respectful, and selfless. He is well-
known for doing so much for the Jewish community outside of the Jewish
community as well. But what many people don’t know is how much he has done for
so many others behind closed doors. He has always been generous with his money,
but more importantly, with his time, his heart, his wisdom, and his advice. His care
for others stretches literally across the world and is done with
 humility and mostly anonymously.

David has, on many occasions, demonstrated himself to be a person of high integrity.
He has an impeccable track record in his many business ventures. There have been
numerous incidents where he has made decisions to be overly careful and always to
do the right thing.

I want to share one specific anecdote I know personally with firsthand knowledge.
Back in 2009, when David was growing his first business (and didn’t have very
much money yet), they were doing an internal accounting review. His accountants
mentioned that even though he only had offices in Ohio, concerning a bunch of the
states that he and his sales agents were traveling to in order to sell clothing, it could
be argued that they should have been collecting and paying
 sales tax.

The accountants’ recommendation was to start collecting and paying sales tax on a
go-forward basis in all of the states and not to worry about any taxes from the years



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prior because they felt David had a strong argument to make that he did not have
“nexus” and did not need to be collecting sales tax.

 David would have none of it. He had them tally up the total tax amount he would
have owed had he been collecting the sales tax and paying it, and that amount was
over $1.5 million dollars, a fortune for David, who at the time wasn’t yet very
successful. David then went to each and every state they had sold clothing in, self-
reported and worked out payment plans with each state, and paid back the
uncollected sales tax.

Please keep in mind that the accounting firm was telling David that 1 - he likely had
no legal obligation to collect and pay the tax. 2 - the chances that the states would
ever make any claim was far less than 1%. And 3 - even if they did make any claim,
he had strong legal ground to stand on and would likely not have had to pay
anything.

Yet, he chose to self-report and pay! I firmly believe that 999/1000 people would
not have done that and would have chosen to just pay going forward. But not David.
He is a different breed. And I have seen him behave with this incredible integrity
over and over again firsthand. He had a similar situation with another company
seven years later, related to something entirely different in a different industry. He
behaved exactly the same way, choosing to go above and beyond. This is who David
is at his core. David fell, but this bad act is not who he was prior to his fall and it is
not who he is now. Through this devastating time david has redoubled his efforts to
continue to do good and set an even higher standard as a path to follow.
Importantly, David is the most loving and caring husband and father of anyone I
know. He has done and would be willing to do anything for his wife and children,
who he adores beyond words. As long as I have known him, he’s been someone to
admire. His work ethic, his values, his intelligence, and his care for so many have all
been traits that I know he has shared with his kids and has been respected by many
in the community.

He’s been so present, and he’s the very life of his family at every step of their
journey. The thought of David being separated from his family is heartbreaking for
all of us that know and love the Schottenstein Family.




 Exhibit A - Page 057
                                 lt for him, and I’m inspired by how hard he
continues to work on himself.

 I am absolutely sure that, without any doubt, David has accepted full responsibility
for what he has done. He understands he was wrong, very wrong, and there is
absolutely no chance that he will ever repeat this or any offense again.
I don’t believe that any punishment will be worse than the punishment he lives with
every day. He feels extreme remorse for his actions, and the two of us have had a
lengthy dialogue about just how badly he feels. I fully believe him, I see the pain in
his face, and I know he will be a better version of himself now and into the future! I
pray and humbly request that he be spared prison for the poor decisions he has
made.

Thank you for taking the time to read my comments. I’ve tried to keep this brief out
of respect for your time. I could honestly write a book on David. He’s one of the best
people I know, and I deeply love and care about him.

Respectfully yours,
Brett Kaufman




 Exhibit A - Page 058
January 11, 2023                                                           Cara Kamenev


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,


This is a letter in Support of David Schottenstein. David is a colleague and an investor/
co-founder in the company that he hired me to run: Thomas Ashbourne Craft Spirits. I
met David through a friend in 2020. At the time, he told me very specifically he was
looking for a strong woman to run a company that he was developing. He was specific,
he wanted to uplift and support a woman, place an (albeit experienced) woman in a
position of power, and see her succeed. At the time, David had no incentive to run a
company this way, except that he wanted to do business differently. In the alcoholic
beverage industry, women occupy less than 4% of c-suite positions. No one told David to
change that. He simply wanted to. And he’s done a lot more in the few short years I have
known him.
When David met me, he liked my experience and background for the role of CEO of
Thomas Ashbourne. However, he later learned that I was actually a single mother at the
time, going through a brutal divorce and totally alone with a 2-year-old, whom I
supported and support independently. It didn’t frighten him – in fact, he stood behind
me for the position, hired me, and treated me exactly as he would treat anyone else he
interviewed for a role in his company. It was a bold move, and I think it is very telling
about who he is and who I have discovered him to be as a person, a leader, a friend, and
a force in his community.
David shared openly with other company members that he had committed a significant
act of misconduct and me. Not only did he own and disclose his wrongdoing, but he
seemed to dedicate his work and his life to making a difference.
In addition to hiring and championing me at a time when I needed it most, David has
been intensely charitable – choosing to invest his time, energy, and resources in
companies, organizations, and programs that give back to his community and others in
need, locally and abroad. Whether it is galvanizing his community to help Afghan
women escape from the country after it fell to the Taliban (something he personally
committed funds and energy to, and to which he personally involved me) or dedicating
religious centers – David’s work and life speak for itself.




 Exhibit A - Page 059
David acted improperly. Something from which he will learn and ensure not to repeat in
the future. He's made that clear, and all who know him know his entire life is focused on
his family, his beautiful wife, and four young children. They would suffer immensely
without him, and the truth is, so would many other people. He has made a more positive
impact on the lives of others ( not just in his local community but more broadly – even
globally) than most people could hope to make in a lifetime. This is someone who has
repented and who, more importantly, can do more good for others by remaining a part
of society than by being forced to be removed from it. I can speak for myself and say he
has certainly changed my life – he believed in me, supported me, and championed me in
an industry where so few women have that kind of support.
I am eternally and immensely grateful to him for his support of women, his support of
me as a leader and business person, and his vision and dedication to one young single
mother he believed in. I have seen how much of himself is dedicated to his family – and
to philanthropy. This is a person whose entire life, even before his conviction, was
dedicated to doing good and creating change in the world around him. I am proud to
know him and count him as a friend and mentor.
I express my full support for him and wholeheartedly ask you to consider his case with
compassion and leniency. David is the prime example of “be good you hope to see in the
world”. The good he puts into the world wasn’t a reaction to his situation. It's who he
has always been and always will be. This is a young man with a young family and an
entire trail of footprints of good, philanthropy, advocacy, and charity. I hope the court
sees this and takes my support as one token, one example of him putting his money
exactly where his mouth is when it comes to how he conducts himself in most cases –
with integrity, a charitable heart, and a bold and modern vision for the future of
corporate leadership.


Respectfully,
Cara Kamenev
CEO, Thomas Ashbourne Craft Spirits




 Exhibit A - Page 060
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge,

I am writing to you from Rostov, Russia, where I serve as Rabbi to the Jewish community of
Rostov-on-Don, as well as chief Rabbi of Southern Russia. I have previously served the
community of Pasadena, California, from where I moved with my family to help less privileged
Jews in Russia some 14 years ago. I am married with four children who reside with me here in
Russia.

I have known David Schottenstein for the past 22 years, ever since we first met in Venice, Italy,
where he was a Rabbinic student in the Yeshiva (Jewish seminary), and I was a mentor. And
despite his mistaken actions, I only know him as a great man who I believe deserves my
support.

In 1998 I traveled to Ukraine as a young 17-year-old for the first time in order to help organize a
summer camp for underprivileged children. That experience changed my life and eventually led
me to relocating here with my family.

I met children whose parents suffered under communist rule and had little knowledge about
their Jewish roots. These kids came to camp with no suitcases - just a plastic bag and one or
two pairs of underclothes. It was a humbling experience.

Each summer, I would go back to help these kids, bring them much-needed joy and love, and
show them they are not forgotten and that there is hope for them.

Following the year we spent together in Venice, when David heard I was going back to Ukraine,
he decided to join me so that he, too can, impact the lives of these children for the better. David
was 16 years old at the time.

That summer, I witnessed how he connected with and nurtured children – children with whom
he had no shared language. His compassion, love, and care for these underprivileged children
whom he met for the first time were truly inspiring. His impact on them lasts to this very day.

Although he went into business and I became a Rabbi, I noticed his excitement and passion
come not from his business but from helping others materially and spiritually.




 Exhibit A - Page 061
David hasn’t had the chance to visit us in Russia, but he’s been touched by the stories I shared
with him of elderly Holocaust survivors and lonely people who struggle to put food on their table
and cover their medical bills.

He became a partner in our mission, graciously supporting these precious people whom he will
never meet but whose fate touched his heart.

For 93-year-old Lev Brailovsky, whose parents were jailed and killed by the communists, David
was an angel, ensuring he got daily hot meals and could live his final years in dignity in Rostov.

And I know we are not the only ones that are benefitting from David’s generous heart.
There are hundreds of organizations like mine that depend on David’s compassionate heart and
kind soul. I can only imagine how many Levs are out there, living a happier, more dignified life
thanks to David.

I turn to you, not asking to excuse him for his wrongdoings, but to have mercy on someone
whose mission and life’s passion is having mercy on others. There is no doubt in my mind that
this ordeal has already made him a kinder and more sensitive person and taught him a real
lesson in integrity and honesty.

I sincerely hope that you will consider pardoning him so he can continue impacting the lives of
less privileged people throughout the countless communities he supports.

Respectfully,

Rabbi Chaim Danzinger
Rabbi of Rostov
Chief Rabbi of Southern Russia




 Exhibit A - Page 062
Date January 3, 2023                                                                Chaim Zev Fellig

Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,



Happy New Year. I hope this letter finds you well.

        My name is Chaim Zev Fellig, Esq. I am married and the proud father of three (3) daughters. I
have been licensed as an attorney in the State of Florida since 2017. I am a partner at the law firm of Levine
& Fellig, P.A.

       I am aware David pled guilty to the commission of a federal crime and is scheduled to be sentenced
in March 2023. I write this letter to express my support for David despite his transgressions.

         David and I are members of the same Jewish community; however, I did not formally connect with
David until the conclusion of my third year in law school. At that time, similar to many law students, I was
planning my post-law school journey and exploring job opportunities. My passion, and the reason I enrolled
in law school, was and is practicing entertainment and sports law. Breaking into the entertainment and
sports law industry is exceptionally challenging. Despite my credentials and resolve, my best efforts to
secure a job opportunity in the entertainment and sports law industry proved futile. Subsequent to
exhausting all personal and familial connections, I was introduced to David.

         From my initial interactions with David, I was immediately exposed to his generosity and kindness.
To this date, the level of devotion he exerted in furtherance of assisting me to realize my career goal(s) has
not been lost upon me. Indeed, his relentless efforts (making numerous introductions and coordinating for
in-person meetings with his entertainment connections) for someone he barely knew at that time evidences
his true character – an individual who goes out of his way and above and beyond to help others, even if
such help will go unrewarded and/or unnoticed. While David’s efforts did not yield an immediate result (no
job opportunity was generated from his efforts; however, it is worth mentioning that David continued to
check in to offer encouragement), I am nonetheless tremendously thankful and appreciative of the business
and personal relationship we have developed since being formally introduced.

         Not too long thereafter, David approached me about a new venture he was launching, which
integrated with entertainment law. Obviously, performing legal work for and otherwise being involved in
his new venture intrigued me. However, I was captivated more by his thoughtfulness in remembering my
desire to practice sports and entertainment law and his trust in providing me with the tremendous
opportunity to serve as a junior attorney for this venture, notwithstanding the plethora of attorneys in his
network who may have been more seasoned and experienced. I readily accepted this role. Since that time,
I have had a professional relationship with David. In the course of my professional relationship and
throughout my performance of legal work for his various new ventures, I have found David to be honest,
ethical, kind, and an upstanding person in the community.

        In addition to my professional relationship, I have developed a close personal relationship with
David and his family. Despite the demands accompanied with his work and continued charitable efforts,
David remains a devoted husband to his wife Edith and a devoted father to his children, Ari, Nina, Aliyah,
and Riva. Family is of the utmost importance to David; he would do anything for family. David has been
 Exhibit A - Page 063
and remains integral to the upbringing of his children. A significant separation from his family would be
heartbreaking for both David, personally, and for his wife and children.

        Similarly, David is a devoted friend; he is the type of friend that would sacrifice to ensure a friend
is protected and/or content, even if his sacrifice is underappreciated and/or overlooked. My initial
impression of David’s character remains unchanged – he is someone that is consistently looking to
contribute to others, individually, and society, generally. In this regard, David is a preeminent and charitable
figure within the Jewish community.

        Subsequent to pleading guilty, I have personally observed David’s acknowledgment, ownership,
and remorse for his actions. David’s transgressions appear to reflect a lapse in judgment and a deviation
from his true character.



         In view of the foregoing, I humbly request that you consider David’s general character and his
integral role as a husband and father and role in the Jewish community in your determination of his
sentencing for a crime as to which he has taken ownership and expressed remorse and will never commit
again.


                                                                    Respectfully yours,

                                                                    /s/ Chaim Zev Fellig

                                                                    Chaim Zev Fellig, Esq.




 Exhibit A - Page 064
December 30, 2022                                                          Chana Marinovsky


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

My name is Chana Marinovsky. I am David’s younger sister. I’m married and have three young
children of my own. Writing this letter has been an emotional and powerful experience. Having
to keep my letter short and concise, I had to choose which information I’d share and what I
would leave out. There are so many good deeds, and acts of kindness that my brother has done
to help give me a better life and they all feel so life altering and impactful. Please know that
because of this there are only a few chosen examples of David’s kindness and love but many
more examples that come with these.

Growing up with David is filled with happy memories. He was always a fun, caring, sensitive
brother who thought of me and my siblings endlessly. His love was more than a brother and he
always took on the responsibility to ensure our happiness more like a parent. As a child I was
afraid to sleep in my room alone. I’d sit on the hallway steps hoping one of my siblings would let
me sleep on their bunk bed or floor. David always read me a book and always let me sleep in his
room. He helped with homework, babysat, and would treat us to ice cream and gifts with his
own hard earned money. As a kid I always witnessed David’s generosity and looked up to him
for how giving and caring he was.

When I was 15 years old my parents sent me to Coral Springs, Florida to a religious boarding
school. At the time David had started his first business and was extremely busy and focused on
work. I heard he was traveling to Florida on a business trip but didn't suggest or mention that he
come visit since I knew how busy he would be on his trip. One night while i was doing
homework there was a knock on my dormitory door. David had rented a car and drove 2 hours
after a full day of meetings to pick me up and take me to dinner. I had felt so homesick and
lonely, and his visit felt like the biggest and warmest gesture. This is David in a nutshell.

                                                                                   David had
heard how stressful it was emotionally and financially for my husband’s family to cover costs,
                                                            Without any hesitation David insisted
on giving a huge sum of money to cover                                       . We were
completely overwhelmed by his kindness. When I called to thank him he told me never to
hesitate to ask him for any help, and this is why God gives us money, to help people in need.




When I called to thank him for his support he told me he never says no when people ask for



 Exhibit A - Page 065
help; he always gives something, so I should never hesitate to ask him. David’s good deeds and
generosity has always been his character and has only grown larger over the years. He is a
source of inspiration and a moral compass to me and my husband. We aspire to give and
perform good deeds the way David does.

During the early stages of covid there were families in our community who could not afford to
pay for groceries. Again, David had heard we were collecting money to help these families and
sent us a huge sum of money- enough to feed 10 families for a month. Another part of all this
charity that stands out to me is that David does it without recognition either. All of these
examples were private situations that no one knew about except for me and my husband.

Two years ago in Cypress, Texas an electrical fire broke out in my brother inlaw’s home. Leaving
him, his wife, and two children without a place to live or any belongings. I reached out to David
and he immediately gave a large amount of money to help them during this difficult time. David
also reached out to my in-laws to let them know that if there was anything he could they could
count on him.

I can vouch for David’s fine character and devotion towards helping others. He has always been
the first to give, and support those in need, discreetly, generously, and affectionately.
I am aware of David’s wrongdoing and know that he deeply regrets his lapse of judgment and
behavior. Since the beginning of this challenging time and process for David, he has only
increased his generosity, good deeds, and kindness. Please consider all of his kindnesses and
have compassion on him and his family.

Sincerely,


Chana Marinovsky




 Exhibit A - Page 066
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Chasha Lerman (Wuensch). I grew up in Israel, and moved to Florida after I got
married. I’m a second-grade teacher and a mother to a beautiful 8-month-old daughter.

My uncle, David, is the most incredible, sensitive, caring, and loving man who has been here for
me since I was a child. He is giving, and he helps in ways that no one else would.

I got engaged in 2020, and due to Covid, my husband's family could not fly into Israel. We
decided to have a quick engagement, and my family ended up coming to the US and staying
until the wedding. When David heard that my parents were debating their plans, he immediately
insisted on them moving into his summer home with him in Canada.

I come from a large family of 8 children. My parents, who hate imposing on anyone, ended up
staying there for seven weeks. The space was cramped, and we were a large crowd, but he
made us all feel like we were doing him a favor, and it felt like home.

After our wedding, we wanted to live next to my parents, but Israel was still not allowing
Americans into the country. My husband and I moved to Florida, but had a hard time settling in.
David immediately stepped in and invited us to stay with them until we found a place to live and
settle. After moving into our apartment, David made sure we were set. When he heard we did
not have a couch, he immediately sent over his own beautiful couch.

                                                            . David was my support and got
me through it until my mother arrived. He then made sure we were in the best care. I don't know
what I would have done if I did not have David here.

He now reaches out every holiday and weekend to ensure we are not alone. We both don't
have parents living next to us, and David is like a father to my husband and me. My husband
truly loves and confides in David. He is closer to David than he is to his biological uncles.

On a separate note, it's very special to see how every night David sits down for a beautifully set
dinner with his family. During the meal, he goes around the table and has everyone speak about
their day. He is involved in every detail of his family's lives, and I cannot imagine how terrible it
would be for his family if he was not around!




 Exhibit A - Page 067
As I am sure you have heard, the amount of charity David gives is beyond words. David's
nature is to give without asking for anything in return. Here are a few examples that I found
incredible.

David created a "go fund me" campaign that people who need financial support could sign up
for - then he would match the funds they made, no matter the sum. On another occasion, David
donated to families from Israel who need support. There are endless examples of the amount of
charity David gives. I don't know where people would be if it weren't for him.


Most people don't really get to know how amazing David is. I feel very blessed to have him as
my uncle. I can't imagine what life would be like without him around. He’s always there when I
need someone - no matter how stressful his days are. He always makes sure to set aside time
for me.

David has been honest and taken responsibility for his actions. He did it on his own, and he’s
been really suffering from this whole ordeal. With respect, I am asking you to please forgive
David. There are so many people worldwide who rely on him and will really suffer if he is not
around. I’m truly hoping to hear good news!


Sincerely,
Chasha Lerman




 Exhibit A - Page 068
December 11, 2022                                                           Chaya Wuensch


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge,

 I am writing on behalf of my husband and myself about our nephew David Schottenstein. He is
so outstanding in so many ways. He is a tremendous people person. He loves to help in any way
that he can, no matter how difficult the situation is when he gets involved. He is a brilliant
problem solver who follows through to ensure the advice or help works.

I will give you a few examples: I ran a charity in Miami Beach for many years. It started in the
early 1970s to help needy families. I volunteered, and anyone who helped did it as a volunteer
also. David began to send generous checks often to help these needy families. When Chanukah
came, he wanted to know how many children were in each family. He then sent a large check to
a specific toy store so that each child could receive special Chanukah presents.

He chose a specific toy store because he also wanted to help the owner of the store, who was
struggling to make a living. Not only did he support my charity, but countless, and I am not
exaggerating, other charities as well. He gave funds in Israel to start a women’s seminary in
honor of my mother, his grandmother, and also followed through to make sure that it was
running smoothly. He even paid for needy children to be able to attend camp every year.

David’s wife, Eda, is also a unique, talented person. Her father is the Rabbi in Montreal, Canada,
for the Russian community, and together with his wife, they are wholly devoted to their
community. David knew that they had outgrown their building and built them a beautiful new
synagogue and school. David does not wait to be asked to help. He plunges right in when he
sees a need and does all he can to help with kindness and tact.

David was raised in a home that instilled these values of kindness and generosity in him. His
parents were leaders in the community, always volunteering their time and never waiting for
invitations or requests for help. Each one of David’s siblings has the same outstanding traits of
helping and giving. I could go on and on about what an incredibly wonderful person David is.

My husband, Dr. Daniel Wuensch, a graduate of Dartmouth, Phi Beta Kappa, and Yale medical
school, is now coping with Lewy Body syndrome. He was president of the yeshiva I taught at for
over 30 years. It is a shame that he cannot write his own letter as he admired David’s
generosity, intelligence, positive energy, and sense of humor. However, I include his sentiments
in this one.




 Exhibit A - Page 069
I will end with this observation. For David and his family, community service is an everyday
occurrence.

If you think I am exaggerating, believe me, I am not. His service to many communities around
the world matches his business successes, perhaps even surpassing them. I hope his stellar
character and extensive generosity will factor into your decision about his future. Thank you for
your consideration.

Respectfully,

Chaya Wuensch




 Exhibit A - Page 070
To The Honorable Judge Douglas P. Woodlock,

My name is Yehoshua Werde and I am the director of CHYE an organization that supports
business creation and economic development in the Crown Heights Brooklyn neighborhood and
beyond.

Over the past 10 years we have hosted over 200 business networking and educational events.Our
largest event of the year is our annual community business expo that draws over 500 attendees.

David Schottenstein, who is well know in this community for his business acumen and more so
for his philanthropy, has spoken for us in the past on entrepreneurship and has helped literally
hundreds of young entrepreneurs with hands on guidance and advice. He did so and generously
gave of his time, expertise and often with funds to help these people start their businesses with
no personal gain whatsoever. This year, however, he delivered an address sharing his journey
over the past 18 months with the goal of publicly taking responsibility for his failings and the
message of staying clear of any business practices that are illegal or questionable.

I can truly say that his talk was the most emotional and powerful talk we have ever hosted, it has
become the talk of town and created a platform for dialogue on such a crucial topic. We hope to
run more events in the future with Mr Schottenstein on this topic in various settings with aspiring
entrepreneurs from primarily the Jewish and Black communities. What is truly notable about Mr
Schottenstein’s approach is that I have seen many in both of these communities convicted of
various crimes and their primary focus has been to restore their good name and to restore their
ability to go on creating and building successful ventures, specifically by minimizing their
offense and making no mention of it. Mr Schottenstein on the other hand seems singularly
focused on spreading a message that will deter others from engaging in any sort of business
activity that is questionable regardless of what that means for his own reputation.

I have received dozens of messages regarding his latest speech and am enclosing just a few of
the email messages I have received from community members that express the impact Mr
Schottenstein talk has had on them. What is amazing is that in addition to such messages from
our usual 25-40 year old age range the messages poured in from people in the 18-25 year old age
range who have been clearly impacted by Mr Schottenstein’s speech and message in such a
positive and meaningful way.

I know that Mr Schottenstein is up for sentencing for his crime I would ask for leniency so he
can continue to spread this vital message and help prevent such instances from happening with
others. I would ask Your Honor to consider a sentence that includes significant community
service but particularly aimed at him speaking at dozens of such events. I don’t believe there is a
greater form of punishment than for a once proud man to get up and speak the way he did,
humbly opening up about his failures. When David speaks people listen. Please let us utilize his
ability in this regard.

Sincerely
Yehoshua Werde
Director CHYE



 Exhibit A - Page 071
From: Mendel Pinson
Sent: Tuesday, January 24, 2023 10:39 AM
To: Yehoshua Werde
Subject: Networking Event Feedback



Hi Rabbi Werde,



I attended your expo a few weeks ago on Jan 15 th and wanted to share with
you my impressions. The vendors and booths were of high quality and great
selection and it was a wonderful networking opportunity, I made many new
business contacts. The atmosphere was great and the overall vibe. Lots of
good energy. However the main reason I am reaching out is because I
wanted to share with you my tremendous impression for the talk given by
David Schottenstein. While David was clearly wrong in his decisions for him
to stand up there and share his story in public and the ramifications it is
having on his life, was a powerfully and sobering message that captivated
the crowd and rang home in such an emotional way that I feel was very
beneficial for all to hear.

I want to applaud your organization for shining a light on this vital issue.



Hope to see you at the next event and exhibit my company again.



Sincerely,



Mendel Pinson




 Exhibit A - Page 072
From: Sholom Klein
Sent: Friday, January 20, 2023 12:32 PM
To: Yehoshua Werde
Subject:



Dear Rabbi Werde,



I wanted to give some feedback about the recent business expo made by CHYE last
Sunday.



I found it to be very valuable on many levels.



Firstly, the networking and customers who learned about our company which has
already brought in more business.



As well as the insightful speakers at the event.



In particular, the speech given by Mr. D Schottenstein, who humbly shared powerful
learned lessons about how easy it can be to veer off the straight and narrow even
unintentionally in business as well as in life in general. As well as what steps one should
take to safeguard against such possibilities.



With much-continued success,



Best,

Sholom Klein

MV Express




 Exhibit A - Page 073
From: Menachem Light
Sent: Monday, January 23, 2023 5:46 PM
To: Yehoshua Werde
Subject: Chosen Business Conference



Dear CHYE,

I wanted to reach out to you to share how thankful I am for you to bring to the attention
of the local business community the dangers of breaking the law.
Mr Schottenstein's talk was very emotional to hear as he described what he has been
through as a result of his bad decision and the toll it has taken on his family.



The fact that someone like him was willing to take the stage to own his mistake and
warn others of the dangers of such practices was a powerful statement that will be
remembered for years to come.
For your organization to host such a talk sets the right message and I pray we never will
see another community member in such a situation again.

Sincerely,



Menachem Light




From: Avi Webb Copywriting
Sent: Thursday, January 19, 2023 5:39 PM



 Exhibit A - Page 074
To: Yehoshua Werde
Subject: A speech to inspire generations



Hi Rabbi Werde,



Thank you for hosting the CHYE expo this past Sunday. It had a great energy and felt
very productive.



In particular, I thank you for inviting Mr. David Schottenstein to speak.



As it happened, my 10-year-old daughter asked to accompany me to the expo to help
set up my booth. She tabled with me, sampled other vendor's chocolates and overall
had a blast.



After it all she gave my wife and me this four-word review: "The speech was powerful."



I had goosebumps.



As parents, we try to instill our kids with positive values but there's only so much we can
convey. With the clarity of experience, humble self-awareness and positive
encouragement, David communicated a lesson in values that I believe will
accompany her all life long. I know it will accompany me.



Thank you again,

Avi




 Exhibit A - Page 075
Janurary 12, 2023                                                                   Clara Azimov




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

My name is Clara Azimov. I immigrated from Kiev, Ukraine, to Montreal over 30 years ago with
my husband and two children. We became active in the Jewish Russian Community Centre,
which moved from one rented place to another for many years. As was the dream of many other
people in our community, our dream was to have a place of our own. Finally, in 2011 our dream
came true.

We met David Schottenstein at the opening of the Centre he purchased for us, called the David
and Eda Schottenstein Community Centre. The number of events and activities in our new home
doubled, if not tripled, compared to the activities in the rental spaces. Our children had grown up
by then, and our grandchildren attended Sunday school and children's programs. We participated
in the classes, the concerts, and the lectures.




David is such an important person in our community. He helps so many people, and so many
people rely on him for support. We respectfully request that you show compassion for David
Schottenstein.

Respectfully yours,

Clara Azimov




 Exhibit A - Page 076
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Cris D'Annunzio. I am writing to you to describe the character of the person I know as David
Schottenstein.

I met David almost 20 years ago when he gave me an opportunity to work as a custom clothier in his
company, Astor & Black.

The thing that I immediately recognized about David was his humility. He ran the company, but he also
sold clothes himself. He had no pretense about him - he led by example. Through the course of working
with David, I got to know him and his family. He often invited me to Columbus, OH, for training and
would host me as a guest in his home. I became even more impressed when I saw what a dedicated family
man he was. It was truly miraculous the way in which he could put in 16-18 plus hours of work and still
have the energy to be a loving father and husband. This would always leave an impression on me;
however, what makes me truly love David is his kindness and generosity.

I can tell you there are two things that David has done for me that I will never be able to repay. I had only
been working for David for a little over a year when my younger sister suddenly passed away. It was the
most traumatic experience of my life. I got the news when I was at a client's office in San Diego. When I
arrived back at my home in Los Angeles, I had round-trip tickets for my family and me to get back to
Pennsylvania for her funeral, courtesy of David. I didn't ask him for that - he just did it.

Several years later, I moved on to another job that unfortunately turned out badly - and at the worst time:
Christmas. I happened to call David around this time and told him of my recent situation. A few days
later, a check arrived in the mail from David. All it said was, "get your kids something for Christmas."

I am guessing that there are a lot of stories like this out there about David because that's the kind of
person he is. He helps with no expectation of reciprocity. I will never forget him for this.
Judge Woodlock, I know David has violated the law. He's a good person. Sometimes good people do the
wrong thing. I have spoken to David, and I know he realizes his wrongdoing, is regretful and has learned.

I hope you will take all this into consideration when you contemplate his fate.

Best regards,

Cris D'Annunzio




 Exhibit A - Page 077
                                                                                                       B”H
January 8, 2023

Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,


I moved myself and my little ones to Crown Heights, Brooklyn shortly after the untimely passing of my
husband. My youngest was 4 months, my oldest not yet 7yrs, and I was left wondering how I was going
to raise 4 faith-filled Torah-true boys without a Rabbi in the house. As each grew into school age, it was
increasingly clear that my late husband and I managed to bring into this world bright, curious,
independent thinkers, and not one single wall flower. Finding schools that were willing and able to take
these little lights on, keep them sufficiently stimulated, while offering them the kind of support that
fatherless boys need, was not in the cards. I spent my days coaching teachers, and every principal in the
neighborhood knew my name.

We were blessed with a merry-go-round of angels offering support right when we needed it most, and just
about every time a door seemed to close, an open window appeared in clear view. But there was one
constant we could count on to help the learning flow at least at home: continuous access to a weekly
publication called Chayenu kept us plugged into the warmth of the Lubavitcher Rebbe’s teachings, The
Rambam’s mitzvah of the day, newly compiled commentary on the weekly Torah portion and more, all
thanks to the generous philanthropy of David Schottenstein. But his support hardly stopped there.
One of the greatest forces of kindness in our lives came through a young man named Eli who selflessly
jumped into our story right when tragedy struck. Within the first week of my life as I knew it was
completely crumbling, Eli got a one-way ticket to my door and spent the next few months helping me
change diapers, walk my babies, and even went to school together with my oldest to help him bear the
pain. Eli eventually married David Schottenstein’s talented sister Myriam, and, thanks to David’s
generous financial support, started a multi-pronged operation for young Jews of Crown Heights called
The Soul House.

Though David lived down in southern Florida, he saw Eli and Myriam’s tremendous potential as
community leaders and took it upon himself to help finance a Kollel, a shul, and a resource center for
Jewish spiritual growth up here in Brooklyn. Every week, their house is packed with Jews, young and less
young, from all walks of life, drinking in the wisdom of their spiritual heritage through classes and prayer
services, and completing the spiritual feast with the most beautiful Shabbos meal in town. Around the
Soul House table, without knowing anything about their sunshine-state benefactor quietly making it all
possible, couples have been made, weddings have ensued, and children have been brought into this world.
Through this precious network, my boys have found their Bar-mitzvah tutors, an art teacher, and a martial
arts trainer. They have a place where they are celebrated, supported and, where they themselves take
active roles as community members.

David is now himself in a tough spot, about to face his own trial. I hope that this small snapshot of Davis
Schottenstein’s beneficial influence on people near and far will help complete the portrait of who he truly



 Exhibit A - Page 078
is, and inspire a reflection of the largess and compassion he shows. Whatever human frailties may have
led him to this current challenge, they are hugely dwarfed in contrast to David’s qualities as a person,
matched by deeds that have created so much solid goodness for so many.

Respectfully yours,

Dalia S. Garih




 Exhibit A - Page 079
Janurary 16, 2023                                       David Shimansky




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

My name is David Shimansky. I came to Montreal from Vilnius, Lithuania.
I was born after the war, but my family suffered great losses during the war, and I grew
up in the shadow of those tragedies. My parents were persecuted as dissidents of the
communist regime in Lithuania. My father was arrested and jailed as a political prisoner
for a few years, and I suffered a lot as a child. When the opportunity arose to leave
Vilnius, we seized this opportunity and immigrated to Israel. I studied engineering at a
university in Israel and became a specialist in industrial design. I met a Canadian girl
from Montreal in Israel. She wanted to live close to her parents, so we moved to
Montreal. I opened up and ran a successful industrial design company, and my wife and
I were bringing up two daughters.




When I was young, I loved to paint. I was considered a talented artist. With David's
encouragement, I started painting again. He took one of my paintings and brought it to a
gallery owner he knew. The gallery owner took my painting, and he sold it very quickly.
It gave me such confidence, and I discovered my new passion.
                                                                         and met
another woman. We had a child together, which was a miracle given our advanced age.

I needed to get back to work to provide for my family. Again, I spoke to David
Schottenstein. We looked at my options. When I decided to open up a foster home for
the elderly, David helped us financially to start this business. Thank G-d, it is now doing
well, and I was able to repay him the amount he gave us. However, I could never repay
his kindness, his caring, or his valuable advice.




 Exhibit A - Page 080
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There are so many people, including my family and me, to whom David provides critical
and irreplaceable support. We beg you for compassion and mercy for David
Schottenstein.

Respectfully yours,

David Shimansky




    Exhibit A - Page 081
                                                                    Dina Ricardo




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

My name is Dina Ricardo. I came to Montreal from Tashkent, Uzbekistan, with my family. I
have two sons who became active in children's programs and teen groups at the David and Eda
Schottenstein Community Centre. I also attended a women's program and went to the synagogue
during the high holidays.

My husband was working as a car repairman, and I was a homemaker.
                                                                                                   .I
decided to end the marriage. My husband did not pay alimony or child support, and I did not
have any skills to provide for my children.

I met David Schottenstein at the Centre and explained to David the situation that I was in. David
did not know me before that, but he opened his heart to me anyway. He helped me financially
and asked how else he could help. I told him I wanted to have a profession to be able to support
my family.

There is an esthetician school in Montreal that is private and quite expensive. David offered to
pay my tuition fees at that school. This was a life changer for me. I became a licensed
esthetician, and I can now earn enough to provide for my family. I'm still a single mother, but
thanks to David, I do not struggle financially anymore.

Many people I met and know, just like myself, were positively impacted by David Schottenstein
and continue to rely on David for help with their challenges.

Respectfully yours

Dina Ricardo




 Exhibit A - Page 082
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

Re: David Schottenstein


Dear Honorable Judge Woodlock,

My name is Doris Roberts, and I have known David since he was nine months old. I worked for
David’s parents for over 35 years. His mother had five children, and I helped raise David


I could write pages and pages with stories about the good David has done and continues to do
for me and my family, but I want to be respectful of your time, so I will limit myself. I know it
might sound very prejudiced when I describe the kind of genuine and kind person David is. His
innate ability to do good was apparent from a very young age.

When David had friends over for sleepovers, he always insisted they take the bed in his room
and he would sleep on a sleeping bag on the floor. He’s always had a soft spot and love for the
underdog - making the less popular kids feel special and always including them, the kids
nobody else wanted to have around. David shared everything with everyone around him.

As a single mother, I shared my challenges about my own children with David, and he always
helped and played with them whenever I brought them over. I watched him grow and
accomplish tremendous things, first in school, then building a beautiful family and accomplishing
so much as a talented businessman.

In all the years since I have known David until this day, he has never failed to track me down on
my birthday and make me feel special.

            David arranged for a trip for me and my grandchildren to go to Disney World. He
arranged and paid for our flights, hotels, restaurants, the whole thing. This wasn’t something I
asked for. He called me up one day and said “Doris you need to take your grandkids to Disney.”
And that was that.

After many years of hard work, I finally was able to purchase a house. David wasted no time to
arrange for a down payment. When I tried to reimburse him, he refused to hear of it.




 Exhibit A - Page 083
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                                             He, of course, called the furniture store with his credit
card to cover all of it. I didn’t go right away because I was tired and dealing with my
grandchildren but David called me 7 times until I got it done.

The recent legal incident is so out of character for David. It was, I am sure, an impulsive, poor
choice, and I am sure that it is not one he would make again. I vouch for David’s integrity and
sterling character. There isn’t a day that goes by where David isn’t doing something for
someone else. I know that dishonesty is not in his DNA, and that he learned his lesson from this
unfortunate offense.

Please have mercy and show compassion, and allow David, my boy, to continue to serve his
loving family, his community, and everyone else he encounters on a daily basis, myself
included. I need him. We need him.

Very respectfully yours,

Doris Roberts




 Exhibit A - Page 084
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor


Dear Judge Woodlock,

My name is Dovid B. Lebovic. I’m 18 years old and currently attending West Coast Talmudical Seminary
in Los Angeles for my second year. I’m writing to you on behalf of David Schottenstein and all of the
wonderful people that his imprisonment would negatively impact.

David is my Mom’s first cousin, and our families are very close (David and I actually share namesakes).
For years, we’d drive from New York to Ohio to stay with them, and we spend time with them multiple
times each year consistently. I was shocked and saddened to hear of the crime that David committed,
and the thought of his imprisonment has been troubling me for quite a while now.

Although I’ve seen David act selflessly many times (my oldest memory of the sort was when he drove to
summer camp in Montreal to tell my cousins and me of the passing of a close relative of ours), he
recently lent me a helping hand that still impacts me even now.




                                             . At her party, David offered to have me over at their
apartment in Miami for the upcoming Jewish holiday of Shavuot. I initially turned him down, but closer
to the holiday, the stress got to me, and I figured it would be a good escape, even if only for two days.




Whenever my family is over at the Schottensteins, I’m always amazed by the fact that David or Eda
never pull their phones out, especially considering how busy they are. They have beautiful children, and
they’re phenomenal parents. I’ve been close to Ari since I was a baby, and I’ve watched him grow
incredibly mature, with his parents encouraging and helping him. Even Ari was mature enough to keep
in touch with me subtly, leading up to my grief, while some of my closest friends and classmates said all
the wrong things.

Ever since I heard the terrible news, David has been different. We spent time together in Israel on the
Jewish holiday of Sukkot, and he was much more solemn than I’m used to. I’m writing to you, Your
Honor, with my begging plea. I have no shadow of a doubt that David fully regrets what he’s done, and I
acutely know of the potential suffering that awaits so many people should he be imprisoned.




 Exhibit A - Page 085
Had this happened two years ago, I personally wouldn’t be the same, and who’s to say how many more
people can be positively affected by the life ahead of him, let alone his family, who will suffer immensely
regardless? David must face the consequences, and I’m certain that he knows that. That being said, I
cannot fathom a better world through his imprisonment specifically, and it’s all too easy to imagine a
much, much worse one.

Respectfully,

Dovid Betzalel Lebovic




 Exhibit A - Page 086
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Dovy Ainsworth. I am writing to you on behalf of David Schottenstein.

I have known David for the last seven years, and our wives have been friends since childhood.
We lived as neighbors in the same building (Solimar) for five years, and I grew close with David,
his wife, and four children. We spent many evenings and holidays together, enjoying meals,
conversation, and company. We know David and his family very well.




David has been one of the very few people that really stepped up and has been there for me.

                 . David pushed me hard. He got all of the companies he is involved with to work
with my company, even though this was a new venture for me and we didn’t yet have a real
track record. He immediately organized the printing of a weekly Torah “study thought” in
memory of my parents, and it’s distributed to tens of thousands of people. The list goes on.

I know David doesn’t just do this type of stuff for me. I’ve seen him do it for so many others in all
sorts of tough circumstances. That’s who he is.




 Exhibit A - Page 087
Perhaps because of the communal nature of this case, how it played out, or who’s involved, its
consequences have been harsh, swift, and sustained. Watching what David and his family have
endured for the past year, I wouldn’t wish that on anyone, let alone someone who is so actively
involved in kindness and charity.

David has taken full responsibility and is diligently working on change with those that have
proven to have an effect. And he is making progress in his evolution and family survival. He
actively and openly talks to everyone about how crucial it is to never touch anything remotely
questionable. The thing he is most often heard saying nowadays to young businessmen,
teenagers, etc, is, “If you can’t say that it’s 100% right, then you have to treat it like it’s 100%
wrong.” And people listen. People take note when David speaks. He has a seriously positive
impact in terms of conveying that message far and wide.

Please consider this unique circumstance, the effect it has created, and the impact it’s had on
David, his family, and the many people who rely on him, myself included.

For us to lose David for any period of time would be hard to even imagine. I know I have
suffered enough, and I know his family has suffered enough. David has experienced swift,
certain, and severe punishment, and I urge Your Honor to please take note of that and keep him
at home.

Sincerely yours,
Dovy Ainsworth




 Exhibit A - Page 088
                                                                            Eitan Zimerman
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,

My name is Eitan Zimerman, I am a father of 3 living in the Surfside area of south Florida. Normally, I
would find it hard to write this letter for the sole reason that I have not known David Schottenstein for
more than 18 months. However, in that short period of time, he has had such a positive impact on my life
and family that I find the need to try and share, just a drop of his kindness.

The first memory I ever had with him, having never spoken to him, nor met him, was during a charity
auction. The winner of the auction, whose proceeds would go to fund children’s scholarships for
education in south Florida, would get to lead a special prayer for the community. This honor is said to
bring a lot of good to one's family, especially since all the money is going to such a great cause. At the
time, I didn’t know whom I was bidding against, it turns out it was David, and he won the auction, as I
had reached my maximum budget. What I found amazing is what happened next. Having never met the
guy nor ever spoken to him, he insisted before the prayer that I join him in leading it. He was effectively
sharing the prayer with me, for free, someone he had never met, after having donated a tremendous
amount for children’s scholarships in south Florida.

Now, many months passed after this event until I actually got to meet him formally, and our families
became close. This event that had happened in the past was nothing compared to how much he was
willing to share with a complete stranger. The depths of his charity and philanthropy are truly something
that we should all learn from. The way he supports his family, community, and even strangers are
something that should not go unnoticed. I am not sure if anyone else has made this point, but in terms of
punishment, David has suffered more over the last year than I think anyone can fully appreciate. It has
been incredibly painful even to watch, let alone what he is experiencing. I also want to add David has no
ego about this whole thing. He openly takes full responsibility and now is constantly talking to everyone,
myself included, about why they always need to follow the right path no matter what justifications they
can come up with for something. What makes that so special is that people listen to him, and people listen
when David speaks.

Please, Your Honor, show this man mercy and don’t remove him from his family. Please don’t remove
him from the multitudes of people that rely on him. Quite honestly, those are the people that would suffer
the most if he were to have to go to prison. I would venture to say that the people suffering more in that
event than anyone else are his 4 wonderful children and his amazing wife (who herself does the most
incredible work helping people with mental disabilities and uplifting and empowering women). I know




 Exhibit A - Page 089
that Eda and their children don’t deserve any more suffering than they have already endured. Thank you
very much for reading my letter.

Respectfully and appreciatively,


--
 Eitan Zimerman
 Principal, EZ BH LLC




 Exhibit A - Page 090
January 18, 2023                                                                Eli Nash

Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,


I am a local Miami businessman, a member of the Jewish community, and a friend of
David Schottenstein for 10+ years. I am writing this letter on behalf of David and his
family in the hope that you will have mercy and see fit to give him a sentence that has no
separation from his children.
It is no secret that David made poor decisions, which he acknowledges, and as a result,
he is standing before you. He is at your mercy – as a direct result of his actions. David
fully recognizes this and has made every single effort to make this right. He has already
paid a very high price for his actions, and I truly believe that he has remorse and is a
better person for it.
Seeing firsthand the incredibly high price David and his family have paid for his actions,
it is my belief that significant mercy shown to him at sentencing would not be
unwarranted.
Much of this you know and have probably heard from others. What I would like to share
with the judge are some personal anecdotes of David from the years I’ve known him.
David is someone who truly delights in the success of others. He is one of the few friends
I have that, when I share something positive about me or my business, shares in my
joyfully and completely. He wants the people around him to be doing well and is always
available to move things forward for those close to him.
Over the years, David and I have partnered on numerous charitable projects. His
bandwidth, energy, and willingness to help both financially and otherwise, are second to
none. Each and every time I have called David for a new charity or project I was involved
with, David took the time to listen, and understand and usually helped with more than a
check. He has an open heart and an open door and is the visionary, pillar, and backbone
of more projects within the Jewish community than one can imagine.
As an example, there are two very prominent Rabbinical voices within the Orthodox
Jewish Community that today have a global presence and voice. Both of them are so
uniquely important to the Jewish community because they share a message very few
Rabbis do about the importance and value of focusing on the individual and their
personal struggle and not allowing the individual to be secondary to the institutions.


 Exhibit A - Page 091
The first one is rabbi Yossi Jacobson, who is one of the first, if not the first, Orthodox
Rabbi to speak out about a horrible plague of child sexual abuse that was infecting the
Orthodox community. Very few people were paying attention. In fact, when he first
began speaking, he received criticism for it. Fortunately, his voice was heeded, and
today it is common practice for Rabbis to speak out against abuse.
The other one is Rabbi Shais Taub, who has become a voice on parenting, addiction &
recovery within the Jewish community, providing many struggling people a home and
an address to get help while still staying true to Torah values.
Both rabbis were identified early on by David as important voices who could have an
outsized impact on the community. David invested in each of them, building websites
and supporting them to build a larger infrastructure. He understood how
transformational their messages could and would be to thousands of young Jewish men
and women.
And he was right.
Today, both Rabbis are 2 of the most well-known and have built large communities and
followings – in no small part because of David’s vision, investment, and encouragement.
Another example is more personal, and that is an idea I brought to David in the summer
of 2021 (months before his arrest). While it was clear to me that David was under
significant stress, David understood the importance of this project. Jewish community
centers across the world were reeling from covid, and many of them were struggling
under the financial burden. To assist these community centers that were unable to raise
money in the ways they have for years, an idea was put forth to train, incentivize and
encourage campaigns to leverage the power of online fundraising.
To many organizations, this was new and different, and they were hesitant to reach out
to donors about money when many were dealing with considerable changes in their own
life (death or illness of a loved one, interruptions to their businesses, and so on).
When I shared this idea with David, I informed him that the project was too big for me
and it needed others who would throw their weight behind it. He immediately offered to
partner fully with me on this endeavor. He insisted that it was too important for it not to
happen, and he would help in any way needed. It wasn’t until the details of his plea
became public many months later that I understood what he was dealing with. To say
that I was shocked that he was willing to and had the presence of mind to support these
efforts is an understatement.
The project was a success, and was it not for David’s encouragement and involvement,
the 600 organizations from all over the world that succeeded in raising $55 million
dollars (an average of just under $100,000 per organization) would not have done so.
Today, the project lives on, and every year going forward, it will continue to empower
and enable Jewish organizations to raise much-needed funds.




 Exhibit A - Page 092
These are but a couple of the examples I know of when David’s generosity of spirit, and
tremendous energy, resulted in a multi-generational impact.
It is my strong belief that any punishment that would see David unable to be a fully
functioning member of society for any period of time would significantly injure not only
him and his family but the thousands of others who have been helped and will continue
to be helped by his good deeds.
Judge Woodlock, I pray that you show him mercy and kindness and the rest of the
people he touches. It will not be wasted on David. I believe he will make us all very
proud, and those of us who have done anything to soften the consequences of his
misdeeds will look back and know we did a good thing.
It is a well-known Jewish dictum that G-d repays a person measure for measure. I hope
that in the merit of the very many people, David took a chance on (such as the two
Rabbis above and the many more not mentioned here), you will see fit to take a chance
on David and show compassion. He will make you proud.


Eli Nash




 Exhibit A - Page 093
Judge Douglas P. Woodlock

John Joseph Moakley U.S. Courthouse

1 Courthouse Way, Suite 2300

Boston, Massachusetts 02210

Courtroom 1, 3rd floor



         Re: David Schottenstein

Dear Judge Woodlock,

My name is Elie Deshe, and I’m a married father of two living in Miami Beach, Florida. I am employed at
Deshe Capital, which is my family office, focused on early-stage investments in consumer goods as well
as real estate development. As an active member of my community, I currently sit on the Jewish
Community Relations committee of the Greater Miami Jewish Federation.

I am a cousin, as well as a business partner of David Schottenstein, and have known him since he was
born, as we grew up together in Columbus, Ohio. I am aware that David is being sentenced in regard to a
federal crime in which he has admitted culpability, and am writing to you because David is more than
worthy of my support.

Growing up with David, I have always been in awe of how well he has been able to be such a giving and
generous person while accomplishing so much in his professional and personal life. At a time when most
of us were just starting our professional careers, David built a successful clothing business while also
supporting a growing family and he always put being able to give back to charity first.

I distinctly remember traveling with him to Montreal to visit his in-law’s home, where he was the major
contributor to the local Chabad House, which would serve to benefit hundreds of members of the
Montreal Jewish community. David doesn’t just give charity. He performs numerous acts of kindness for
people he knows AND strangers as well, most of which go completely unacknowledged and
unnoticeable.

As we have both grown older and closer, David became a key business partner of mine as we were both
early investors in Future Motion, where David closely helped the CEO build the company to where it is
today, now the leading light electric mobility maker in the country, employing over 100 people in
California.

David has led two mission trips to Israel, taking various prominent members from the African-American
and non-Jewish communities to Israel, one of which I was honored to co-lead with him. This trip served
to help show people what Israel is really like, changing preconceived notions and even anti-Semitic
attitudes towards the world’s only Jewish state. David poured his heart and soul into this effort, and it
remains one of the most fulfilling things I have ever been a part of.




 Exhibit A - Page 094
       David has spent his life looking to help and support others, and I’ve seen directly the toll that this
has taken on him. I can’t say I have seen anyone suffer the way he has over the past year.

I am, however, pleased to see that David has continued to be laser-focused on continuing to help others,
despite his own troubles and has redoubled his efforts, trying to bring some sort of positive outcome
from what is undoubtedly a low point in his life. It is important to note that I have seen firsthand how
David openly owns what he did wrong. He has from the beginning and blames nobody but himself. He
has been speaking openly about it with a number of the young entrepreneurs we are involved with and
has been extremely effective in hammering home the point that if you ever have even a question about
something being 100% correct, don’t go near it.

I know that David is not at any risk of committing this sort (or any type) of crime again, and I would be
committed to helping him in his efforts to continue serving as an upstanding and leading member of the
community as I meet or speak with David multiple times per week.

I truly believe that David has so much more to give to the community and his beautiful family, and I am
asking you for compassion in regard to his upcoming sentencing, as I know that the more time he has
with his family and community, the better everyone will be for it.

Respectfully yours,

Elie Deshe




 Exhibit A - Page 095
December 29th, 2022                                                                  Elke Malamud


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Elke Malamud. I reside in Brooklyn, New York, with my husband and five children.

I have know David Schottenstein since he was a young boy, as my little brother’s friend, whom
we all considered part of the family. I am writing to you to ask for compassion in your decision
regarding his upcoming sentencing.

David was personally close to each of us, from my parents down to my youngest siblings. His
nature of generosity and helpfulness to others was just always a part of who he is. It was
intrinsic in him as a young boy and I have watched it grow as he grew into a man who always
has an eye out for someone in need.

One story in particular stands out to me from those early years because it really epitomizes the
kind of person David is. At the time, I had a rambunctious toddler. I was at my parents’ home
and no one noticed that my 2-year-old son had somehow opened the front door and wandered
out. Moments later, as we frantically realized he was missing, David simply walked through the
door with my son in his arms. He happened to have been outside at just the right moment to
save my little boy from the middle of a busy New York street with oncoming traffic.

You may call this a lucky coincidence, or the right person at the right place at the right time. But
that is who David is. He is the person who is somehow there ready to help before you’ve even
asked. That is who he has been for many years to countless people who I know about and
undoubtedly, many whom I don’t.

It is for this reason that I think David is deserving of compassion. He is and always has been a
true supporter of those in need, and I know that many count on him for essential help. He is a
foundational member of a wide ranging community, and certainly of his wonderful family. I ask
for your mercy to allow him to continue to have such a positive and generous impact on so
many.

Respectfully yours,

Elke Malamud




 Exhibit A - Page 096
December 13, 2022                                                                  Emmanuel Gelerman




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,

My name is Emmanuel Gelerman. My parents immigrated from Ukraine to Montreal many years ago,
where I grew up. Growing up, I always attended events organized by the Jewish Russian Community
Centre. It was always our dream to have our own Centre where all the activities could take place.

I knew Eda Sirota Schottenstein growing up, and when Eda got married, I met and became very close to
David Schottenstein. David guided me when I opened up my own business and inspired me to give
generously when the David and Eda Schottenstein Community Centre was dedicated.




Now, Jessica and I are married and the parents of two children. We moved to Ontario, and I have a
successful business there. David played a very important role in my transformation, both professionally
and in overcoming the difficulties of living with my mental illness. David inspired me to be a good father
to my children.

I am praying and appealing for your mercy not to separate David from his family. I personally will suffer
if I am not able to contact David regularly. Most of all, his children would suffer. I beg for your mercy and
compassion.




 Exhibit A - Page 097
Thank you for your consideration,

Emmanuel Gelerman




 Exhibit A - Page 098
December 11, 2022                                                                 Esther Paster


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Esther Paster. I am married, have eight grandchildren, and own commercial real
estate. I am a Trustee of the Fine Arts Work Center and a former board member of the
Wellfleet Harbor Actors Theater, the Southampton Architectural Review Board, and the
Southampton Arts Center.

I met David Schottenstein about ten years ago through my parents, Bernard & Sidonia
Greenblatt. They were David’s neighbors at 9595 Collins Ave, Surfside, FL. During the last
decade, my parents were the beneficiaries of many random acts of kindness from David – made
from the goodness of his heart - and without any benefit to himself.

My parents were in their 80’s and lived alone. David helped my father navigate around the pool
with his walker. He offered to buy and deliver groceries to them. When he noticed that their
sunglasses were old and scratched, he gifted them with new ones. David made it a point of
visiting my parents weekly before the Sabbath, bringing his beautiful daughters and challah
baked by his wife, Eda.

When my father was hospitalized, David checked in daily, asking if our family needed anything.
David’s compassion and dedication were that of a son to his own father. After my father died,
David made an incredibly meaningful gift in dad’s memory. David remembered my father saying
Passover matzah was unavailable when he served in the U.S. Army during WWII. As a tribute to
my father, David donated Passover matzah to the entire U.S. Armed Forces. It was an act of
kindness not only for our family but also an extraordinary gift for Jewish members of the U.S.
Armed Forces.

After my mother was widowed, David checked in with her almost every day. When he was
traveling, and she didn’t answer the phone, David asked a friend (an MD) to go to her
apartment and check on her. When there was no answer to his knock, building security opened
the door and found mom almost unconscious on the sofa. She was rushed to the hospital. Had
it not been for David’s intuition, diligence, perseverance, and kindness, my mother might have
died.

A wonderful father, David taught his children by example. They all began visiting and delivering
food to my mother. When my mother had a problem with her stove, David sent a repairman.
When my mom (a Holocaust survivor) couldn’t attend synagogue on Rosh Hashanah during



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Covid, David persuaded another friend to come and blow the Shofar just for her. My mother
was deeply touched.


When she collapsed outside the building, David’s brother called the ambulance. David’s mother
accompanied my mother to the hospital and would not leave her side. David came to the
hospital every day and delivered home-cooked meals to her. His visits and the wonderful food
helped give my mother the will to live. Always humble, David said he wished he could do more.
My mother is now 95, and to a great extent, it’s all thanks to David and his amazing family.

David Schottenstein is a rare and remarkable human being. He has become a de facto family
member through his loving kindness and his generosity. He has so much to contribute to the
people in his community. David takes full responsibility for his actions.

I ask the court to have compassion.

Respectfully,



Esther Paster
President
HAMPTON CRE
1919 N Lakeside Drive
Lake Worth Beach, FL 33460




 Exhibit A - Page 100
December 8, 2022                                                          Genia Losilevitch




Judge Douglas P. Woodlock

John Joseph Moakley U.S. Courthouse

1 Courthouse Way, Suite 2300

Boston, Massachusetts 02210

Courtroom 1, 3rd floor

Re: David Schottenstein



Dear Judge Woodlock,

My name is Genia Losilevitch. I am an elderly 88-year-old widow and Holocaust survivor. I immigrated
to Montreal, Canada, 20 years ago. I received a lot of help and support from the David and Eda
Schottenstein Community Centre volunteers and David Schottenstein himself. They helped me with
furniture and clothes. David Schottenstein Community Centre volunteers also bring us food thanks to his
generous contributions.

They also bring food parcels every week, which helps me survive. During COVID, I was isolated and did
not see anyone except the volunteers that were sent by David Schottenstein, who paid for my food
parcels. He also called me every week to see how I was doing.

When David is in Montreal, he personally comes with Eda and their children to see how I am doing, and
we developed a friendship over time. This past summer, when David and Eda were in Montreal, they
personally brought food to my door. They also asked how I was doing. My daughter was in Ukraine, and
I was very worried about her. She is a single mother, raising her children alone. David called me to see
how he could help my daughter in Ukraine. He personally arranged for my daughter to leave Ukraine
with the special buses that were evacuating refugees. If it were not for David, I don’t know if my
daughter would have survived. Several of her friends were killed in the Russian bombing of Ukraine.

David is such a caring and kind person. I hope to be able to see him at my door for as long as I am alive
for years to come.

The Centre that is needed by us so much is able to continue its good work thanks to the generosity of
David Schottenstein. The generosity of David helps many people. Many people would suffer without his
help.

Respectfully,

Genia Losilevitch




 Exhibit A - Page 101
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Georges St Pierre. I am known as a former UFC world champion. However, I prefer
to be known as a good family man. David Schottenstein is a good friend of mine, and I am
writing this letter on his behalf.

Throughout my career, I have come to know many successful and very famous people. David
Schottenstein is a completely self-made man, who works so hard, and has built incredible
businesses yet remains incredibly humble and devoted completely to his beautiful wife and four
children. All he does is give. He gives of his time. He gives of his earnings. It’s almost as if he
only works so that he can give to others. I once asked him why when he flies, he flies economy
when he can clearly fly first class and even fly private, and his response was, “Georges do you
have any idea how much more I can give because I fly economy?”. Who thinks like that? David
does. I could fill pages with the numerous examples of beautiful things I have seen David do for
others.

Over the last year, I have seen David going through a very tough time. In my line of work, you
can always judge a man’s strength not by whether he is knocked down but by how he gets back
up. And despite everything that happened to him, David has gotten back up and now works
harder than he ever has before and seems to be nonstop full-time helping other people.

Your Honor, this man is a real champion, a champion at life, and, of course, even a champion’s
fall. But this champion has gotten back up in a bigger way than ever before, and it’s a beautiful
thing to watch. And I humbly beg that you allow us to continue watching the amazing and
beautiful things David is doing and not be separated from his beautiful family or any of us.

With respect and appreciation,

Georges St-Pierre




 Exhibit A - Page 102
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

        Good morning, sir, my is name Bernardo Grandinetti and I am the Deputy Director of Security at
the Shul of Bal Harbour, where I assist the Director of Security in leading a team made up of multiple
former military service members and former law enforcement officers, as well as a veteran of 5 years in
the United States Marine Corps as a Non-commissioned Officer and an infantry squad leader with two
deployments overseas. I started at the Shul around July 2019, which is when I first met the
Schottenstein family. Since then, I have had nothing but positive and friendly encounters with them.
Specifically, David himself, given the fact that he comes in every morning for prayer, so I encounter him
the most. Every time I see David, I am immediately greeted with a “Good morning,” “Nice to see you
again,” etc... To some, that may not seem like a big deal, but to my team and me, it is much appreciated
since we can deal with some very disrespectful individuals on a regular basis.

         As the years have gone by, my team and I have come to know David and his family very well and
have seen personally how he treats those around him. Whether the person is known to David or is a
complete stranger, I have always seen David treat them with the utmost respect and do whatever he
can for them. If there were ever anything my team or I ever needed, David would offer whatever he
could without any hesitation whatsoever. Whether it be lunch for the guys on the team, equipment
needed, etc., David has always been there for us. It is for this reason, I have come to see how and why
David is loved by those around him and within his community.

         On top of what David has done and continues to do for my team and me, we hear about the
numerous things that he does for everyone else as well. I have personally heard about times when he
has helped individuals on a personal matter and others that may have been not so personal, such as
donations or fundraisings for organizations. Either way, David is the type of person who wants and
desires to do things for others. Being someone who has served his country in the Marines and who has
entered into a field where I get to protect the people of this community, I have met plenty of people
who claim or pretend to be the type of person to want to do for others. It is always very easy to tell who
is doing it for the right reasons vs. someone doing it for their own personal gain. It is very clear that
David is doing it for the right reasons. He does not wish for or desire anything in return. He simply does
it out of the kindness of his heart and his love for others.

        Since working in this field, I’ve met plenty of people who have gained and lost my trust for some
reason or another, and as someone who has experienced and witnessed the things that I have, it is very
hard for someone to earn my trust. I can say without any hesitation that David has never given me a
reason not to trust him. He has always been honest and forthcoming with every man on my team and
me. He has also never given me a reason to think that he has not been the same way to everyone else
he meets as well. I am truly very grateful for the relationship I have built with David and the rest of the
Schottenstein family, and hope to continue to have said relationship in the years to come.



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        I appreciate you taking the time to read my statement, your Honor. If there is anything you ever
need from me, please feel free to reach out to me.

Respectfully,

Bernardo Grandinetti

Deputy Director of Security

The Shul of Bal Harbour




 Exhibit A - Page 104
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
       Re: David Schottenstein

Dear Judge Woodlock,

my name is Hadassah Chen, I live in Jerusalem, and I am a journalist. I host my own talk show,
my husband's name is Yossi Chen, and we have five children. Four with us here in Israel and
one who watches us from heaven.




My husband and I met Mr. David Schottestein at his sister inlaws house for a Friday night meal
to which we were both invited. At that time, David had a made-to-measure suit-making company
called Astor&Black. My husband had a good conversation with Schottestein and liked the idea
of this business and the possibility of importing this idea into Israel. David also moved from our
own personal story and invited my husband to come to Ohio and take part in a one-week
intense course on how to start a business idea like his. David literally took Yossi under his wing
( I still don't know why they weren't friends).

My Husband stayed at the Schottesteins home for one week. He was taken care of and slowly
introduced to this business step by step. David himself showed him how to measure and gave
him special personal tips.

My husband came back from that trip and was full of ideas and excitement. We were happy to
start a new adventure after so much suffering with our daughter. We had no choice. David gave
us hope, he gave us confidence, and he made us believe in a new tomorrow.

 Like there's an old saying in Yiddish, "he didn't just give us money. He showed us how to fish."
This is David. He cares, he has a sensitive soul, and together with his amazing wife, they have
helped like us so many institutions, families, and children. With this said, I don't think that he
should not pay for the mistakes he has made and to which he has admitted, but I really do hope
that this man does not deserve a jail sentence.




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My husband's company, which started ten years ago, is still flourishing and growing every day
here in Israel, but it's the hope and time that David gave us that gave us the push to pick
ourselves up and stand on our own.

This is a very special trait to find in human beings, that extra care, we were not close to David or
his family at the time, but David was touched and cared for us. Judge Woodstock, please care
for him and his family now and spare him from a harsh sentence. This man cared for so many
people. He has learned his lesson and is learning from his mistake.

Thank you for reading my plea in the hopes that you will make the best decision.

Hadassah Chen




 Exhibit A - Page 106
December 12, 2022                                                                    Hindy Light


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge,

My name is Hindy Light, and I live in Annapolis, Maryland, with my husband and nine children. I
have been the Co-Director of Chabad of Anne Arundel County since November 2004. Our
organization’s mission is to serve as a resource for Jewish learning and experience in our
community. To reach out with unconditional love to every Jew and bring them the warmth and
beauty of Judaism, regardless of background, affiliation, or level of observance, and to extend
help to all who are in need, spiritual or physical.

David Schottenstein and I have known each other since high school. We met through a mutual
acquaintance and became good friends. However, our lives took us down different paths, and
over time we lost touch with each other. That was until 2008, when our organization was in a
real crisis. Although many non-profit organizations struggled in 2008, our organization’s biggest
donor went bankrupt, and due to that and the general decrease in donations, we struggled to
cover the bills. After a few months, we could no longer afford to pay our mortgage, which at that
time, our home doubled as the Synagogue center as well.

Somehow, David Schottenstein heard about our predicament and called me to ask how much
money I needed to cover the mortgage. He told me he would make sure that I would have the
funds to pay the mortgage so our home wouldn’t go into foreclosure. The heavy burden that was
taken off of our shoulders is indescribable. I couldn’t have dreamed that such a thing would
happen. Yet all of this was done privately without any fanfare, dedication, etc. It was done
completely anonymously. Purely to help us out. Over many, many months, through his kindness
and generosity, we slowly built ourselves up again, and we are so grateful to him for getting us
back on our feet. Today, Chabad of Anne Arundel County is a source of pride and dedication to
the Jewish community, and it is all due to David’s kindness and compassion.

I am aware that David is being sentenced for a federal crime, and that is why I am writing to you
to show compassion towards him and his family the way he showed compassion to me and
mine.

David is a kind and caring person, but above all, he is a loving father. David’s incarceration will
be devastating to his children, all of whom have a close relationship with their father, and his
absence will negatively affect them and their growth as mature and healthy adults who are
contributing members of society at large.




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It is my sincere hope that you have mercy on David Schottenstein and show him the
compassion he once showed me.

Respectfully yours,

Hindy Light




 Exhibit A - Page 108
Janurary 11, 2023                                                          Rabbi Israel Sirota
                                                                           5380 Bourret Ave
                                                                           Montreal, Quebec, Canada, H3X 1J2




                 DAVID AND EDA SCHOTTENSTEIN COMMUNITY CENTRE

Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,

My name is Rabbi Israel Sirota, Founder, and Director of the David and Eda Schottenstein Community Centre.

I was born in Tashkent, Uzbekistan, in the former Soviet Union. During the war, my parents sheltered
hundreds of refugees fleeing the Nazis. My family was religious, and religious people were persecuted in USSR.
There was no religious freedom. We practiced in secret, always afraid of being arrested. After we left Tashkent,
I met my wife. Her family immigrated from Russia to Canada in 1972 with the personal involvement of
Canadian Prime Minister Pierre Elliot Trudeau. We settled in Montreal, Canada, and created the Jewish
Russian Community Centre in 1973. The goal of the Centre is to help immigrants from Eastern Europe
integrate into Canadian and Quebec society successfully. From 1973 until 2011, our Centre operated in various
rental locations. More and more refugees came here in those years, fleeing persecution from the Communist
regime in Russia and other places in the former Soviet Union.

We tried to help immigrants the best we could, but the lack of a permanent space prevented us from offering a
full range of programs. The community grew, and for almost 40 years, the dream of our community was to
have a place we could call our own.

In 2011, thanks to our son-in-law David Schottenstein's generous contribution, we acquired our own building,
which is now called the David and Eda Schottenstein Community Centre. This allowed us to expand our
services and become a Humanitarian Immigrants Help Centre. The David and Eda Schottenstein Community
Centre runs a food bank for the needy, clothes and furniture distribution for immigrants, and helps newcomers
with various tasks like job hunting, filling out government forms, etc.

We help vulnerable members of the neighboring community, both Jewish and non-Jewish: hospitalized
children and their families, seniors isolated in their own homes who welcome friendly visits, a meal, or even
access to entertainment, especially for people who were isolated due to COVID-19. The programs include



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French and English language classes, Seniors programs, Youth programs, Youth orchestras, volunteer in the
community programs, holiday celebrations, and children's programs.

David Schottenstein plays a very important role in running the Centre, and its programs continue to help
community members. We are only able to run those programs with David Schottenstein's assistance. As we get
older and close to retirement, David's involvement becomes more and more crucial. David makes all the
important decisions about the Centre's operations– hiring decisions, program decisions, and decisions
regarding assistance to the most vulnerable people. If David is not here, we will be unable to continue the
services we provide to the community. We have over 1000 people who are regular users of our services. All
those people are going to suffer without the services we provide. We cannot provide those services without
David Schottenstein's involvement and assistance.

The idea of David being gone for any amount of time is terrifying. We can not help other people without
David's direct involvement. We are begging you with all our hearts for compassion and mercy for David
Schottenstein for the sake of the over 1000 people in our community.

Respectfully yours,

Rabbi Israel Sirota




        Exhibit A - Page 110
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Itty Wuensch from Miami, Florida. I grew up in a beautiful, vibrant community. There
are key people that everyone thinks about when they imagine the warm, welcoming, homey
feeling they have when they walk into the synagogue week after week. That is David
Schottenstein. My grandfather is the Rabbi of the Shul of Bal Harbor. I was always proud of my
grandparents and proud to be part of a family that dedicates their lives to building a community
and being there for people in all different ways.

I’m going to share two life-changing incidents of many I vividly remember because of how deep
of an impact they had on me.

The first one was one day on Shabbat morning. My grandfather was raising money for families
that didn’t have food for the holidays. There are many wealthy people in our community and
many generous ones as well, but for some reason, it was taking a lot for my grandfather to get
the amount he needed. It was hard to watch him practically beg for these people that don’t have
food to put on the table for their families. I clearly remember David got up in front of the whole
sanctuary and pledged a very large amount. He didn’t just give a donation. He then went on to
announce to the congregation how embarrassing it is that as a community that’s strong and
there for each other, we can’t scratch together this money and that we all need to step up.
Immediately following his announcement, the pledges shot up, and my grandfather got more
than he needed and was able to help these families. This is not out of character for David. By
being an example and a leader, David constantly inspires people to take a second look at
themselves and give and help as much as they could.

The second story was one that not only had a major impact on my life but redirected the course
of my future. I always looked up to David. There is something unique about him. He never
looked like the wealthy older men that take themselves too seriously or think they’re better than
everyone else. He has always had a fun-loving personality, and he wears colorful bracelets
made by his daughters and a tee shirt. He is also one of the most hard-working people I know. I
decided at the young age of 21 to open a much-needed school for girls post-high school from all
over the world that needed a place they felt they could be themselves while being pushed to
grow. There were many naysayers, scoffers, and people ridiculing me and my dream. It did
sound crazy, I guess, but not to David. I made many calls to raise money to start up. It was
awkward and difficult to put myself out there and ask people to support my dream. I decided to
speak to David and see if he would contribute.




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Writing this story brings back so many heartwarming feelings and so much gratitude for David
and his wife, Eda. As soon as I came in, he invited me to sit together in his dining room and
called in his wife, Eda. And they just showered me with love and support and told me how
amazing it is what I’m doing and how many people I’m going to help. I couldn’t believe what I
was hearing. Why were they so supportive of me, a young girl with a dream and way too many
haters? Not only did David and Eda pledge to help my school, David felt so passionate about a
new, fresh approach to education and saw its potential he offered to dedicate the school in
honor of his grandmother, for who our school is now proudly named for, The Jean Schottenstein
Oryah Institute and became our founding donor.

 David consistently checks on the school and me and gives us the motivation to continue. He
believed in my dream and is still an active part of our success and function. Sitting here, teary-
eyed, in our third year of the school's existence and 120 girls later, I’m thinking back to those
days when I really didn’t think it could happen. David believed in me and put his money where
his mouth was when no one else did. Aside from money, David is always thinking of ways to
help. He helps build our scholarship fund, matches our campaigns, sends me contacts,
convinces his friends to buy into the mission, and set me up with a coach to better our school. I
will forever be grateful to David and his incredible family for being such huge pillars of light, love,
and support in our community, in my school, and to me.

I know David did something wrong, but lessening his sentence without jail time will give him the
ability to continue helping all the organizations and people he constantly helps.
I have seen David after this happened, and he has only stepped up more in his charitable acts
and kindness. He knows he did something wrong and definitely is paying the price for what he
already had to go through.

Thank you for your time.

Respectfully,

Itty Wuensch




 Exhibit A - Page 112
January 11, 2023                                                             Jacob Safier


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein



Dear Judge Woodlock,

I am sure that you will receive many letters attesting to David Schottenstein’s
generosity, incredible heart, and outsized role as a community leader. Those testaments
are all very much correct. I, however, would like to address a different side of David, a
side that I came to know and appreciate as an investor and partner in one of his early
business ventures, Astor and Black Customer Clothiers.

I’ve been investing in companies for over three decades and have encountered owners
and operators of all sorts. Yet, there was something that stood out about this young
man. It was clear from day one that he had limitless energy and almost unparalleled
drive as he grew a small startup operation into a real force in the custom suit industry.
Sure, there were others making sales, but he was the engine that powered the company's
continual growth.

One might imagine that a CEO who is running from one sale to another–often working
12-hour days–would leave behind a company that is disorganized, chaotic, and
rudderless at its helm. David, however, ran Astor & Black with precision, efficiency, and
honor, working tirelessly to foster a wonderful experience for his customers, employees,
and investors. His financial statements were consistently accurate, did not lack any
details, and were always delivered on time.

I can say with confidence, based on years of nearly daily interaction with David, that his
misconduct was a momentary lapse in judgment, something which he terribly regrets.

In recent years, I have become a part-time neighbor of the Schottensteins in Surfside.
My family has grown close to him, and I’ve observed him in a different role, that of a
wonderful husband and a caring father to a beautiful family. I’ve also gotten to know his




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parents and see how they’ve come to rely on their son, who cares for them with love and
respect.

Our great Sages teach us, “The crown of a good name surpasses them all.” David has
paid for his wrongdoings with his good name. Please show mercy and allow him to
rehabilitate himself with his actions–incredibly impactful actions which so many have
and will continue to benefit from.

Respectfully Yours,
Jacob Safier




Far Rockaway, NY–Surfside, FL




 Exhibit A - Page 114
                            Mme Janine ZRIHEN
                                                                     29 December 2022
                                                                     Casablanca, Maroc
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,




My name is Mrs. Janine Zrihen.

I am writing this letter to you in support of Mr. David Schottenstein, who has been
helping me and my family for many years now. Twelve years ago I lost my
husband and found myself alone with five children.

Since then, and until today, David has been so kind to me by helping me
generously. For the past 10 years, through Chabad Maroc and Rabbi Banon, David
has been helping me and my family on a monthly basis for Jewish holidays etc.

He took the initiative to buy me a car so that I could go to work and provide for my
family as well, he helped me with scholarships for my children to go and study from
a very young age until to at university. He got so personally involved in our
wellbeing, it wasn't just financial help, it's the pure kindness of his heart even helping
me organize my four boys' Bar Mitzvah like a dad worked it if theirs was still there. I
don't know where I and my family would be today if David hadn't taken the lead in
our lives.

I can't imagine going through these hard and difficult times without David's help.
Being a widower, with children, is not easy at all, but thanks to David, I was able
and I am still able to give a good life to my five children.

Honorable Judge, I implore and plead with you to take my words into consideration
when sentencing this good man, and I hope that this letter will act as a positive and
contributing factor when the court reviews this case.

                                                                             Sincerely,
                                                                    Mrs Janine ZRIHEN




 Exhibit A - Page 115
Exhibit A - Page 116
December 27, 2023                                                                         Jason Albano


Judge Douglas P. Woodlock

John Joseph Moakley U.S. Courthouse

1 Courthouse Way, Suite 2300

Boston, Massachusetts 02210

Courtroom 1, 3rd floor

         Re: David Schottenstein



Dear Judge Woodlock,



         Good day, my name is Jason Albano, and I am the current Security Director for The Shul of Bal
Harbour located in Surfside, FL. I met Mr. Schottenstein and his family approximately three years ago
when I started work at the synagogue. He is a long-time member and in very good standing here at The
Shul of Bal Harbour, along with his lovely family. It’s obvious to everyone around David how much he
values relationships with those close to him.

         David has always been seen spending quality time with his family. Whether that be running
home after morning prayers to make sure he says “good morning” and “have a great day at school” to
his three daughters, Nina, Aliyah, and Reeva. Or taking his wife Eda out for lunch in the afternoon while
taking a break from a hectic workday. When David’s son Ari comes to the states from Israel, where he
attends college, they can be seen spending quality father and son time while driving around in David’s
beautiful Mustang, making memories together.

         It became very apparent early on to me, as well as the other members of our security team, that
David is very kind and a genuine person with everyone, not just his family. Over the past three years,
David has regularly taken a personal, friendly interest in those around him, always offering a helping
hand or saying a kind word to everyone he encounters. I personally interact with Mr. Schottenstein on
an almost daily basis and can speak firsthand about his generosity, integrity, and character. He routinely
checks in with myself and my staff to make sure we have everything we need to do our jobs better and
make certain we feel appreciated and looked after.

         On a number of occasions, I can recall Mr. Schottenstein’s name coming up in conversation with
other members of the synagogue’s congregation and myself, and he is clearly loved, admired, and
appreciated as a trustworthy and valued friend. Knowing David for the past three years, I’ve known him



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to be someone who is dependable, responsible, courteous, and of good moral character. I hope the
information I have provided helps you have a better understanding of who David Schottenstein is as a
person and a view of his character. If you have any additional questions, please feel free to contact me.

Respectfully,

Jason Albano
Security Director
The Shul of Bal Harbour




 Exhibit A - Page 118
                                       JEFFREY GREENBLATT

                                       362 WOODLANDS ROAD
                                    HARRISON, NEW YORK 10528
February 15, 2022

Re: David Schottenstein
JEFFREY GREENBLATT
362 WOODLANDS ROAD
HARRISON, NEW YORK 10528
To Whom It May Concern:

I submit this letter on behalf of David Schottenstein. I have come to know Mr. Schottenstein well over the
past six years. During this time, he has proven time and again to be an individual of exemplary character
on every conceivable level.

I am an attorney admitted to practice in the State of New York as well as in the Federal Courts for the
Southern and Eastern Districts of New York. As a full-time New York resident, it is often challenging for
me to find the time to visit my elderly parents who reside in Miami. David Schottenstein, who resides in
the same complex as my parents, has become nothing less than a surrogate son to them. He introduced
himself to them years ago and took more than a casual interest in their welfare. With a dedication often
unmatched by natural children, he checked in on them at least once a week, called them from wherever he
was, invited then for meals and regularly sent his children to deliver baked goods to their apartment. This
level of attention is all the more extraordinary given how busy David's schedule is and given his own
familial and community obligations.

When my father passed away in 2018, David undertook to provide a box of matzoh at Passover to each
and every Jewish U.S. serviceman and service woman all over the globe in my father's memory. He has
done so for the past eight years, not only on the holiday of Passover but also on the holiday of Succot,
ensuring that every service member has the religious articles necessary for the proper observance of that
holiday. David also sponsors a program that delivers gifts to the children of U.S. service members all over
the globe during the holiday of Chanukah. These are just a few of the many acts of kindness that I could
point to.


David's dedication to my mother, a 94-year old Auschwitz survivor, has only intensified since my father's
death. He is a unique individual with a heart of gold. He is a wonderful son, husband and father who
supports a myriad of charitable endeavors too numerous to list.

I am convinced that David's recent offense was more of a lack of judgment than a nefarious scheme to
enrich himself. He is a gentleman of considerable means and, on an annual basis, contributes far more to
charitable institutions than any gains he may have realized as a result of these trades. David has fully
cooperated with U.S. Federal authorities and has confessed to me, in numerous conversations, both his



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remorse for this error in judgment and a strong desire to make full restitution and put this unfortunate
mistake behind him.

It is my fervent hope that Canadian authorities will give weight to this letter when considering any
matters pertaining to Mr. Schottenstein.




Very truly yours,




Jeffrey Greenblatt




 Exhibit A - Page 120
Date December 11, 2022                                                           Josephine Basher

Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,

 My name is Josephine Basher. I am a blessed Mom to seven amazing kids. Thank you for the opportunity
 to share my story with you.

Back in early 2020 when the Covid shutdown took an enormous toll on our family’s finances, I received an
unexpected call from a local charity organization that operates through Aventura Chabad. I was told that a
certain individual, who asked to remain anonymous, would be donating funds to be distributed monthly to
families like ours who were struggling to make ends meet on a typical month, but then Covid came and had
totally devastated us.

The thought of being in a position to need a handout was utterly humiliating. But we had no choice. My
husband worked in the food industry as a kosher food supervisor, and as restaurants and catering businesses
closed down, his paychecks deeply dwindled. There would not be enough money to cover our most basic
monthly necessities. The organization assured us that this would be completely anonymous. The donor
would not know that it was our specific family receiving his gift, nor did we know who the actual donor
was. Incidentally, this is considered the highest and most humblest form of charity in Jewish law.

You cannot imagine the tremendous relief this brought us. During those very dark and uncertain months,
we lived on the kindness of this donor. He became known in our home as our “Angel.” Not only did our
Angel lift a physical burden for us that kept our lights on and pantry full, he unknowingly transformed this
time of panic and fear into one of peace for our family. Instead of spending those long months with worry
and dread as bills piled in, our hearts and home were filled with joy.

At the time, we had no idea just how much we would cherish and hold close the precious memories of those
long months at home. Unbeknownst to us, our family time together was numbered, and this peaceful time
would eventually fortify us in the tragic days and months that lay ahead.

Slowly the Covid restrictions lifted, and businesses started to pick back up, so my husband finally had
sustainable work. The children returned to in-person learning as we slowly readjusted to normal life. We
were just beginning to get back on our feet financially and were no longer in the humbling position of being
needy. We gave thanks and gratitude to God for allowing us to maintain our dignity through that time, and
whispered heartfelt blessings and well wishes to our Angel for all the goodness he afforded us.

It wasn't long before our family suffered an unimaginable tragedy. What began as a peaceful Shabbat
morning in July 2021 instantly turned to despair as our lives forever changed when my dear husband passed
away suddenly, leaving us utterly shocked and broken. Those early days and weeks of intense grief passed

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in a blur. Our world was crushed. But as time inevitably moved on, it was those very memories at home
from that difficult time that has carried us forward and given us some peace.

I was recently shocked to learn that our precious Angel was none other than Mr. David Schottenstein and
that he is being sentenced with respect to a federal crime. I am writing this letter on his behalf because I
know he is worthy of my support despite this fact. Mr. Schottenstein is a well-known philanthropist in our
community, supporting countless projects and local schools. He is the definition of giving with an open
heart. While he doesn't know my family or me personally, Mr. Schottenstein's kindness and generosity
touched us deeply in our great time of need, and he will forever remain our Angel.

Respectfully,

Josephine Basher




  Exhibit A - Page 122
Exhibit A - Page 123
me. The owner of the salon agreed to apply for a temporary work permit for me. I worked there
and tried very hard until I became a professional hairdresser. The owner of the salon then gave
me a job offer, and I applied for permanent residence in Canada. One of the salon's customers
really liked me, and we became friends and partners. We got married two years ago and moved
to Toronto, Ontario, together. I am now happily married.

I kept in touch with my mother in Ukraine and was devastated about what is happening there
now. My husband decided we were going to bring her here, and we started the immigration
process.




David Schottenstein saved my life. If he did not help me get a job, I would have been deported
back to Ukraine. Who knows what would have happened to me there? So many people died in
that war.

I beg you to have compassion for David. He had compassion for me and so many other people.
He deserves another chance. His children need him, and our community needs him. We beg for
mercy for David.

Respectfully yours,

Kyle Braatz




 Exhibit A - Page 124
December 26, 2022                                                  Larissa Feldman


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

My name is Larissa Feldman. I am an elderly widow and Holocaust survivor. I came to
Montreal with my husband, son, and his family over 25 years ago. We met David Schottenstein
when he married Eda.

I mentioned to David that I was looking for a job, but because of my age and very poor English
language skills, it was difficult to find someone willing to hire me. David went to buy some
jewelry for Eda and asked the owners if they could offer a job to a responsible person who does
not know English so well. The owners agreed to meet me, and I got a job packing jewelry for
fifteen years until my retirement - all thanks to David.

When my husband passed away, David came to visit me and asked how I was doing. I told him
my retirement pension was hardly enough to make ends meet.

David sponsors food parcels that are delivered to my house weekly. When David, Eda, and their
children were in Montreal in the summer, they personally delivered the food baskets to my door.

David is such a special person to our community. He provides critical support to so many
people. We are begging for compassion and mercy for David Schottenstein.

Respectfully yours,

Larissa Feldman




 Exhibit A - Page 125
December 26, 2022                                                       Larissa Striger




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,



My name is Larisa Striger. My husband and I and our daughters and their children are active participants
in the David and Eda Schottenstein Community Centre activities and events. David Schottenstein is an
anchor of our community. Whenever someone needs a job, medical advice, or financial help, David is
there for each member of our community.




           David cares about each person in the community as if they are his relative. I can not imagine
what would happen if he was not around to support people in our community.

The whole community will be devastated if David is gone for any amount of time. It would be terrifying
for his family and for our whole community.

Our community begs you for mercy and compassion for David Schottenstein.

Respectfully,

Larissa Striger




 Exhibit A - Page 126
Exhibit A - Page 127
Laura Dyblenko




 Exhibit A - Page 128
Wednesday, December 7, 2022                                                                  Laurent Ruben




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

My name is Laurent Ruben, married, 2 children (18 and 14 years old),
                 I work for US Mobile Phones Inc, a leading cell phone distribution company as a General
Manager of their Miami facility.

I consider my relationship to David as a friend and a former business partner and former employee, and I
have known David for the past 5 years.

I understand David is going to be sentenced for a federal crime, and I'm writing this letter because I know
David is still worthy of my support and the court’s compassion, because in the last 5 years I saw him leading
an eyewear company (Prive goods LLC) with integrity, for several years I saw him deeply involved in his
religious community, and I always observed him as a humble family man who cherishes people despite
their differences, and always cares.

As a former business partner and former employee, David has impacted tens of families including mine in
the last few years. He has always been an entrepreneur who has a great sense of how to create value, hire
and retain the best talents and I could see this has a positive impact on all families around him.

I do believe that his possible incarceration would sadly impact him and his direct family from an emotional
standpoint. David provides critical and irreplaceable support to his wife and his 4 children, and I cannot
imagine the pain he would have to endure.

I have been in contact with David since his arrest and have seen significant changes in his behavior. He is
very preoccupied and remorseful of the situation. In my opinion, he will not commit this sort of offense
again, and I am sure he will be able to implement a successful plan to make it right for everyone. I am happy
and willing to help David to stay out of trouble, he always has my friendship, and I am here for him if needs
me, the same way he helped me in the past.

Thanks in advance for compassion and mercy based on the information that I have provided in this letter.


Respectfully yours,
Laurent Ruben




      Exhibit A - Page 129
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Lea Schottenstein, David's mother. I know, and I am sure you get to read many
letters from parents who are very prejudiced in how they describe their child, no matter the age.
However, I am not sure every parent can say, hands down, that they are truly proud of their
child.

David's ability to care, to give, to help and to take responsibility is innate and has been very
obvious from a very young age. He confidently spearheaded his class fundraisers and very
often at his own expense. He was a great student who diligently completed his assignments and
always made time for community service. I always said that his mind moved faster than the
speed of light.

His extremely giving and caring nature goes back to his childhood. I remember in Kindergarten I
received a call from one of his teachers informing me that I needed to pack significantly more
food for David’s lunch because he was giving all of his snacks and half of his sandwich away
every day to kids who came from less fortunate homes and brought very little with them for
lunch. This explained why David was so ravenously hungry when he returned home from school
each day. When the Soviet Union collapsed tens of thousands of the Jewish refugees who fled
came to Columbus Ohio. David, at ages 6-10, took it upon himself to befriend all of these new
immigrant children, ensuring that they were included in everything despite not speaking any
English. I remember one sleepover party at our home when half of the children there couldn’t
properly communicate to us what they wanted to eat for dinner. David of course made sure they
were comfortable and taken care of.

One story that comes to mind which particularly helps to illustrate David’s sensitivity and care
for others. A particular teacher that David became very close with was the late Christine Coyne.
She was David’s third grade teacher. Mrs Coyne’s husband passed away, at age 40, suddenly
in the middle of the school year. Mrs Coyne was heartbroken and frequently broke down in tears
in the middle of class. David sat down and wrote a letter to Mrs Coyne trying to provide her with
comfort. Mrs Coyne, over the next 30 years, constantly pulled this letter out of her purse and
showed it to us whenever we happened to be at the school for one reason or another. We heard
from teachers and students alike that Mrs Coyne constantly shared this letter with just about
everyone. Mrs Coyne carried this letter with her until she passed away a few years ago. Her
children contacted David immediately after her passing to let him know that their mother passed
away with this letter still in her purse and they wanted David to have it. I have attached a picture




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of the letter he wrote to Mrs Coyne as well as the letter her daughter sent to David. David of
course, in his fashion, immediately made a very significant contribution to the breast cancer
foundation in Mrs Coyne’s memory as a comfort to her children. This is who David was and is.
He lives to help others, he lives to comfort others, to do whatever he can to make people’s lives
easier and better. It’s something that has very clearly been deeply ingrained within him from a
very young age.

I was extremely saddened by the poor judgment he made in this specific instance, one so out of
character for him given his stellar honesty and sterling integrity. It was definitely reckless and
impulsive. I know and can vouch for the fact that he will not repeat this offense or any other for
that matter. He quickly caught himself, recognized he did wrong and sought to rectify it. And
when he was later approached by the government he took full responsibility and did his best to
atone for his error in judgment.

This past year in and of itself,, has been for David and for all of us, his very close family, a huge
huge punishment. I don't think anyone wants to go through such a rough and jolting experience
to learn some important life lessons. David and his wife Eda and four beautiful, kind and
talented children, are constantly involved in doing good deeds for the community in town, out of
town and overseas. He is the glue that holds our family together. He is the child out of my five
who always makes sure the family is together on important occasions and holidays. He is the
sibling who takes care of the others, both of his older brother and his three younger sisters.

David's tremendous energy, with the exception of this gross failure, was always channeled for
good, always channeled in such positive ways. Depriving the entire community of it would be a
huge shame. David has the ability to run multiple projects at the same time. He started very
young, raising his children while growing up with them. He had his fourth child when most of his
friends weren’t even married yet.

My Mom, David's grandmother was an integral part of our children's childhood. David was at the
helm of arranging for her care, throwing a 90th birthday party at which she had a glass of wine
for the first time in her life! He flew into New York all the time with his children to cheer her up.




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David has the talent to drag everyone into his "good deed missions". Prior to relocating this year
to Miami, we had a fire in the home where our five children were born and were raised.
Everyone was sad and devastated. We therefore contemplated rebuilding. Opinions were many
and divided. David put his foot down and confidently presented all the pros and cons. Of course
his consideration that we were getting older and needed to be near him, won. He moved us into
an apartment right next door to his own building. Many children would perhaps not want their
parents so “in their face”. Not David. He generously looks after us and although no parent wants
to admit it, we do need it...

Your Honor, I know we are asking for a lot. As a parent who very much depends on his advice,
decision-making, or accompanying his Dad to his cardiologist appointments, I beg of you to
show Mercy and Compassion in your judgment. I know for certain that he will not repeat this
offense or any other, and I know for certain that he has already suffered so so much. I also can
see the tremendous amount of additional good that he is involved in now on top of what he was
already doing each day. He has taken it to a completely new level, like a man on a mission. We
just cannot imagine him not being just a few minutes away from all of us. If you do feel that
David still deserves additional punishment, I know that there is a punishment that will still limit
him while still being there for everyone. I know that my request is not like asking a teacher to
give a student a pass. I am asking a bigger-than-life person, Judge Woodlock, to have mercy on
David and on his proud and loving family.

Léa Schottenstein




 Exhibit A - Page 132
Exhibit A - Page 133
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein


Dear Judge Woodlock,

I’m taking the opportunity to share a little about my dear friend, Mr. David Schottenstein. Before I do so,
I need to share a bit about myself.




I got married in 1994, and in 1996 moved to Columbus, OH, to work as a rabbi focused on Jewish
education both for youth and adults. This is when I became dear friends with David’s parents and family
and got to know David as a young teenager.



                              Nonetheless, in 2016 I assumed the position of executive director of
Chabad at Ohio State University, a Jewish student center for students at OSU. I was now responsible for
the annual fundraising of more than $650,000. My life became a bit of a juggling act between my
Columbus and New York responsibilities.




                                                 .




Among the visitors were David and his wife Eda, who flew in from Miami. During his visit with me, David
pulled me aside and let me know that I wasn’t alone. He said he would back me up financially with
whatever I needed, whether personally or with the Chabad Jewish Student Center at Ohio State. He
wanted to ease my financial pressure both in Columbus and in NY during this very dark time in my life.




 Exhibit A - Page 134
Exhibit A - Page 135
December 30, 2022

Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Rabbi Levi Banon. I am the director of the Chabad Jewish center in
the country of Morocco, which provides spiritual and humanitarian aid to the
Jewish community in Morocco.

I came to know David Schottenstein when I reached out to him for financial aid and
advice when I first embarked on our mission. As a young philanthropist and
businessman, he gave me his time, guidance, and financial support when I very
much needed his encouragement.

I respect the fact that David is awaiting conviction for a federal felony, and it is
my hope that this letter of support will be considered.

David has been a supporter of ours for almost a decade. He not only supports
our organization, but he genuinely cares for our recipients in a personal way. He
even visited Morocco on two occasions in order to see our activities and to be
able to guide us.

David not only demonstrates compassion and care to our recipients, but he is also
personally involved in their wellbeing. He regularly inquires about our recipients,
making sure each family has their needs, whether it’s a much-needed vacation for a
widow and her five children, a Bar Mitzvah celebration for a child without a father, or
making sure a child can benefit from a summer camp experience. Of course, before


             Morocco: 58 Abdelatif Ben Kaddour - Casablanca, Morocco - +212659116448
               USA: 595 Lefferts Avenue - Brooklyn, NY 11203 - Tax ID XX-XXXXXXX

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every Jewish holiday, David ensures that our over 100 recipient families have all
their needs, including new clothing and holiday specialties.

I have come to know David’s wonderful family, including his parents and his wife
and children. Each and every one of his family members are exceptional people
who give their time for communal affairs. It is evident that he was raised in a family
that cares about their fellow human before themselves and that he has passed on
that quality to his children.

I humbly implore of your honorable that you extend compassion and mercy as I
have seen David doing for so many.

Respectfully yours,
Rabbi Levi Banon
Director




             Morocco: 58 Abdelatif Ben Kaddour - Casablanca, Morocco - +212659116448
               USA: 595 Lefferts Avenue - Brooklyn, NY 11203 - Tax ID XX-XXXXXXX

 Exhibit A - Page 137
Janurary 11, 2023                                                            Lidia Yefman




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

My name is Lidia Yefman. I came to Montreal from Moscow 30 years ago with my husband and
our daughter. My husband, Boris Yefman, was a known artist in Moscow. I was a copy editor. It
was very difficult for us at the beginning. We did not know the language. My husband could not
bring his artwork here or even art supplies. I started working by cleaning people's houses in order
to buy food and art supplies for my husband. He was suffering because he could not paint.
Finally, we were able to buy art supplies, and my husband started to paint again.

We were involved with the Sirota family from the beginning, and we met David Schottenstein
when he married Eda. We were invited to their wedding and gave them an original painting by
my husband. David loved the painting, and David and Eda took it with them to Columbus,
Ohio. He spoke to Boris and said he would like to see more of his art. David came to our house
and was very impressed with Boris's art. We did not ask for his help, but David offered to show
pictures of Boris's paintings to the owners of Galleries he knows. David kept his word.

Through David's connections, we started getting requests to purchase Boris’s art from Columbus,
Ohio, Washington, DC, Miami, Florida, and New York. We offered to work on a community
calendar that featured his artwork. Boris did all the graphic design, and I sold advertising to bring
income to pay for printing. The calendar in Russian and English was unique in Montreal and
very popular. That became our yearly project. Every year, Boris did all the graphic design, and I
sold ads. For thirteen years, we made the calendar for the community.

When David and Eda Schottenstein Centre opened its doors, we donated a very big painting by
Boris Yefman to the community in appreciation of the help that David Schottenstein provided
us. Unfortunately, my husband passed away two years ago. David came to the funeral and is
continuing to support me emotionally. Several paintings of Boris are still for sale, and David is
helping me to sell them. Our daughter is a graphic designer. David hired her for a contract on one
of his projects and gave her such a good reference that she was able to find a permanent good
full-time job.




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We are begging to have compassion for David and see who David is as a person. He is one of the
few people I know who will do anything for others. So many people will suffer without him
being here for them.

Sincerely yours,

Lidia Yefman




 Exhibit A - Page 139
JOSEPH & KIRSCHENBAUM LLP
Attorneys at Law
Charles Joseph                                                                                  32 Broadway, Suite 601
D. Maimon Kirschenbaum                                                                            New York, NY 10004
Denise Schulman                                                                                   Phone (212) 688-5640
Josef Nussbaum                                                                                       Fax (212) 688-2548
Lucas C. Buzzard                                                                                       www.jk-llp.com


       D. MAIMON KIRSCHENBAUM
       Maimon@jk-llp.com
       (917) 842-3180



       Judge Douglas P. Woodlock
       John Joseph Moakley U.S. Courthouse
       1 Courthouse Way, Suite 2300
       Boston, Massachusetts 02210
       Courtroom 1, 3rd floor

                Re: David Schottenstein

       Dear Judge Woodlock,

       I write this letter in support of my cousin David Schottenstein, whom I understand is soon to be
       sentenced for a federal crime. I imagine that Your Honor will be receiving an outpouring of
       support letters on behalf of David. This is for the simple fact that David is a one-of-a-kind
       selfless benefactor that has dedicated his life to helping people in need, be it through large gifts
       to charity organizations, anonymous contributions to individual families in crisis, or simple acts
       of kindness to fellow community members. Over the last few months, I have spoken to David,
       and he has expressed to me and others near me genuine remorse for the decisions leading to his
       current unfortunate predicament. I am certain that he is committed to being a pillar of his
       community while taking responsibility for his actions and leading a truly law-abiding life once
       he can put this humiliating ordeal behind him.

       David’s large-scale philanthropic activities speak for themselves. He has played a pivotal role
       in the continuous operations of organizations that feed the poor, help those in need with medical
       expenses, and institutions of higher learning—basically any organization committed to bettering
       the world whose leadership had the good fortune of getting to know David. What is likely more
       difficult to capture is a full picture of his “smaller-scale” kindnesses with his family members,
       community members, or anyone with whom he interacts. With David’s gregarious personality
       and his ultra-kind heart, virtually anyone in his very extended community will smile when they
       hear his name (pronounced “Daveed”) and immediately recall both the unusual act of kindness
       he performed and the charming manner in which he performed it. The few examples I set forth
       are a tiny fraction of what I know David has been doing every day of his life:

           ●




        Exhibit A - Page 140
                        .

    ● When David first bought his home in Florida, he had not yet fully left his hometown of
      Columbus, Ohio. Until he relocated fully to Florida, David would not allow his new
      home in Florida to be “dead space” for even a minute. He practically turned his brand-
      new apartment into a full-blown hospitality home for anyone in his orbit that could
      benefit from a week or a weekend in Miami. He did not otherwise lead a lifestyle that
      lent itself to that sort of trip. I recall availing myself of this generosity one Passover and
      marveling at a fully-stocked kitchen and perfect home that David maintained solely for
      other people. In fact, I was somewhat put off when David insisted in advance that we
      must leave the apartment the night the holiday ended, as that seemed out of character.
      But it all made sense when I learned that David had invited another young couple to stay
      the very next day. He needed the apartment to be vacant that night so as to have
      someone clean and arrange the apartment for the next couple.

    ● Our Moroccan grandmother, Maman, spoke little to no English. Toward the end of her
      life, she was cared for in a nursing home. David took it upon himself to make sure that
      she had additional personal nursing care while there so that she could feel dignified and
      in good company during that period. He would call her frequently through FaceTime,
      check in on her, and visit her personally whenever he could. If she was in an extra good
      mood, her room was extra clean, or she had something bizarrely extravagant in her room,
      we all knew: David was around. Our entire group of cousins will never forget when
      David came to New York on her birthday, convinced her with his unparalleled powers of
      persuasion to come to midtown-Manhattan and celebrate her birthday at an upscale
      kosher restaurant like a diva with her many grandchildren (she could barely walk and
      virtually never left home by then).

I cannot stress enough that these three anecdotes are totally commonplace everyday occurrences
in the amazing world David occupies, and I hope that it comes through in the correspondence
Your Honor receives on David’s behalf. David lives to better this world for the people around
him with his good spirit, kindness, and generosity. I know from our intense discussions that he
deeply regrets the activities that brought about his current predicament. He understands that a
strictly law-abiding lifestyle is crucial to both a meaningful life and to being able to give to
society at the level he so desires.

Respectfully,



                                                 2
 Exhibit A - Page 141
Maimon Kirschenbaum




                        3
 Exhibit A - Page 142
Janurary 11, 2023                                                   Masha Antal




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Masha Antal. I am Eda Schottenstein's older sister.




I met David Schottenstein when he married my youngest sister, Eda. They were living in
Columbus, Ohio.




If it were not for David, our family would have collapsed then. That was almost 11 years
ago. Since then, David has been there for my family every week. My older children got married
and are working and studying with David's help. My younger children go to school, and David
is always there for them. David paid for all my six children's tuition in schools. 2 of my children
graduated and continue to study at university. David pays their tuition and is involved in their
life every step of the way. Recently our car broke down. My husband could not even bring
groceries for my family without a car. David just bought us a car. Our previous car was also
bought by David several years ago.



 Exhibit A - Page 143
Our family still exists because of David. We need him to survive.
                                                         We all need David to continue living.

We beg you for compassion and mercy for David Schottenstein. Our family needs him to
survive.

Sincerely yours,

Masha Antal




 Exhibit A - Page 144
December 26, 2022                                                           Maxim Bolonin




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

My name is Maxim Bolonin. I met David Schottenstein at the David and Eda Schottenstein
Community Centre. We are about the same age, and our children are the same age and often
play together. Many times, I witnessed David's compassion and humility to so many members of
our community.

When I came to Montreal from Moscow, I was newly married, but my English was very poor,
and I did not have a job. My wife was also unemployed and looking for a job.

                          I had to take care of her and look for a job at the same time. We really
struggled financially.




       David Schottenstein paid for an online marketing course for me and, once I graduated,
gave me ideas about what I could sell on the internet. Slowly I started selling and made some
money. More importantly, I got experience in internet sales. After my wife gave birth and felt
better, I was able to find a job for a company in internet sales. Thanks to David's generosity and
caring, I am now employed and supporting a family with three children.

We beg you for compassion and mercy for David for the sake of his family and so many people
in our community that David helped and continues to help.

Respectfully yours,

Maxim Bolonin




 Exhibit A - Page 145
Rabbi Menachem Katz




January 4, 2023
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor


         Re: David Schottenstein


Dear Judge Woodlock,

I am writing in reference to Mr. David Schottenstein. My name is Rabbi
Menachem Katz, and I am a Rabbi living in Surfside Fl for the past 21 years.

When David moved to the community many years ago, he immediately got
involved in all community activities and was always there to help in a time
of need. Anytime an individual or a family needed financial assistance,
David was always eager to assist in any way he could. Throughout the years
I have known him, he has always supported our endeavors and many other
educational and humanitarian causes.

Beyond philanthropic generosity, David and his wife are exceedingly sensitive
to those individuals who are in need. They even donated a Torah scroll to a
prison in honor of Rabbi Gavriel and Rivka Holzberg, who were murdered in a
terrorist attack in Mumbai, India, in November 2008.

I have seen on many occasions where David has reached out to help an
individual out of compassion, with no ulterior agenda or gain. One example
stands out in my mind. A number of years ago, I asked him to host a young man
in his home for Shabbat dinner. When he realized that many in our community
do not have where to eat on Shabbat, he took it upon himself to personally
find places for them to eat each and every week. No matter where he was in
the world, he did not drop the ball and always arranged a place for them to
eat on Shabbat.

I have seen how close he is to his children, and he is a deeply caring
husband and father. Since his arrest, we have had many discussions, and he
expressed deep remorse and regretted committing the crime. I believe he has
learned his lesson and understands that breaking the law has consequences.
He was ostracized by many members of the community because of his offenses
and I know this has been very difficult for him.

Therefore, I respectfully request that your Honor have compassion upon him
and not sentence him to physical incarceration. As he is a person whose
family desperately needs him at home, and I know he will never again be
involved in any criminal behavior. I know he will turn this unfortunate




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experience into a positive one by helping people with even greater passion
and endeavor to correct his past behavior, and dedicating even more time and
effort to helping others.

Sincerely,




Rabbi Menachem M. Katz




 Exhibit A - Page 147
December 20, 2022                                                   Menachem Traxler

Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein



Dear Judge Woodlock,

I am the director of pantry Packers, part of the Colel Chabad Organization. We are a charitable
organization that's been helping to feed poor families for over 300 years.

During the year and especially for the holidays we help provide basic needs including food and medicine
for poor families in desperate need. David Schottenstein has been a tremendous help and supporter of
this organization.

David is single handedly feeding dozens of families. David’s involvement is not only financial. He rolls up
his sleeves and actually gets involved, helping to improve the organization and its efficiency.

When he travels to us with his family he brings his kids in to help, even during their school vacations,
clearly teaching them at a young age that a life of service is a life worth living. If you met David’s
children you would see that he is succeeding in raising them to live lives of service as well.

One specific thing I would like to point out. 99.9% of the time, I am calling people to give and to help. I
am soliciting them to give. I cannot remember one single time that I did that with David. He is always
the one calling us to see what’s needed! It is truly mind boggling to witness this, especially with all of his
family and business commitments. He checks in at least every couple of weeks to see what various
families need and what he can do.

My understanding is that there was a federal offense committed. Knowing David and his
personality I believe he sincerely regrets ever committing this offense. In light of the above, I ask
your Honor to be as lenient as possible with David. It would be a tremendous benefit to all of us,
to the numerous families he is helping to support and to all the team members at our
organization. Thank you for your consideration.

Sincerely,

Menachem Traxler




 Exhibit A - Page 148
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Rabbi Mendel Wuensch. I am married to my dear wife, Itty, and we share a beautiful
daughter, Reva. I am the Rabbi of the congregation Tefilat Yamim in the neighborhood of Ir Yamim,
located in the city of Netanya in the country of Israel. This is an orthodox Jewish congregation for English
speakers from all over the world, including England, South Africa, Australia, America, and Canada. The
defendant is my second cousin, and I have known him my whole life, even him babysitting me in my
infancy. I am fully aware of the federal crime that David is being sentenced to, and I feel completely
comfortable and confident writing this letter in his support despite that reality. I am going to share with
you a short personal anecdote I experienced with David.

When I was a young boy of about 13, I had a major personal struggle. Even at a young age, I wrestled
with the anxiety and pressures of society to lead a successful life and become a wealthy man. At the
time, I thought that meant I needed to go to a good public school, specifically, in this case, Spanish River
High near my house in Boca Raton, to get good grades and go to a good college. As I was raised in an
orthodox family, my father was devastated to hear my wishes as he was always hoping I’d follow his
path and go to a Yeshivah instead. This brought major tension between us as I felt like he didn’t get
what I wanted and he felt disappointed in who I wanted to be. This went on for some time until he came
up with a solution. He told me that he would find someone who went to yeshivah and went on to lead a
successful business career to speak to me and show me how it is possible to do both. I was doubtful this
would succeed, but he said if I spoke to this friend and I still wanted to go, he would let me. This friend
was David Schottenstein. He called me up and we spoke on the phone for quite some time. I’ll be honest
with you, I do not remember the exact words of the conversation, but I do remember and know now
that this conversation changed my life forever in the best way.

As you can probably tell from my introduction of what I do, I ended up going to yeshivah, falling deeply
in love with Judaism, and now lead a flourishing and growing Jewish community in Israel. I can sit here
and tell you all day about David’s incredible and profound philanthropic work all over the world. Just a
few to mention from my limited knowledge, he supports heavily a large school for Jewish children all the
way up to and including high school called Lubavitch Educational Center in Miami, the oldest Chabad
Synagogue in Israel called the Tzemach Tzedek Shul in the Old City of Jerusalem, a seminary for girls in
Jerusalem called the Jean Schottenstein Oryah Institute (named for his grandmother), one of the largest
synagogues in the world called The Shul of Bal Harbor, a synagogue for Russian Jews in Montreal, an
international school for all ages for men and women to learn Jewish studies and connect to their Jewish
roots called Mayanot Institute for Jewish Studies and I’m sure the list goes on and on. He truly has
changed the world in an absolutely epic and tangible way. But this letter is not about that. Those types
of contributions come with fame and recognition. Yet, the small act of taking the time out of his bust
entrepreneurial schedule to speak to a young boy, a boy with nothing to his name to get in return and
scared at the big bad world in front of him, to take his hand a guide him through it, that takes genuine




 Exhibit A - Page 149
character. The genuine kindness and love for another person. That’s who David is. Please have
compassion and know the caliber of man who is before you today.

Respectfully yours,

Rabbi Mendel Wuensch




 Exhibit A - Page 150
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein


Dear Judge Woodlock,



Thank you for taking the time to read my plea to you. As I understand you are about to make a decision
that will not only affect my neighbor/friend David and his family but it will also affect many people in
our community.

My name is Michael Leitman as an entrepreneur I'm very active in our community and a few years ago
when I first moved into the building (that I live in now) I was in a difficult spot - I had just gone through a
divorce and my kids and ex-wife moved to New York (my ex-wife and I are still good friends).
                                                                                                          One
day while I was sitting on my balcony David invited me to join a group of people, he gathered together
for evening prayer.

                          He would gather the old and young and while we stood on our balconies David
would lead us in a group prayer.

Through these prayer sessions, I started to get to know the neighbors and start feeling much better
about myself. But his generosity towards me did not stop there - he invited me to have dinner with his
family so I don't feel lonely in the evenings and weekends. He introduced me to others in the
community. He did all of this with zero expectation of anything in return.

How David treated me was not unique because he did this for so many others in the building. He is
consistently there to support others in every way he can. For instance, we have a neighbor (Sylvia) who
is over 90 years old and a Holocaust survivor - David brings her food, invites her for dinner at his home,
and shows her so much attention. Sylvia has said to me that she doesn't know what she has done to
deserve this type of love and attention from David. When David goes away on business or vacation with
his family, Sylvia constantly asks me when is David returning. It would break her heart to know that
David is not a part of our community anymore.

So many of us depend on him. Please give David a second chance at immediate freedom. I am certain
that he will make you proud.

Best,

Michael Leitman




 Exhibit A - Page 151
Exhibit A - Page 152
January 27, 2023                                                                                 Michelle Abreu


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

It comes with due respect that I, Michelle Abreu, ask your honor to consider David's character in my life
and as a family man and community leader. For the past 14 years, I have been in the Schottenstein's life
just about every day as I am employed there as a housekeeper.

Ever since I started working for David, he has shown nothing but love and respect For my family and me.

                                                                                                Thru the
years, I have seen how he is the backbone of his family and his community. There is not one time that
there have been church leaders or organizations or even individuals that have needed help that David has
not stepped up to the plate and helped them out. Whenever he knows my son may need anything for
school, he has always volunteered to help me, including my son's Apple computer. He is always 100%
involved in his kid's life with school and all their events.




I believe that the biggest accomplishments in life come when you know what you have done was wrong
and can assert that you can never again bring these kinds of burdens to your family or to yourself. I truly
believe that David is in this position, as I see it in him daily. As he closes this chapter in his life, I, please,
beg you to consider all the good David has done for me, his family, and his community. I understand
every wrongdoing requires a punishment. I truly and honestly believe David has been punished mentally,
physically, and emotionally since this episode started, more than words can express. If there is any chance
that David is punished without being removed from his family's life, my life, and the communities life,
we would all greatly appreciate it.

Thank you, Judge Woodlock, for taking the time and reading this letter.

Sincerely,

Michelle Abreu




 Exhibit A - Page 153
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

It is my pleasure to be in the position to speak on my experience with David Schottenstein,
whom I have known for over almost decades now. And to ask for your specific consideration
regarding sentencing.

I started working for David at Astor & Black when it was a new/small company. He, the owner of
the company, brought me from NY out to OH to personally train me. He was a wonderful model
to learn from as I watched him serve his clients with humility and individualized attention. He
treated everyone he encountered as a friend, yet he had unwavering tenacity that was stable
and comforting. He was a great person to learn from because he had a vast familiarity with
each position and stage of the process. He encouraged those around him, clients and
coworkers, to have a true ownership mentality with both their own career path and with every
position they hold- this is a rare and valuable leadership style.

David is also a pious Jew who strives to live out God's presence. As a non-Jew, David never
preached or pushed anything on me, but he did allow for open conversation about God and his
faith was unmatched. As a Catholic, I felt very comfortable to speak about my own beliefs, to
lean into my own vernacular around faith-based language. I appreciated this deeply and found
comfort working with a man who answers to something/someone much bigger than any of us.

It is because of this deep faith that I know David must be working through grief and recompense
for what he did in breaking the law. As someone who works with folks transitioning from
incarceration, I know this wound cuts deep and is often a catalyst for real shifts in a person. In
speaking with David, I see clearly that he not only acknowledges his wrongdoing, but has
learned a lot about himself through this whole process.

I am crystal clear that actions have consequences, but I do ask that you graciously consider a
lesser sentencing that will allow David to still be an active member of society, a pious father and
business owner, and a teacher of life lessons to all he encounters. He is an overly productive
member of society with an extensive reach and influence who puts people around him in a
position to succeed. He is a very active father and husband in his nuclear family of 6 as well as
his larger family unit. He is a direct communicator who, unknowingly at times, teaches those
around him and encourages hard work lead success for those who have the privilege of working
with him.




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In short, my two main takeaways from David were:

       1. To have more of an ownership mentality in my work.
       2. to have more of an outward ownership mentality in my faith.

And my request is for the consideration of alternative consequences that do not send David
Schottenstein into incarceration.

I am grateful for the justice you uphold and for taking this request into consideration.

Gratefully,
Molly Plumley



___________________________
Molly Plumley, ICF-PCC
Post Incarciration Success Coach
Side By Side
Leadership and Executive Coach
TBD Coaching, Lead Belay, Sounding Board Inc

Cell: 917-543-1099
Book appointment
Find out what it is like to work with MOLLY




 Exhibit A - Page 155
                                                                            Morri Cohen



Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,

I am writing today in reference to Mr. David Schottenstein. It was brought to my attention
that he is being sentenced with respect to a federal crime very shortly. After the shock of
hearing this, I realized he is worthy of my support despite this fact. I felt a need to express
how Mr. David Schottenstein's generous charitable contributions have affected my life and
others. Please let me explain.

I know Mr. David Schottenstein by name only. I may have seen him around the
neighborhood or at The Shul of Bal Harbor. I have seen his name associated with many
charitable causes, locally and nationally, whether to help an individual, family or a worthy
organization.

I remember several times Mr. Schottenstein donated to The Shul’s Light and Power
fundraiser in honor of his wife’s birthday and also for their anniversary. I thought it was
very nice, sentimental, and sweet of a young man to give recognition to his wife while
supporting The Shul. These donations to this special fundraiser are very important to the
daily operations of The Shul for the electricity, air conditioning, and daily operations. His
support impacts the entire congregation’s ability to comfortably pray, learn and attend
other events, and to help keep the doors open.

The hard part is to write how I personally benefited from Mr. Schottenstein's generosity to
The Shul’s Communal Fund. The Fund is an amazing gift from God, The Shul, and its
generous anonymous benefactors. What is so beautiful is that the receiver and giver are
anonymous, which is so important to the sensitivity of the process and to each party's
dignity. The receiver receives without others knowing, and the giver gives from the heart
without any recognition. That is why it’s hard to write this because I have to say I needed
to ask for financial help to put food on the table for Passover and Rosh Hashanah. I
realized Mr. Schottenstein also had to give up his anonymous status as a benefactor for
his own need for personal support during his time of crisis. I, therefore, write this letter to
you about the impact Mr. Schottenstein's generosity has had in the past few years for
myself and my elderly widow mother through this fund. We live together, and a good
position of my time is taking care of my mother thus, our income fluctuates more to the
lower side. When it comes to the holidays, we seem to be short of funds to make an
appropriate holiday and need assistance. Thank God we can turn to The Shul, its Fund,



  Exhibit A - Page 156
and its anonymous benefactors like Mr. David Schottenstein. This assistance has allowed
us to have beautiful, meaningful, and inspiring holidays on both a physical and spiritual
level. That is what the holidays are about. Appropriate food on the table with family and
connecting with God, and not having to worry and be stressed about how or if this is going
to happen. We have been blessed to receive funds for the holidays in the past, along with
other families.

Therefore the generosity of Mr. Schottenstein is very needed. I know it’s not easy to raise
funds for two reasons. First, before moving to The Shul neighborhood over 20 years ago, I
was a board member in a different synagogue. I saw the inner workings of a nonprofit
religious organization and the challenges of raising funds. Second, when I call to ask for
financial help for the holidays, the answer is we will put you on the list but do not know
when the money will be available. For me, that is the hardest time, not knowing when the
money will come or how much. I need this money in order to shop or else I cannot shop.
Since we eat as healthy as possible, I am very careful when shopping and try to get the
most for the money. So The Shul always tries to get me the funds as soon as possible.
Going back to Mr. Schottenstein, without his generous support, the amount of funds could
be much less, especially during these hard economic times. Also, the time to receive the
funds could be even closer to the holidays, causing more stress and pressure dealing with
shopping and cooking since I have to do it all. Additionally, I am only one of the many
recipients of the fund. Therefore without support from Mr. Schottenstein, many lives will be
affected during the holidays and throughout the year.

Thank you, Judge, for your time, and may you have compassion and mercy on Mr. David
Schottenstein based on my personal insight and gratitude to him for his generosity. We
are all receivers and givers in life, depending on the situation. Sometimes we are both on
the same day.

Respectfully yours,

Ms. Morri Cohen




  Exhibit A - Page 157
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

I am writing regarding Mr. David Schottenstein, a man with a big heart who has
helped so many in our community, giving charity magnanimously and opening his
home to those in need. However, what really makes David so special is how he is
not content just to write a check but how he gives so freely of himself as well. I
speak of David’s kindness and staunch generosity of spirit from personal
experience.




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I have been in contact with David since this whole thing started, and he has
repeatedly expressed his heartfelt remorse to me. David understands that he has
done something wrong, and I know he will never let something like this happen
again. David, unfortunately, made some bad choices, but he is still a good person, a
caring husband, father, son, brother, and friend. Any leniency the court can extend
to David would be so greatly appreciated and be of great comfort and help to those
who love him - his friends, family, and community.

Respectfully,

Motti Korf




 Exhibit A - Page 159
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

        Re: David Schottenstein

Dear Judge Woodlock,

My name is Myriam Schottenstein-Engelson. I am David’s younger sister. I’m married, have
four young children of my own, and am a licensed therapist.

On the outside, it may seem that my brother and I lead very different lifestyles. My husband and
I run a non-profit organization in New York City, working with young adults to provide crisis
intervention, education, and provide access to learning life skills and a variety of resources,
such as hosting workshops, lectures, and interactive events.


Although our organization is not the fancy kind with gala events or publicity photos, my husband
is a Rabbi, and we are both counselors. We work with our boots on the ground to help hundreds
of individuals who are struggling and lost as they navigate difficult situations in their lives.

If I send a simple text message to my brother saying that a young man can't afford his
psychiatry bills or needs help getting a business off the ground, the only question David asks is,
"How much?" Before I can count to three, the money is sent, and the need is taken care of.
Little did he know, the young man was an orphan who lost his father during Covid and has a
mother who is severely mentally handicapped. He generously shares his business contacts,
allowing many of our ambitious attendees to approach him, and time and again, he helps them
find jobs and get on their feet to fend for themselves. He generously offers them business
advice and even provides them with some seed money to get their businesses started.


There has been one special project and brainchild of David, in particular, that I have had the
pleasure of assisting with. For several years David and Eda have been fully sponsoring
relationship workshops to teach young adults how to create healthy marriages with top
marriage therapists and hard to reach Rabbi’s, always ensuring that the food and
accommodations at these retreats are of the highest quality so attendees can learn and feel
their best. Couples have walked away changed, with newfound hope, and young adults with
broken family models have been given a new lease on their future. It is a powerful experience
to see the difference these workshops have made in the lives of so many.

When the holidays come around, and David knows that our programs are operating at total
capacity, he sends us more than we need, never wanting us to feel a lack. Although many
people are unaware of it, David is our organization's strongest support. He doesn't just provide




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financial donations but also uses his resources to assist us with our work. Many people might
hesitate to call a high-end business contact for their little sister's organization, but David doesn't
hesitate to risk his reputation and pull out his phone to help us time and again. He is our
greatest cheerleader, and his support gives us the energy and the drive to keep growing and
expanding our reach and initiatives.

During Covid, our landlord called my husband and said if he didn’t purchase the home we were
living in and working out of, we would have to move in mere months. We turned to David, who
could help us with the crazy endeavor as we certainly weren’t prepared. He took out a
mortgage for us, put his name on the line, and jumped through hoops during what we later
learned was a severely stressful time for him. It was unbeknownst to us as he patiently spoke
to our accountant, lawyer, and banks to ensure we wouldn’t lose our home. For this act of love
and generosity, we are eternally grateful.

David is not just someone who does good deeds, but he is a pillar in the lives of many
individuals. He is a role model who is financially successful but also lives to give to others. He
responds with elegance, grace, and humility when he hears a need. David and his wife Eda are
one-of-a-kind human beings who share from their wallets and their souls. They feel a sense of
responsibility to use their abundance to help others and do so with kindness and generosity.
While financial success certainly comes with its own set of responsibilities and challenges, no
one will fully know the good that this person does. The lives he has touched are countless, and
his generosity is not motivated by fame or recognition but by a true sense of kindness.




While you might say that I have chosen a life path that looks like it is defined by helping others
rather than pursuing a business venture, it is actually David who has taught me what it means to
truly give to others. He does so not because it is his chosen vocation but because it is simply
who he is.

 I plead with the court to be lenient and have compassion on a person who is so gracious and
truly reciprocates this to others. David is an amazing father and husband, and while it is only
human to fall short, we are proud of him not because we think he is perfect and beyond
reproach, but because he is a real human being who gup each day to gives, inspire, and grow
in so many ways.




 Exhibit A - Page 161
Respectfully,

Myriam Engelson




 Exhibit A - Page 162
December 13, 2022                                             Natalia Naderianz




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

My name is Natalia Naderianz. I grew up in Leningrad.



I




Please, have mercy for David, his wife Eda, and especially their children.

Respectfully,

Natalia Naderianz




    Exhibit A - Page 163
January 2, 2023                                                             Natalie O'Reilly


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

I write you this letter to share with you the tremendous kindness Mr. David Schottenstein has shown me
over the last many years.




In the Jewish community my children and I are part of, I know that David is one of the imperative
benefactors at our Synagogue. Lately since the start of Covid, with the rental crisis in Florida David has
contributed each time I was in crisis and had to move when my landlord sold the apartment we were living
in.


                                                          David’s generosity to the community is always
there, front and center to better lives. David has a big heart and is well known for his generosity. I don't
want to think where we would be without his financial help.

Sincerely,

Natalie O'Reilly




 Exhibit A - Page 164
December 30, 2022                                                          Nikita Kolesnikov




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

My name is Nikita Kolesnikov. I immigrated from Sochi, Russia, to Montreal 15 years ago. I
never considered myself part of the Jewish community since my father is not Jewish, and neither
is my wife or her family. I was not part of the Jewish community. I enrolled in a construction
school in Montreal and passed all the exams to become a licensed construction contractor. My
friend and I opened a roofing company, and we became successful, sought-after roofers in
Montreal.

The first time I heard about David and Eda Schottenstein Community Centre was when they
hired me to replace the roof of the building that David and Eda had just purchased for the Centre
in 2011. Although I had experience with residential roofing, that was my first contract for
commercial roofing. I met David then and started attending some of the activities at the Centre.
Although I charged full price at the time, when I became part of the community and the Centre,
David Schottenstein inspired me to give back to the community. Many times, when the building
needed repairs, I donated my services free of charge.

This past year I had an emergency, and the only person who was able to help me was David
Schottenstein. My wife's family still lives in Russia, and we went to Russia to visit her parents
before the war with Ukraine started. My wife and I were in Sochi when the war started. We
heard about the suppression of freedom and other persecution of Putin's critics, so we decided to
go home. However, all the flights to Canada were canceled. We were stranded in Sochi, unable
to return, so I called David Schottenstein. He has connections and some exceptional travel
agents. His travel agent was able to help us get from Sochi to Moscow, from Moscow to
Tashkent, Uzbekistan, from Tashkent to Istanbul, Turkey, from Turkey to New York, and from
New York to Montreal. None of my connections or friends were able to accomplish what David
accomplished to get us back home.

David Schottenstein is a very special person in our community. He provides critical support to so
many people. David is the person to go to if people have medical problems or travel problems.



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He helps people with jobs and education. David is superhuman, in my opinion. To help so many
people when you only live in the city in the summer and for a few weeks during the year is truly
extraordinary.

We beg for your compassion and mercy for David Schottenstein for the sake of his family and
many people in our community.

Respectfully yours,

Nikita Kolesnikov




 Exhibit A - Page 166
December 12th, 2022                                                        Peter R. Hess

Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,

My name is Peter Hess. I reside in California and am the head of the endorsement
division for the largest talent agency in the world, Creative Artists Agency. I have known
David Schottenstein for years, both on a business and personal level. I have been asked
to write letters in the past for friends and business associates going through various
legal situations and have always declined, feeling that someday I would be asked to write
one for someone truly and totally deserving and that day has come (I am not familiar
with how legal letter writing works, and don't know if writing letters often, diminishes
the weight they carry, but I assumed that was and is the case, and thus limited myself to
this one).

My clients and I work with David on a regular basis, and everything we have seen points
to an honest, generous, hardworking and talented young man. He has built amazing
businesses and given opportunities to so many, including people who were coming
literally straight from alcohol and drug rehab, and even straight from prison.

My client Sarah Jessica Parker is partners with David in a current venture, and when he
shared with Sarah Jessica and I what happened with his insider trading offense, he took
full responsibility and made no excuses. Sarah Jessica and all of our other clients chose
to stick with David because they know who he is, they know what a fine person he is and
know that this was something foolish and wrong that he did, but this is not David. When
my son Griffin graduated from college and was looking for direction David hired him
right away, and today Griffin is one of the many employees working for a David-led
business. He is a truly wonderful and honest individual who did a bad thing, and my
understanding is he admitted to it immediately. He inspires everyone around him to
work hard, inspires everyone around him to be a real family man, always putting his
wife and children ahead of business. I also know of the incredible work he is currently
doing with Chapman Partnership and I believe the program he is engineering is
something he will replicate all over the country with other similar shelters.




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This is crucial. Judge Woodlock, when David is wronged, he forgives, he never judges
people harshly, I have seen it. I humbly ask of you to judge him the way he judges
others, with favor and compassion. As Seneca famously wrote "The first and greatest
punishment of the sinner is the conscience of sin". David has absolutely endured that
punishment, more so than I have ever seen anyone endure it. Some people initially deny
their sin, or try to deflect or blame others. David did the opposite of that. I am proud to
call him my close friend. Please don't separate this man from his beautiful family, please
don't take him away from us and please allow him to keep doing the amazing things he
is doing.

Respectfully,
Peter R. Hess




 Exhibit A - Page 168
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein


Dear Judge Woodlock,
My uncle David Schottenstein has been very close to me my whole life and has played a critical
supporting role. I grew up in Montreal with my parents and five siblings,




It is at these times that my dear uncle David stepped in to help support our family, playing a big
role in my upbringing and being not only an uncle to me but a dear and close friend. When I
was ten years old, I was discovered to be musically talented. I loved playing piano. My father
was very supportive of my playing,
                                      he could not afford the piano lessons. My dear uncle
stepped in and, despite all difficulties, bought me a piano and paid for the lessons. He believed
that my talent needs to develop                                       He believed in me. I was
called a child music prodigy thanks to my uncle David believing in me. When I started to
perform, he got his friend to donate a grand piano to David and Eda Schottenstein Community
Centre, where I gave many solo performances as well as playing with the Centre’s Orchestra.
I was accepted into McGill University's Faculty of Music at the age of 16 (the youngest person in
their recent history). I won the first prize Piano competition playing as a Soloist with the McGill
symphony orchestra of 50 people. In the spring, I graduated with a Bachelor of Music degree
with great distinction, and now I am doing my Master of Piano performance degree. This would
never have been able to happen if it was not for the dedication and personal involvement of my
dear uncle David Schottenstein.
I got married in May. Kayla and I are having a great start to our new lives together. We are both
full-time students, and living expenses are high. We are getting some bursaries and surviving
though our uncle David told us that if we ever need help financially or in any other way, he is
there for us.
I love music, but I don't know how this music career will work out for us financially. So, David
made a connection with his friend who is in the music industry to help me once I graduate.




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David is so involved in our lives, and my wife and I rely on him so much. It would be totally
devastating not to have him by our side for myself, my wife, my siblings, and my parents.
Thank you for your time and consideration.

Respectfully,
Pinchas Antal




 Exhibit A - Page 170
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Rafael Gutnick. I am married to David’s youngest sister. We live in New York and
have been married for almost ten years. I am aware that David is being sentenced in regard to a
federal crime, and I am writing this letter on his behalf because he is worthy of my support
despite this fact.

I’m sure you have read many stories about David’s incredible generosity and kindness, which
my wife and I have been the recipients of many times; however, I wanted to write about my
perspective as an outsider marrying into the family and of David’s role in the family dynamic.

I was born in Australia to a large family, with many of my siblings living in different parts of the
world. We are rarely ever able to spend time together. One thing that always stood out to me
when I married into the family is how David always ensured the whole family got together as
often as possible. He made it his mission, even though he was extremely busy and could have
been doing other things, to get everyone together for all the holidays and as often as possible. It
struck me how close David was with each of his family members and how important they
each were to him. No matter what he is involved in, he is clearly happiest when he is with
family.

Just as David always brings everyone together, the family cannot fathom being without him. He
is so incredibly close with his kids and all his family members. He is not just a mentor that we
look up to, but he is intimately involved in every detail of our lives. He ensures everyone has
what they need, guides and helps us in our personal and business lives, and makes it a priority to
see our kids and us whenever he is in town, even if it’s just for business.

I remember noticing that on business trips, when most of his other partners or colleagues would
stay for extra days or weekends for leisure, David couldn’t bear being away from his family and
would leave as soon as possible to get back to them. A lot of times, he wouldn’t even stay the
night so that he could get back. I have been in the family for almost ten years, and this
hasn't changed since day one.

As a family, we saw how incredibly difficult it was for David to disappoint everyone,
especially as someone who we look up to and who is so close to us. We have seen him go
through hell and back and suffer private and public humiliation. We have also seen David take
full responsibility for his actions and have witnessed his absolute, sincere regret for what he did.
He has proven to us his deep remorse and has done real work on himself, and would clearly
never do anything like this again.



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Your honor, please show compassion and mercy in regard to his sentence. His family needs him
to keep them together. His community needs him for all his support and good deeds. He is so
involved and irreplaceable to our family and community that it is unimaginable what it would be
like without him for even one day. Please let him stay with his family for our sake and for his.
He has absolutely learned his lesson already, and I really fear what would happen if he were
away from his family.

Respectfully,

Rafael Gutnick




 Exhibit A - Page 172
January 2, 2023                                                       Raizy Schottenstein




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,


My name is Raizy Schottenstein, and I am David’s sister-in-law. I have been married to David’s
older brother for almost 17 years. I know it may not be surprising that, as a member of David’s
immediate family, I have tremendous things to say about David. However, considering how he
has impacted my life personally over the last six years, I am eager for the opportunity to share
with you my thoughts on the kind of person David is.

About seven years ago, my husband and I went through a very challenging time in our business,
to the point where we were unable to sustain our business or ourselves. To say we were in crisis
is an understatement.




                                                    . As I knew he would, David showed up to us
in a way that is truly hard to even put down in words.

David works very hard and is financially very successful. Therefore it is not surprising that he
showed up for us financially. Many people in David’s position can be very charitable. This is
special but not unique. However, the way David showed up for us financially was staggering.




                                                                     He wanted us to know we
were not alone and did not need to carry this burden ourselves.




                        One time he came to stay with us for a night while he was in town for




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business (we were living in LA at the time). He took us out to dinner and tried to laugh and
cheer us up, especially my husband. He left the next morning at the crack of dawn, but we woke
up to a handwritten note on a paper towel to my husband with words of love and
encouragement. We still have this note today.

There are many, many more personal stories I can share that speak to the generosity
and sincere kindness we received and still receive from David, and they could fill a book.

Today, thanks to David, both my husband and myself have very fulfilling and successful
careers. David was very determined to get us back on our feet, both financially and emotionally.
We, as a family, healed, grew, and moved forward. Thank G-d we had another child who brings
us so much joy. We live near David and his incredible wife, Eda, and raise our children
together.

The gratitude we feel for what David did for us, does for us, is overwhelming. There are no
words. He saved us. There are kind and generous people in this world, and then there is David,
a giant of a man from the inside out. There is no doubt that he made a mistake here, and no one
knows that more than he himself. Please have mercy on David and let all the good he has done
and continues to do in this world weigh in his favor.

Thank you for your time and your consideration!

Raizy Schottenstein




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                  CHABAD JEWISH CENTER
               RABBINICAL ACADEMY OF VENICE
                    JEWISH OUTREACH PROGRAMS DAILY MINYANIM         LECTURES KOSHER RESTAURANT
                        KOSHER SUPPLIES   SHABBAT HOSPITALITY   YESHIVA KOSHER BAKERY & PIZZERIA




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

      Re: David Schottenstein

Dear Judge Woodlock,


My wife and I have been running the Jewish community in Venice, Italy, for over 30
years. Amongst our many activities is a rabbinical school that trains young men to
become rabbis. Back in 2002, we had the pleasure (later, we realized it was an honor)
of counting David Schottenstein among our students. David has since been not only a
friend but a supporter, and even though far away physically, an active member of our
community spirit.

In addition to Venice being a very important historical city, it is also home to the first
ghetto in the world. This is precisely where our community resides, and our endeavors
have been to preserve and revive the Ghetto in Venice with its centuries-old
synagogues, arts, and unique rich history. David set in motion many of these efforts that
helped this historically significant area of Venice flourish and were always there to help
and encourage us during the last 25 years.

In 2019, just before corona made it hard for everybody, our challenges started with the
most catastrophic flood in Venice’s history. The property was damaged, tourism came
to a complete stop, and our work and dreams came to a halt. Quitting seemed like the
only solution. From thousands of miles away, it was David who came to our rescue.
After seeing the devastation in Venice from the floods in the news, he called and
encouraged us that quitting was not an option. He helped us face the difficult situation
head-on, enabling us to do the hard work necessary to save one of the most beautiful
and popular places for people from all over the world to come and learn about. He
pushed us to make a fundraising campaign in which he personally matched every
donation we received from the public and got others involved in his initiative as well.

Throughout the campaign, he would call and remind us of the importance of maintaining
our part of such an important city. In this cultural center, so much art, music, and
architectural influence began. David encouraged us to continue, showing us that there
is a light at the end of the tunnel. His help has allowed tens of thousands of people to be


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able to discover and enjoy the arts, beauty, and architecture of one of the most unique
parts of Italy, truly unlike anything else in the world.

This is just one example of his supportive attitude and selfless devotion toward our
community, and we know firsthand many other communities, institutions, and individuals
that say the same about his guidance, unwavering support, and sincere desire to help
throughout the world.

We have known David, his wife Eda, and his growing family of young children for so
many years and are asking for your compassion. We are aware of the crime that David
has taken full responsibility for, and in light of everything we know about him. He is
worthy of our support. We’ve seen his compassion and humility countless times by his
supporting and encouraging people, helping them start new businesses, pushing for
growth, brainstorming to help people get through their challenges, guiding them to start
anew, and helping them realize their dreams when they had no other hope.

David is an asset providing irreplaceable benefit to those who know him, as well as to
countless others he doesn’t know, who he has humbly helped through his generous and
kind actions.

Respectfully yours,

Rabbi Ramy and Shachar Banin




 Exhibit A - Page 176
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,




My name is Randy Diamond. I am a 65 yr old businessman, born, raised, and living in Cleveland,
Ohio. I am a well-known and respected businessman. I have a wife, Julie, of 40 years and four
grown children, and two grandchildren. I have been an active member of the Cleveland
community since 1980. I have been honored twice in large community events for my public
service in philanthropic endeavors.

My relationship with David Schottenstein began in 2005. I was up until this time, after my father
Norman Diamond retired, the president of a 32-store chain of men's stores named Diamond's
Men's Stores, well known and respected throughout the state and in the industry. However, due
to changes in the marketplace, we were forced to close our stores that year. I was now out of
work with four young children and no place where to turn, and two mortgages on my home. I
was introduced to David Schottenstein through a mutual relative. I learned that he had just
started up a men's custom clothing business where I could have a chance, at 47 years old, to try
and make a new start.

David, only 22 years old, understood my predicament, though he never embarrassed me to
acknowledge my dire situation. Within a short time, David brought me down to see him in
Columbus, Ohio. He encouraged me, provided a great deal of much-needed confidence, and
assured me that with his support, I could start anew. And while my Diamond's business became
non-existent, and my former friends and business contacts quite rapidly disappeared, David was
always available to pick up my phone calls with words of support and encouragement, which in
those days meant a great deal to me.

After a short amount of time, with David's support in numerous ways, I was able to build a new
business and get back onto my feet. I am eternally grateful to David for all that he did, and I owe
a great deal to him. From my own relationship with David and as I observed his success since
his early years, I have watched as he has grown to be an exceptional individual in countless
ways. David is an individual who has sought only to leverage his successes in business for the
betterment of his community and the world at large. At a relatively young age of 39, he enjoys a
national reputation for his generous philanthropy, both as a leader and inspirer of others, as well
as being an immensely generous donor. Having spoken to David during the past year, I know
that he profoundly regrets what he has done in these financial matters. I have no doubt
whatsoever that he would never, ever commit any further improprieties.




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David is an individual, more than few people I have ever met, who has a rare ability both to
assist and inspire many others in need, as I know from my personal experience. I believe his
value would be greatest if he were allowed to be able to continue in his work to support and
assist others philanthropically And possibly, from the outside, to speak with and assist others
who have committed financial wrongdoings to transition and mainstream back to communal
life.
All the best,

Randy and Julie Diamond




 Exhibit A - Page 178
Dear Judge Woodlock,

My name is Remington Franklin. I am 38 years of age, from Los Angeles, California, and am
single. David Schottenstein is more than a friend and business partner to me. He is my brother.
His family is my family, his kids are my nieces and nephew, and I love him and them dearly. It
didn’t start that way, though.

David and I worked on our first brand together. It was called Privé Revaux, and to say it was a
complicated working relationship would be a grand understatement. Frankly, we hated each
other. We were like oil and water, never to mix. But over the course of time, understanding and
lots and lots of open and honest conversations we met each other halfway and have become
the best of business partners and friends. His honesty, trust, faith, work ethic, and creativity are
infectious, something that, if bottled, would be the best-selling product on the market. Looking
back on that time six years ago, I smile with a whole heart, thinking about how far we have
come and how much he has grown as a human, a husband, a father, a member of the
community, and as a friend.

The impact that David has had on my life is something that I cannot put into words. I wasn’t
raised in a family where we spent a lot of time together, I was raised essentially by my sister
until I was shipped off to school out of town (due to behavioral issues) so I found my comfort
and family in my friends. Though I was born Jewish, I was not raised that way and never really
cared about religion. David single-handedly changed both things in my life, and his effect has
been profound. I have family, mine, but I am blessed to have the Schottenstein family, who
have welcomed me in like a long-lost brother. Attending all my new large families' weddings
and celebrations has been taxing, but it is worth every moment to have the support and love
they gave me, something that I would never have imagined when David and I met years ago.
Since David brought me back into Judaism, I have gotten very involved with helping to protect
and maintain the safety and lives of Jews across the US. When anti-Semitic attacks and
incidents spiked and broke out in LA (and around other parts of the country) at David’s urging
and with his help I organized groups in LA and other cities to escort identifiably Orthodox Jews
to and from synagogues on Shabbat and assist them when needed, something that would have
never happened had David not cared enough to bring me back and educate me. But it’s not just
limited to me; he cares about others deeply from all walks of life. I recently sat by and watched,
amazed, while David got up and left a movie we were all watching to take a phone call with a
gentleman who was homeless whom he was mentoring. The gentleman, Reggie, was suffering
from severe depression because he couldn’t get access to his medical records which was
preventing him from getting an important surgery. David spent half an hour on the phone at
night calming him down and talking him through it making sure he knew that somebody
actually cared. Ultimately David ensured he got the medical records he needed and the surgery
and ended up helping him rent him a place. He never discussed it with anyone, never asked for
praise, and never discussed it with me until I asked. He wasn’t looking for praise from anyone;
just doing the right thing for a human being who was in need. In today’s environment of
“everything has to be on social media” people would post about how amazing they are for
doing something like that. Instead, he silently works to make people’s lives better. Another



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example of many, David suggested that since I was staying in LA for the Holidays I host a
Christmas dinner for those who don’t have a place to go. Since I’m Jewish, we don’t celebrate,
but I can provide a space and meal for others. He quietly sponsored the entire thing for 50
people. No asks, no notices, no fancy sponsorship credit, just doing the right thing for people
who can’t make it home or have nowhere to go, from different faiths, most of whom don’t look
anything like he does, from all walks of life. That is the kind of man David is.

I can’t speak to his actions regarding this case. They were clearly wrong and he has very much
accepted that with no excuses or equivocations. The pain, the suffering I have watched him
endure over the last 18 months has been extremely difficult to see. The way some in his
community have treated him for admitting his guilt and being open and honest has been
painful to watch. He is living in a prison that I would never wish upon the worst of humans. But
he keeps going, loving, and taking care of others. He puts on a brave face even though he’s
been asked not to attend synagogue on specific days because another party doesn’t want him
there. You can learn a lot about people, about who they really are, during times like this, and I
can say with certainty that because of this experience he has become stronger, more loving,
more sensitive and more caring than he already was (which is saying A LOT because he was
already tremendous in all of those regards). I lost one of my dearest friends, Heath, in the
middle of this. David flew me out to his home and made sure I was strong enough to survive;
knowing I was spiraling in pain and suffering, he and his family dropped everything to give me
love and support I couldn’t get from my own blood all while they were dealing with their own
pain and misery.

If David were to be sent away for any length of time, the punishment would be greater on those
he helps, loves, cares for, and works with. So many of us, from his own family and far beyond
would suffer. David is not only an employer of many great humans but also their greatest
champion and protector.

Eda needs her best friend and husband with her. All 4 of these amazing children need their dad
and biggest fan present in their lives

          For me personally, business would go on, life would go on and I’d have a lot more work
to do and shoes to fill, but mentally and emotionally it would destroy me. It's unimaginable to
finally find a family, to finally be loved unconditionally, to be reminded that I am good enough
to receive love, that I am valued, that the right one will come into my life, and that eventually I
too will be a dad, a husband and grow a family.. and then for him to be taken away from me
would just be too painful. I need my greatest confidant, I need my brother. I’ve lost enough of
them over the course of my young life. He has filled a gaping hole in my broken heart, that is
the healing and love he provided for me. This letter was originally seven pages, I cried every
time I had to cut portions out and reread it. I don’t usually cry, but I cried every time. Please
Your Honor, please see this amazing human being for who he really is and what he has done for
so many. Please know that he has suffered and been punished horribly and please don’t take
away the greatest friend I’ve ever had.




 Exhibit A - Page 180
Remington Franklin




 Exhibit A - Page 181
   Judge Douglas P. Woodlock
   John Joseph Moakley U.S. Courthouse
   1 Courthouse Way, Suite 2300
   Boston, Massachusetts 02210
   Courtroom 1, 3rd floor

            Re: David Schottenstein


   Dear Judge Woodlock,


   My name is Ruth Kirschenbaum. I am the Director of Bikur Cholim of Crown Heights. This
   volunteer-based non-profit organization provides support for the needs of the medically
   distressed in the Crown Heights community. My husband is related to Daveed Schottenstein. I
   am writing to you to request compassion in his sentencing.

   For a long time, I knew David only in a family context. Though he lived many states away, first in
   Ohio and later in Florida, we saw him in NY quite often as he would never miss a family
   gathering or an opportunity to visit his elderly grandmother. David was famously magnanimous.
   He invited us and everyone in the extended family to visit him. He always treated his guest like
   royalty. We got married and started our families around the same time. I have been able to
   watch his family grow. My oldest child is 19, he is 18. We both have three daughters and one
   son. I can say with certainty that David is a most devoted and doting father. Despite all his
   business commitments and obligations, he was always present for his children. He also was an
   extremely supportive husband to his wife, Eda. They got married very young, shortly after high
   school, and since then he has encouraged her and supported her to pursue a graduate degree
   and career. She often speaks of how important his support and encouragement were to her
   success. It’s rare to see such a glamorous couple who live such a busy life be so devoted to each
   other. I believe that taking David away from his wife and children, for even a short period of
   time, would be absolutely devastating to everyone involved: to the children who rely on their
   father for everything, to Eda, who has never been apart from him in her entire adult life, and
   most of all to David, whose identity is foremost built on being a family man.

   When I joined the Board of Bikur Cholim of Crown Heights, I began to see an entirely different
   side to David. It all started when we were helping a family in Brooklyn through a particularly
   rough situation—they had three children under three years old, and the oldest had been
   diagnosed with terminal cancer. The family refused to accept her grim diagnosis and threw all
   their resources into experimental treatments, clinical trials, and whatever else could give them
   hope. Neither parent was able to work while they cared for the patient as well as the two
   younger children. Having expended all their savings, they had reached a point of not being able




Exhibit A - Page 182
Exhibit A - Page 183
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Ruth Minkowitz, I have known David Schottestein even before he married my good
friend Eda Sirota, but since their marriage, we have become very close even though we live far
from each other.

I am from Milan, and now I live in Rome with my second husband and our children. During a
very difficult and intense moment in my life when I was going through a very tough divorce from
my first husband and living in Paris, David never ceased to surprise me, and how kind and
caring he was. We had gotten closer because his wife was my close friend, yet he cared for my
children and me and our wellbeing.

David is used to having people reaching out to him and asking for help and support, his
generosity is known all over the world, but those little gestures that came from him to my family
without us even asking him for help made me really believe in what a special person he is.
A person like David is always involved with so many different projects yet he always has time to
listen, advise, help, and support.

Eda and David have a beautiful family and four serious and good children (thank G-d).
David has admitted to making a bad decision due to poor judgment, and he regrets it, but
please, when deciding the fate of David, understand that this is a good man and a gentle soul
and would never ever repeat this error.

David, with his family, brings light to our world and society. Please don't take it away.
Thank you for taking the time to read.

Ruth Minkowitz




 Exhibit A - Page 184
January 11, 2023                                                            Ruthy & Eli Ginsburg


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor


         Re: David Schottenstein


Dear Judge Woodlock,


We write to you as a couple, parents, community neighbors, friends, former classmates, and
mostly one of the many benefactors of the kindness and unconditional love given by David &
Eda Schottenstein.


David & Eda have and continue to be the first to step up to the plate when there’s an ability for
them to be supportive or helpful whenever there’s a need in our community or even in
communities elsewhere.




                        .


We would like to outline just a few of the amazing things David & Eda have done for us on a
personal level, but by no means is this a complete or even a quarter of the amazing acts of
generosity & kindness done by both of them to us.


David & Eda were the ones who answered our call and immediately made all the necessary
arrangements to get our daughter into a local orthodox Jewish school without any hesitation, as
she was coming from a public school with an IEP. It was nothing short of a totally selfless act,
with only our daughter's spiritual growth as the primary focus. This was followed by doing
everything needed to arrange for her to go to the Jewish summer camp in NY called Gan
Yisroel.




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David has financially assisted us with covering our school tuition obligations on more than one
occasion and has always been so giving for as long as we’ve known him and always with a
smile, so we never have to feel bad.


Whenever we need to borrow warmer clothing, David & Eda are the first to give their own
clothing, I’m actually wearing David’s sweater he received from Eda as a gift and only wore it
once before lending it to me for a family trip.


There is so much more we can write as Eda & Ruthy grew up together in Montreal as
classmates and have known each other and have been friends since early childhood almost 40
years ago. We have lived in the same community for almost ten years now.


David has not just accepted responsibility for his actions and decisions. He has gone further
than just accepting his wrongdoing and has publicly acknowledged it and become more active in
his personal spiritual soul searching and extended himself to make amends for all his
wrongdoings and bad judgment calls.


Knowing the family and each of the children, Ari, Nina, Aliya & Riva, we kindly & respectfully ask




David is always a go-to contact when there is a public or private need in our personal life and
community. We know that this will not change, and their kindness & giving will, with God’s help,
continue and grow.


PS this is the first letter we have ever written about this kind of situation.




Ruthy & Eli Ginsburg
Surfside FL 33154




 Exhibit A - Page 186
January 24, 2023                                                           Sandra L Caplin


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

I know that you must be inundated with a myriad of letters, notes, and missives describing the
wondrous ways that David Schottenstein enhances the way G-D wants the world to work.

I am not a special person in that I am just an ordinary widow who G-D gifted to meet this
extraordinary gentleman.

And gentleman he is. Not too many people know of his ability to bring light, joy, and caring, no
matter what is happening in the over-extension of his many talents.

Sustenance and welfare are not confined to his family, immediate and massively extended, but
to so many different kinds of people that come into the huge purview of his heart.




                                                                                    .




                                                                           .




Magic! But not only that.




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As simple as the saying goes: “two wrongs don’t make a right,” but surely each of G-D's
creatures deserves an examination of the whole of his being.

That being so, with your esteemed knowledge, experience, and G-d-given ability to discern what
is truly fair…. could you, would you, please look kindly at the total David Schottenstein, the
inside, the outside, the inner workings of his massive ability to help his fellow human beings, of
all colors, creeds, religions, nations and just simple people like me!

I know I tend to use ten words when two will do. Still, I would gladly write a thesis if it would help
the scales of justice come to rest. I hope you can show benevolence and mercy to a man truly
deserving of such; by allowing David to continue to live his life as the revamped man, he has
become because of the mistakes made, which now will allow him to pursue his life in the true
way he is meant to!

Respectfully,

Sandra L Caplin




 Exhibit A - Page 188
January 20, 2023                                                                   Sarah Deitsch

Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

I am writing this letter to describe to you a bit about David Schottenstein and the great impact he
has had on my life and the lives of our children and our organization. There is so much to say, I
don’t know where to begin. My husband and I are the directors of the Chabad House at The
Ohio State University, and we have been working here for 26 years. As we were new to
Columbus and David a native, David welcomed us and helped us adjust to the new
environment. When we began our work here, David was still in his teenage years, yet even back
then, he donated to our organization. He then married and had children here in Columbus, and
his family helped our children to acclimate to the Jewish community is that we live on campus
and were quite far from the Jewish community. As the years went on, David became someone
we could rely on for support and help to navigate the challenges.

As our children grew older and tuition became very difficult for us to cover, David stepped in and
began to pay for our children’s studies in different yeshivahs in the United States. He was
always involved in their education, checking in to see how my children were progressing in
school and always asking if there was anything he could do to help in the process. He really
cared about each of my seven children. Until today we owe our children’s Jewish education to
David. In addition to all of the above and even more impactful than the monetary help, came the
support we received from David when there was an internal struggle in our organization. David
saved us from losing our jobs. He vouched for us and spearheaded a committee in support of
our work and efforts. He attended meetings with many of the heads of Chabad International,
traveled from Florida to visit us in Columbus to make sure that we were managing, and always
checked in on our well-being.

In the long run, David’s hard work, intimate involvement, and ceaseless dedication to the cause
we work for saved my family from losing our positions and livelihood. David helped us with love,
care, and sensitivity and encouraged us to stand up for what is right.




All of this was taking place while David was caring for his growing family, and I know he is an
excellent husband and father. I have seen it with my own eyes. It is enviable. I know his wife
and children, and he is a role model of a loving caretaker, educator, mentor, and provider. David
is a stalwart supporter of important and meaningful causes, projects that are improving the lives



 Exhibit A - Page 189
of hundreds of thousands of people. He gives his all, personally and professionally. He serves
on the executive board of our organization, among many others. He is always encouraging us to
do more for Jewish college students, believing strongly in Jewish education and the
engagement of the next generation. He continues to lead us in all that we do because he has a
passion for our cause.

Currently, we are in the process of building a large building for our organization, and David has
been a guiding star every step of the way, monetarily and professionally, constantly advising us
on how to take the next step. David was involved in the very beginning of the plan. We consult
with him on the design, the renderings, the architectural planning, the necessary square
footage, and the permitting process. He didn’t just pledge a large amount but actually invests
hours upon hours in the realistic creation of this edifice. We go to David for his expertise on the
best options for building materials, space-saving ideas, synagogue furniture, and many creative
ideas in the building that students would appreciate. His involvement is a testament to how
much he cares about the success of this project and the future of Judaism at OSU.

The reason I mention this is that I realize how deeply he cares about how this structure will
impact the people who use it every day, the students who will benefit from it, and how it will
impact the environment, akin to a piece of public art. I believe it is extremely rare that someone
gets so personally invested in a building and how it will look and impact society, whereas he can
just write a check and walk away, but he doesn’t. He remains involved and takes the time to
speak up and create something truly monumental. Many philanthropists give monetarily, but
very rarely do they connect with the day-to-day planning every step of the way. This is David.
He is unique. We do not have anyone else on our committee who is this hands-on and
concerned with every detail! I know firsthand that he is involved with other building projects on
the same personal level. His leadership in this process is integral to the success of this project,
and he plays an indispensable role in the implementation of our plans. He oversees it as though
it is HIS building. His vision for a large Jewish presence at OSU is driven by his belief in positive
Jewish growth and continuity.

Without David, we cannot continue this gargantuan project. We need him for the development of
this undertaking. He is at the forefront of planning and implementing our goals. David gives
hours of his time consulting with us. He gives his financial support, his advice, and wisdom. I do
not know anyone else who dedicates so much time and energy to positively changing the world
for the better. I know I am not alone in appreciating the depths of what David has done for
families, widows, orphans, and organizations all over the world. The world needs David’s help
and his family most of all. I am humbly begging you to have mercy on David. Separating him
from his family would be detrimental to his wife and children. Tearing him away from the
community will have dire results for all those who count on David for his friendship, guidance,
support, love, and encouragement. My family, among thousands of others, have been touched
by David’s presence in their lives. Knowing David in the capacity of father and husband, I
cannot fathom the loss that his wife and children would feel if he was separated from them.
Please judge him with kindness.

Sincerely,



 Exhibit A - Page 190
Sarah Deitsch

Program Director, OSU Chabad




 Exhibit A - Page 191
                                                                         Sarah Dukes
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein



Dear Judge Woodlock,




One of the main things that stand out to me during every visit is David's complete dedication
and devotion to his children. He is so proud of them and makes sure to express it to them very
often. He truly believes in each one of them and their dreams and helps guide them in how to
make their visions become a reality. He shows them how one can create opportunities for



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themselves and educates them on how to make good choices and smart decisions. For
example, when David's daughter wanted to start her own baking company, David took her to
visit different bakeries to see how they were run, so she could learn visibly and make calculated
and responsible decisions when starting her own company.

But it's not only this type of hands-on parenting and loving relationships that allow children to
feel secure and thrive in the world. It's also how they see their parents respond to conflict,
disappointments, and uncomfortable and humiliating situations.

Children watch closely how their parents respond- will they get defensive and reactive, or will
they take accountability and responsibility for their actions? And this is what will shape the
children's future. This is what will teach them how to handle life's difficulties and challenges.

After the sin of Adam and Eve, we read how they were ashamed and went to hide. The Bible
goes on to say that G-d asks them, "Where are you?" G-d should have focused on something
other than the sin that was committed. He didn't ask them, "What did you do?!?" because to G-
d, what held even more weight was how Adam and Eve were going to respond to their faulty
actions. G-d was giving them a chance to take responsibility and acknowledge the role they
played in the sin, and it wasn't until they each shifted the blame- Adam to Eve and Eve to the
snake- that G-d deemed them for punishment.

Throughout this legal process, David has responded in the most responsible, respectful, and
dignified manner. He has been cooperative, acknowledged his wrongdoings, taken
responsibility, and vowed to never do it again. His remorse is genuine and sincere, and from
everything that I have seen and know, David is a person that stands by his word.

The humility, maturity, and awareness displayed by David in the heat of their challenges is a
testament to his character traits and his commitment to do the right thing. The fact that he can
continue educating his children on what it means to live a life with integrity while going through
everything he is going through right now is admirable and respectable.

I, unfortunately, see firsthand the indescribable and horrific pain and brokenness that children
experience when their father is taken away from them. Their entire lives and everything in it
come crashing down. I've needed to help my own children somehow learn that they can still
trust even when they feel so betrayed. It is still good and kind in the world, even amongst
chaos. David is a truly wonderful father, and his children still need him in their lives.




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Knowing David and his family, and the deep love they have for each other, for individuals, and
for communities at large, I hope with all my heart that the judge will have compassion on this
man and his beautiful family, sees that he has truly understood the severity of his wrongdoings
and has repented for his actions, and respond with sensitivity and kindness in a revealed way.

Thank you so much for your time,

Sarah Dukes




 Exhibit A - Page 194
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,
My name is Shaina Schochet. I am a wife, mother of four, and I work in the greater South
Florida area as a CPA, servicing many members of the Jewish community, particularly those
involved in community outreach and nonprofit endeavors. For the past 2 years, I have been
doing accounting work for several of Mr. Schottenstein’s businesses.
I am aware that he is being sentenced with respect to a federal crime, and am writing this letter
on his behalf because I know he is worthy of my support despite this fact.
Some of my duties include helping fulfill charitable grant requests that come to Mr.
Schottenstein. In this capacity, I have seen hundreds of organizations and individual people that
he has helped personally and via his family’s charitable foundation, on an almost daily basis.
Whenever an email comes in, or someone personally encounters Mr. Schottenstein with a
request for his support, he responds with kindness and warmth, and gives with open arms. He
tries to respond in literally minutes, and never makes them feel “less than” for coming to him. I
have yet to see him reject a request for help, and am impressed with the way that he treats those
in need with compassion, almost as though they are doing him a favor by allowing him to help.
In my line of work, I have encountered many individuals who give for the public
acknowledgment or tax deductions, and I can wholeheartedly say that Mr. Schottenstein is not
one of those people. He demonstrates on a daily basis his commitment to helping those less
fortunate, and clearly believes that it is not just a responsibility but a privilege to give to others.
He has consistently treated me and his other business acquaintances with respect and patience,
and I have seen how he endeavors to behave in a way that truly aligns with his values.
I am also acquainted with his wife, Edith, and his four beautiful children. I have seen how he
puts his family before everything, and I so clearly see how they depend on him on a daily basis
for emotional support, love, and companionship. I cannot imagine a greater act of compassion
than allowing Mr. Schottenstein’s family to stay together, nor a greater act of justice than to
allow Mr. Schottenstein to continue his work in supporting the greater community around him.


Respectfully yours,
Shaina Schochet


            Shaina Schochet CPA ⚫                   SchochetCPA@gmail.com ⚫ Ph: (754) 444-0702
     Ask me more about our other services! Incorporation ⚫ Sales tax ⚫ corporate & individual taxes ⚫ bookkeeping ⚫ QuickBooks setup ⚫
            invoicing/accounts receivable ⚫ accounts payable ⚫ financial reporting ⚫ management reports ⚫ budgeting ⚫ payroll

 Exhibit A - Page 195
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

David Schottenstein has been a personal friend of mine for over ten years. I certainly knew of
his reputation as an entrepreneur and philanthropist (the public "David") before meeting him.
Still, I did not know anything about him as a person (the private "David") until we met and began
a friendship. The private David that I know is a warm, loving, sensitive man who sees it as his
duty to be of service to others. This includes being an adoring father and devoted husband but
also extends to his attitude toward his community and even strangers.

David is a spiritual person and sees deep significance in his role as a giver. There is much that
he does behind the scenes and in an unofficial capacity that the world will never know about. He
does these things because he feels that it is right. People know about the many public causes
that he supports, but what they don't know about are the many ways that he quietly gives to
individuals and is careful to do so in a way that preserves the recipient's dignity, whether by
giving interest-free loans (which may never be paid off) or finding employment for someone in
need.

David has confided in me as a rabbi to discuss the moral ramifications of the crime he is being
sentenced for. With his permission, I am sharing some pertinent points from that conversation.




He takes full responsibility for his actions and has tried to be grateful for this terribly hard lesson.
He also wants to make things right. As I mentioned, David sees it as his duty in life to be a giver.
In that spirit, he is trying to find ways to transform this dark experience into a means of helping
others. The court, in its wisdom and mercy, will provide him a way to do that.

Respectfully,

Rabbi Shais Taub




 Exhibit A - Page 196
December 29, 2022

Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,




I am writing in reference to David Schottenstein, who will be sentenced in your court
of law. My name is Shlomo Gestetner, and I am the Dean of the Mayanot Institute of
Jewish Studies in Jerusalem, where we offer a semester abroad for college students
from around the world in Jerusalem. In addition, we host thousands of college
students from the United States through Birthright-Israel, an educational tour of Israel.

My relationship with David Schottenstein goes back over 20 years when he started
contributing to our scholarship fund to help financially challenged students study at our
school in Jerusalem. Throughout the years of our budding friendship, he has
continued to support our endeavors and many other educational and humanitarian
causes throughout the world.

Beyond David's philanthropic generosity, he and his wife Eda are exceedingly
sensitive to those individuals who are in need. One such example: David, together
with his wife Eda, contributed to our capital campaign and dedicated our
administrative offices. They decided to name the administrative offices after Rabbi
Gavriel and Rivka Holzberg, who were murdered in a terrorist attack in Mumbai, India,
in November 2008. Their simple desire was to give some type of comfort to the
grieving families of those murdered.

I have seen on many occasions where David has reached out to help an individual out
of compassion, with no ulterior agenda or gain. One example stands out in my mind. A
number of years ago, David and his family arrived in Israel for a family vacation for the
festival of Passover. With all its beauty, ritual, and camaraderie, the cost of the food
and other items for the various feasts and rituals for Passover are exceedingly
expensive. This is an extra burden for the poor, who are already stretched and trying to
make ends meet. David called me a few days before the festival and asked me if I
knew any people who are poor and in need of charity for the upcoming festival. I


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responded, "sure. Unfortunately, I know quite a few families in the Jerusalem area who
are needy". He then proceeded to ask me for a list of addresses, so he can put money
in a blank envelope and put the money anonymously under their door. It's this type of
simple, pure charity, without fanfare or agenda, that is the true DNA of David and his
wife, Eda.

David is a loving husband and father, a real family man. I have stayed at his home
and visited him and his family on many occasions. I have seen how close he is to his
children and that he is a deeply caring husband and father.

When I met with David on one of his recent trips to Israel, we had a long discussion,
and he expressed deep remorse and regret for his crime. It was a sincere regret which
I believe is a deep inner desire to make a real inner change for the future.

I am therefore respectfully requesting that the Judge and the United States court have
compassion on David and that he should not be punished with actual incarceration, as
he is a person whose family desperately needs him at home, who I believe has
sincerely regretted his crime and will never again be involved in any type of criminal
behavior. David has a track record of caring for individuals and educational and
humanitarian organizations and contributing to the good of the community and
the country. I believe he will return to this mission with even greater passion and
endeavor to correct his past crime by investing more in helping others for the good of
all the citizens of the United States.

Respectfully yours,



Shlomo Gest-fun
Rabbi Shlomo Gestetner
Dean
Mayanot Institute of Jewish
Studies Jerusalem, Israel
‫ב"ה‬




 Exhibit A - Page 198
January 10, 2023,

Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

I serve as the spiritual leader of the Bal Harbour, Bay Harbor, and Surfside communities and
founder and Chairman of the Aleph Institute for the past 42 years. I am the Rabbi and spiritual
advisor for David Schottenstein and his wonderful family for more than 12 years. I have had the
privilege of interacting with him hundreds of times for various community benefits and other
opportunities and reasons.

He has been an honored, respected, and participating member of our community, taking
leadership positions in very many projects that we have undertaken to make our community
healthier and better. Besides serving as an example in his philanthropic efforts, setting a high
standard, and being an example to so many around him, he takes a particular interest in helping
and supporting those who are the neediest and helpless. Most notably, David gave freely of his
time, support, and funds in the extraordinary case of this synagogue's support to hundreds of
people, family members, responders, and survivors of the horrific, deadly tower collapse here in
our community of Surfside.

On a regular basis, he had been a reliable go-to person when helping an orphan in need of an
educational opportunity. These struggling families did not have funds to pay their rent, utility
bills, and even food, children who need a proper educational opportunity whose parents cannot
afford tuition, and myriad other emergencies that number in the hundreds over the years. David
has been the silent angel in the background, making sure that these unfortunate circumstances
are handled with dignity and hope.




community and friends. Having worked in the prison environment for 42 years with tens of




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                                            .




I beseech Your Honor to allow compassion and empathy to be determining factors in the
sentencing process. I believe that a term of house arrest and an adequate term of supervised
release would more than serve the highest standards of justice while at the same time
preserving fundamental, humanistic values.

May Almighty God continue to grant Your Honor, strength, and wisdom to bring justice and
goodness to our world.

Respectfully,

Sholom D Lipskar




 Exhibit A - Page 200
January 23 2023                                                                   Shmully Hecht


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Shmully Hecht. I am a Rabbi and co-founder of Shabtai, a global Jewish leadership
Society based at Yale University. My wife and I have served the campus, faculty, and alumni
community since 1996 when we co-founded the Society with then Yale Law Students, Senator
Cory Booker, Harvard Professor Noah Feldman, and other students at the time. Additionally, our
family owns a local Real Estate company that helps financially support our family and local
charities.

I have known David Schottenstein for most of my adult life. I should mention that our Yale
Society has yet to receive any financial support from him. I know David simply as a friend and a
person I have admired as a successful entrepreneur, community activist, volunteer, and
philanthropist. David's charity is known to many around the world. His name is simply
synonymous with kindness and assistance.

I understand that he will soon be sentenced for a federal crime. Your Honor, there are many
kind and generous people of means roaming this planet. David is different. He is sui generis.
Over the years, I have been involved in countless humanitarian efforts way beyond Yale's
community that required extraordinary individuals to stand up when there is simply no one
courageous enough to do so. The Judeo-Christian tradition teaches us, all children of G-d, to be
present when others shy away. With respect for your time, I will mention only a few instances I
personally witnessed David's selflessness. I stress that all of them occurred way before David's
Federal indictment. There are countless others that I know, as do many others. Some are so
emotionally charged people can't talk about them.

My sister and her husband serve the Ohio State University Student body as directors of a large
community center. Times were often difficult for them, and I would reach out to my sister Sarah,
a mom of seven children who would cry on the phone, telling me how David quietly made sure
her children had money to go to school and summer camp. My sister begged me not to
publicize it as David always did things confidentially. David not only supported her family for
years but was always there for her children and extended family, the OSU students. He served
as a moral support, a shoulder to lean on emotionally, and a fellow human who cared and went
out of his way to help young and old alike.

I had a family member overseas who fell on hard times. No one was there to help when he
needed a loan desperately to keep the lights on and feed his children. David arranged for a loan




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and waited many years for repayment. No press, No fanfare. David wanted to help a family in
need. To this day we talk about how he literally kept the family off the streets.

I recall another family In New York that fell on hard times when their father was imprisoned,
leaving a wife, many children and an autistic son of special needs in dire straits. I reached out to
help this poor woman, shunned by many, for the mistakes of her husband. I sent some funds to
help the family and was told that David beat me to it. He simply called them to inquire on the
needs of the family during this tragic time, sent them a wire and notified them that he would help
the family material and emotionally. The woman would call me and tell me she would not have
had food without David's support. She told him how he would call to check in and see how the
kids were doing with no dad at home to keep them going. She cried. I cried. To this day David
knows nothing about these calls. David Schottenstein is not just "charitable". He is obsessed
with the needs of others, in most cases anonymously.




            He has publicly acknowledged his mistakes and has spent the past few months
publicly reminding others of the obligation to follow the Law and do things ethically. Despite
being ostracized by members of his local and international community, he continues to seek out
others that need a helping hand, a phone call, some love or just a simple, Hello how are you.
Ironically when I speak to him I am inspired. I know countless others that feel the same. I hope
they take the time to write to you as I did.

I beg of you to consider having David become an advocate for young people at the crossroads
who need constant reminders of the consequences of not conducting business in the highest
ethical way. David has gained the esteem of hundreds if not thousands of admirers, employees,
business associates and strangers that would benefit greatly from his message of ethics and
morality. He is a firebrand that should now become the voice of business ethics and how ones
life can be utterly upended by an error of judgement. This would be a tremendous gift to society.

I don't envy your position, Your Honor. I can however assure you that not sending David to
prison in exchange for significant community service and financial penalties would serve him,
the public and our great Country so effectively. He need not be deterred further. He recognized
what he did was wrong long before he knew there was any sort of investigation and took
remedial action immediately.




                   I hope this country and your chambers of Justice can collectively and
creatively make him the paradigm of what it means to be a better American. The way in which
he recognized his error on his own, the way in which he then dealt with that and subsequently
took ownership of his conduct and the way in which he is now using his experience to deter




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others is exemplary. If even 1% of people who break the law dealt with it and reacted the way
David has things would likely look very different in the criminal justice system. David could be
used as an example to say to others, "if you break the law and you deal with it the way David
did you will be spared incarceration". Please don't send David to prison.

As we connect with Yale students regularly and inspire them to further the cause of justice in
our Country and around the world, we seek bold and courageous Judges to look to, who perfect
an ever needy Justice system that can always use some tweaking for the good. Perhaps this
case can be one of them.

May G-d bless you, and G-d Bless America.

Rabbi Shmully Hecht
Co-founder Shabtai at Yale




 Exhibit A - Page 203
From: Jack Boger <jack.boger@yale.edu>
Date: Wed, Feb 22, 2023 at 12:19 AM
Subject: Marine veteran following up from Shabtai + prison entrepreneurship
To: <ds@schottycapital.com>


David, thank you for sharing your story with us tonight. I really appreciated your honesty and
vulnerability. It inspired me to continue finding ways to share my own experiences with the goal of
helping others, especially my fellow veterans, find peace and healing.

My journey has led me back to Judaism and your wisdom tonight helped me see how beautiful and
life-affirming our tradition is.

May G-d bless you and your family as you wait during this challenging time. I will keep you in my
prayers and look forward to our paths crossing again some day.

Shalom and Semper Fidelis

Jack aka ‫שה‬
          ֶׁ ֹ‫מ‬

PS Defy Ventures was the group I mentioned tonight and volunteered with in California. One of the
most powerful experiences of my life.

https://www.defyventures.org




 Exhibit A - Page 204
Dear Judge,

I am a first-year student at Yale Law School and had the pleasure of attending a talk that David
Schottenstein gave at Shabtai, a Jewish leadership society. I had not met David before but found
his talk to be incredibly moving.

David told us his life story candidly. He talked about growing up in Ohio, his first businesses,
and his struggles with anxiety. Above all, he stressed the importance of ethics and integrity in his
personal and professional life. He said he almost never missed a Shabbat with his family, even
on top of a grueling travel schedule. He mentioned the importance of charity and how it was a
driving motivation in his entrepreneurship.

David expressed genuine remorse for his criminal actions and is working to become a better
person. He said he is spending his time working with underserved populations—and his kids join
him, too. He said he has learned a lot and reflected on what he has done, that he has grown from
the process. And he came to Yale to warn others about how to not make the mistake he did—
how to no delude oneself and how to realize that there is no “grey” area—there is only black and
white.

Thank you for taking the time to read this letter. I hope you consider David’s growth and
commitment to doing the right thing.

--
Sarah
Yale Law School




 Exhibit A - Page 205
From: Deu, Harran <harran.deu@yale.edu>
Date: Wed, Feb 22, 2023 at 10:44 AM
Subject: Further to our talk at Shabtai
To: Ds@schottycapital.com <Ds@schottycapital.com>


Dear David,


Thank you for your insightful talk last night. It taught me lessons that will stay with me for the
rest of my life.


Kind regards,
Harran




 Exhibit A - Page 206
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein




Dear Judge Woodlock,

Please see below for four different letters written to you by young women in the post-high school
       seminary program at Jean Schottenstein Institute.




Dear Judge Woodlock,

My name is Liel Dadon. I am a student at the Jean Schottenstein Institute Seminary for girls
based in Israel. David’s contribution to the seminary made it possible for me and over 100 girls
to come to Israel and learn about our inner essence. I understand the severity of his
wrongdoings; however, his good charitable deeds show the goodness of his heart and his
morals. His actions were wrong, but it should not define the rest of his life or his family's life. You
can see his character, his philanthropy, and his support for his community and to outsiders. He
did not have to contribute and fund a girl’s seminary overseas, but he saw the desperate need.
Young Jewish girls needed a strong foundation before entering into secular society. So that they
can always have a source to go back to.
Please have mercy on David. His good deeds define who he is.

Thank you for taking the time to read this,

Liel Dadon


Dear Judge Woodlock,

My name is Miriam Haston, and I am currently in the Jean Schottenstein Institute, which he is
the founder of, and the main reason why this school can exist. He believed in it when many
people didn’t.

He had such an amazing and positive impact on me not only this year but for the rest of my life.
This seminary is so important to me because it gives me a year to work on myself personally
and not jump into real life with no tools for who I truly am or who I want to become. It’s giving me




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time for that. The school is so accepting and so ready to help each person personally, which is
so rare in the education system that I value immensely. I literally wouldn’t be who I am today if I
didn’t come here. Coming here was one of the best decisions of my life, and I wouldn’t be able
to have it as a choice were it not for David Schottenstein. He gave me a place where I feel safe
and a place where I feel that everyone truly cares to help one another, where I’m learning in
such a different light than how I learned in high school. In all my four years of high school, I
never once felt so strongly about my learning and about my school. This school is vital for future
girls to come here and have this once-in-a-lifetime experience that I’m experiencing now.
Please let David continue giving to all the organizations and institutions. It affects so many
people, including myself. His family needs him.

Thank you for taking the time to read this.

Respectfully,

Miriam Haston




Dear Judge Woodlock,

My name is Leba Goldshtein. I am a student at the Jean Schottenstein Institute seminary in
Israel. My directors had a dream to open this school. When everyone doubted them, they turned
to everyone they knew to ask for help until one man, David Schottenstein, believed in them.
David Schottenstein helped them achieve that dream. I understand that David Schottenstein is
on trial for a crime, but he deserves a chance at a lesser sentence for helping out and giving a
good boost to my seminary. For giving almost 120 girls a chance at a higher learning
opportunity. The things that have impacted my life about this seminary which David
Schottenstein helped out very much are that they give me a chance to be my true self, and they
really care about everyone’s true potential. The JSOI seminary helps girls from an ultra-
orthodox background who don’t want to go to a mainstream seminary which may be the norm in
our community, and maximize our potential in a creative way.

Respectfully,

Leba Goldshtein.




Dear Judge Woodlock,

I am Tanya Andrusier, a family friend of the Schottensteins and a student in The Jean
Schottenstein Oryah Institute, Supported by David Schottenstein. Growing up in the same




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community as the Schottensteins adds so much light and love. Their family has always been
high level, respectable and kind. Carpool, synagogue and Shabbat dinners, we feel like family.
David has always been so lighthearted, funny, and friendly. Constantly making people feel
happy and comfortable. I wasn’t even aware of the wealth that their family had because it was
so humbly and modestly approached. The kindness and generosity of him and his family has
affected so many lives and specifically now mine. I am so grateful for a school like Oryah. I am
so grateful that David and his family believed in the school's mission and made it possible
practically. This year I am gaining so much growth, positivity, character development and
refinement skills. Money used in the way the Schottensteins use it should be a lesson for the
wealthy. I look up to David and respect his moral compass and innate nature to give back. I
hope to replicate this trait of benevolence in my own life, not only in terms of charity but also
leaving every interaction with the other person feeling happy and worthy of love.
Please allow the positive force of the Schottenstein family to stay alive and intact, not disturbing
the foundation and security for their family. They, who have mastered the art of kindness, let this
not prevent more light to be added in the world.

Respectfully,

Tanya Andrusier




 Exhibit A - Page 209
    Date December 29, 2022                                      Rabbi Sholom Duchman


    Judge Douglas P. Woodlock
    John Joseph Moakley U.S. Courthouse
    1 Courthouse Way, Suite 2300
    Boston, Massachusetts 02210
    Courtroom 1, 3rd floor
    Re: David Schottenstein

   Dear Judge Woodlock,


   My name is Rabbi Sholom Duchman. I was privileged to have been appointed by the Lubavitcher
   Rebbe, Rabbi Menachem M. Schneerson, in 1978 and directed and revitalized Colel Chabad, the
   social welfare arm of the Worldwide Chabad Lubavitch movement in Israel. I have devoted my
   entire career to fulfilling this mission.

   The activities of Colel Chabad include providing thousands of indigent people each day with warm
   meals through our 23 Soup Kitchens and our 'Meals on Wheels' program, which delivers meals to
   the homebound. In addition, every month, our Blavatnik Food Bank stocks the pantries of 30,000
   families who subsist at the bottom of the socioeconomic ladder. We distribute this aid purely on
   the basis of need, with no regard to ethnic background, age, degree of religious observance, or
   affiliation.

   I am writing to you today on behalf of Mr. David Schottenstein. I have known David for almost all
   his life. I know his parents, Thomas and Lea Schottenstein, from their days in Columbus, Ohio.
   David has always been at the forefront of activism and community involvement and is a most caring
   human being.

   I often shared with David about specific families in Israel who needed food, counseling or shelter;
   he was always on the forefront eager to help and contributed generously. He inspired others to give
   generously.

   David always told me he wanted to have a Soup Kitchen to give the elderly and holocaust survivors’
   hot meals every day.




   Twelve years ago, I asked David and Eda to be Guests of Honor at our annual Awards Gala in
   New York. Although Eda was in her 9th month of pregnancy, she agreed because she felt she
   could be of service to the community and help others. It is a shame that David succumbed to a
   weakness, yet I know he regrets his conduct. Speaking as both a friend and a Rabbi, I can assure
   you that he will be careful in the future and wants to turn a new page.

   Your Honor, I plead with you to take my words into consideration when sentencing this good man.
   His lifelong philanthropy and compassion for those less fortunate stands in glaring contrast to his




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   conviction.

   Sincerely yours,




   Rabbi Sholom Duchman
   Director




Exhibit A - Page 211
Dear Judge Douglas P. Woodlock,

My name is Sholom Pinson. I am a resident of Kingston, PA, where I live with my wife and 5
children. I work in the e-commerce trade, I am involved in our community affairs and sit on the
board of our elementary school.

David Schottenstein is one of my oldest and closest friends, and I know him extremely well. I’m
writing to you begging for compassion in your decision regarding his upcoming sentencing. I am
aware that he is being sentenced in respect to a federal crime, yet I still feel that he is worthy of
my support despite this fact.

Our families have been friends for decades. I have known David personally since we were 14
years old when we went abroad for a summer camp. We quickly bonded and became
exceptionally close. I have been to his home in Columbus, OH numerous times for extended
periods, usually for one of the holidays. His family was, and continues to be, an inviting, warm
and welcome home. I have a vivid memory of feeling unwell during one of my visits, and his
parents staying up and taking care of me late into the night. Always with warmth, kindness and
a good sense of humor.

When David was in school in Brooklyn, NY he became an extended member of our family. He
was practically my roommate. When David got married and lived in Israel for a period, I visited
and stayed with him and Ida for a week. They made me feel welcome and comfortable, while
giving up one of their few rooms.

We went to school together, spent time off at each other's homes and were very connected.
We celebrate the milestones in each other's lives as well as the tough times. The bond between
us remains as strong as ever.

I say all this so that it is clear how well I know him. I know what makes him tick and what
motivates him.

He is - as is his family - one of the most generous and warm people I know. He loves to help
otters, he always has. I have seen him help countless people, in ways small and large. The
amount of times I have observed him cover a struggling person's urgent bills is many, and I have
seen him often do it with little fanfare or recognition. I am certain that amount is much higher
than I’m aware of. I have been privileged to see it with my own eyes many, many times
throughout the years.

A number of years ago, I myself hit a rough atch financially. The first person I reached out to
was of course David. He could not have been more gracious and kind. He helped me out
tremendously with a large loan. Perhaps as importantly as the funds, he spent the time and
patience to advise and help me out of my bind, which thank G-D worked.




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I have seen David make mistakes. I have also seen how he has been able to look in the mirror,
recognize his mistakes and make the necessary changes to improve. When we were in high
school, he went through a rebellious time religiously. He was testing the boundaries. After
being confronted with the reality of where this direction would lead, he put in time - many,
many hours and days - to improve and get back on track. He spoke with Rabbis and was willing
to put in the effort required.

Over the past year David has been open and remorseful about his mistakes and choices that
lead him there. His acceptance of responsibility and resolve to be better is thankfully how David
is going to work on rectifying his mistakes.

I know how important David is to his wonderful wife Ida, his kids at home, to his parents and
extended family. I also know how much he matters to his community, his friends and many
others. His care extends to a very broad and wide ranging people, myself included.

I beg with my full heart for mercy in your decision. To allow David to continue having such a
positive impact on his family, friends and community.

Respectfully yours,
Sholom Pinson




 Exhibit A - Page 213
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Sholom Rand. I have known David for a long time, more so over the last few years.
His wife is a close friend of my cousin's. Our families crossed paths on holidays when we often
both attended the same programs.




Last Passover holiday, a generous family in my community treated us to accommodations over
Passover in Florida. David and his family attended the same Passover program. As soon as
David saw us, without hesitation, he walked up to me and asked me if it was OK if he took my
kids out somewhere with his kids My children joined him and his children on an outing, and my
kids came back with huge smiles on their faces and bags full of things he had purchased for
them. This touched me in a way I don't think I can describe. My daughter was very close to her
mother, and I had not seen her smile in a long time. She also refused to let me buy her anything
(even things she needed) because she understood my financial situation. David later told me he
had to convince her to buy things because she was reluctant to accept his offer.

Watching David do this reminded me of how the measure of someone's character is so much
about what they do for people who can't repay them or reciprocate. David is one such man, and
I have yet to meet someone else like him. I urge you to have compassion and judge David
favorably for someone whose remorse is evident and who has done so much good in this world
I believe he deserves a chance to prove himself worthy of compassion in judgment.

Thank you

Shlomo Rand




 Exhibit A - Page 214
Shternie Wuensch
Licensed Marriage and Family Therapist
2999 NE 191st St. Suite 705, Aventura, FL 33180
Shterniewuensch.com – 347.215.1132

Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

December 22, 2022


Dear Judge,

I have known David Schottenstein for many years. However, he became a part of my life in
November 2016 when I married Aryeh Wuensch, David’s first cousin.

When dating my husband, who was a single parent at the time, with a 7-year-old son, Aryeh
would often tell me that he is taking Zalman, age 7, to swim at David’s, have dinner at David’s
or that he is invited to Shabbos dinner at David Schottenstein’s. I got the sense that this was a
place my soon-to-be husband felt a sense of home even though, at the time, he was living in a
small apartment, down and out, while trying to raise a young son.

When I moved to the Surfside/Bal Harbour community in December 2016, I was immediately
welcomed into the family by David. He invited us for Shabbos dinner, and made sure to always
have a kind word, a friendly face, a joke at a time when moving to a new community held lots
of challenges for me personally.

When I think of David, I think of a safe haven, a place to be where someone wants you there,
welcomes you, and somehow the worries in one’s own heart are lessened and eased. My
husband experienced this as he was recovering from his divorce prior to meeting me, and I did
as well, when I moved to this new community.

He is always trying to make another person feel welcome, to lift others up, to show someone
he sees them and cares about them, to bring people together, especially those who are hurting
or alone or forgotten. I have been personally touched by his kindness, and I have witnessed
many others who are still personally touched by his words and deeds consistently.

In December 2021, we purchased a condo in the same building as David. Since then, we have
felt even more welcome and included in his home and family.




 Exhibit A - Page 215
Shternie Wuensch
Licensed Marriage and Family Therapist
2999 NE 191st St. Suite 705, Aventura, FL 33180
Shterniewuensch.com – 347.215.1132

I am so grateful for his kindnesses and have gotten to know a man who lives with heart, caring
for others, bringing joy to others, including others, giving people time, making people feel
welcome in his home and in his life.

David is not merely efforting to be kind, to check good deeds off his list. He is one who actually
thinks of the nephew who has no family and would be alone for Shabbat if not for David’s
relentless care and diligence, that he is always at a Shabbat meal every single week.

David is the one treating a widowed Holocaust survivor who lives in our building as his very own
grandmother and family.

Over the years, I personally witnessed him in many roles, but the ones that have made an
impression on me most are what a loving and devoted husband and father he is to his wife Eda
and children Ari, Nina, Aliya, and Reva. His love, attention, kindness, and care, are truly
exemplary, and in a world where we need more husbands, fathers, and community members
who are available, interested, and committed to family and family values, such as David
Schottenstein, it would be such a tremendous loss to have one less such person as an active
and present member in our society and as a role model to us all.

In the last months, as we are witnessing David go through the challenges he is facing, I have
seen a man humbled and changed, but not in his relentlessness to think of and help others.

I personally ask and hope that the court views this man as someone who has always been a
beacon of light and kindness, a tremendous benefit to society, impacting and affecting the
inner lives of so many. I hope and pray that there will be mercy and compassion for him at this
time.

Respectfully yours,

Shternie Wuensch

Licensed Marriage and Family Therapist, LMFT 3649




 Exhibit A - Page 216
           DAVID AND EDA SCHOTTENSTEIN COMMUNITY CENTRE
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
       Re: David Schottenstein


Dear Judge Woodlock,
The David and Eda Schottenstein Community Centre of Montreal started its activities in 1973 as a Jewish Russian
Community Centre run by Rabbi Israel and Anna Sirota. Its goal was and is to integrate immigrants, mostly
refugees from the former Soviet Union and Eastern Europe, into Canadian and Quebec society. The objective is
achieved by ministering to the spiritual as well as material needs of immigrants. From the beginning, the JRCC
offered English and French language classes as well as help with job hunting, schooling for children, and helping
in all aspects of life in their new country. In 1987 the JRCC opened a synagogue and offered Shabbat and holiday
services in various rented locations.
David has been involved with the Centre since 2004 as the single largest financial contributor as well as active,
hands-on involvement in the Centre’s various activities. In 2011 at David’s urging and completely paid for by
David & Eda Schottenstein, the Jewish Russian Community finally acquired their own building (I only came to
know years later that one of the main reasons driving David to sell his company was so that he would have the
necessary funds to help us purchase the building. I am not a businessman, but I do know that is almost unheard
of.) The Centre was then named in David and his wife Eda’s honor. David was involved in creating the building
every step of the way. I have to note how extraordinary his involvement was. He participated in architectural
design meetings, worked with interior decorators, and he even helped with the permitting process. No item was
too small for David to be involved in, right down to the light fixture selection. When I asked David why he was
so insistent on being so involved, his answer really helped shine a light on who he is. David told me that this
building would be around for a lot longer than us, and it’s important that it stands the test of time and that it adds
to society. He also felt strongly that it needed to be appealing to the people who have to walk by it every day,
people that would never set foot in the building.
I was surprised and frankly quite influenced by that level of sensitivity. Lots of wealthy people have no problem
putting writing a check and putting their name on a building but seldom does someone display that level of care
and sensitivity. And it wasn’t just the outside of the building. David helped to ensure that the floor plans and
layout were superb so that not a meter of space went to waste. All of this would be very commendable and
admirable, even for someone with a lot of extra time on his hands. What makes all of this even more remarkable
is he did all of this while being incredibly busy with his highly engaged family life, his various business endeavors,
his multitude of community service activities, and the numerous other charitable organizations he is actively
engaged with.

         Exhibit A - Page 217
The JRCC became a humanitarian help center for immigrants regardless of religion, color, and creed. The JRCC
also started a food bank and furniture distribution program. It also offers Sunday school for immigrant children,
Youth programs for teenagers and young adults and Youth at risk, String Orchestra for Young Immigrant
Musicians as well as food delivery for elderly and isolated seniors and Holocaust survivors, and furniture
distribution for newcomers. David pushed us to expand the Centre’s activities to include support for local minority
communities as well. He felt that while we may be a “Jewish” center, our calling goes way beyond that, and we
continue with that approach to this very day, all at David’s urging and with his active support. The impact David
has had on countless young black men, black women, and members of other minority communities are
tremendous.
There is also a food depot of unperishable foods which is used regularly in food parcels delivered by Jewish
Russian Community Centre volunteers to the needy in crisis and in emergency situations or especially difficult
financial situations.
Thanks to David Schottenstein’s generous support, the Centre started serving vulnerable members of the Cote-
des-Neiges/Snowdon/NDG community, both Jewish and non-Jewish: hospitalized children and their families,
seniors living in residences or isolated in their own homes who welcome friendly visits, a meal, or even access
to entertainment. The teenagers and young adults who participate in this program are encouraged to develop
their own neighborhood projects and, with the guidance of the director, independently design and implement
every aspect of a wide range of creative and helpful community initiatives.

Some of the projects that the group has been part of in these past few weeks have included cooking and offering
meals to families staying in the Ronald McDonald House in the Cote-des-Neiges area; performing free Klezmer
concerts in several nursing homes and hospitals around town, and helping run the JRCC’s weekly food bank,
where they pack and regularly deliver food parcels to needy people living in the neighborhood.

Aside from the family relationship, I have a very close working relationship with him. David is an amazing
person that is always ready to help and volunteer. David lectures on a variety of business topics, including
lately discussing his own wrongdoing and how people can learn from that and never make the same bad
decisions. He spoke on this topic in such an open and honest (and humble) manner recently, and the impact his
speech had was extraordinary. He is a great mentor for people who desire to start their own business but do not
have the expertise and now adds a bevy of life lessons he has himself learned the hard way. David is always
ready to help with his expertise and practical advice.

David Schottenstein continues to play a vital role in the running of the Centre. The programs are ongoing, and
they continue to help members of the community. The only reason we are able to run those programs is
because of David's assistance and involvement. David does not only support the Centre financially, but he
also makes all the important decisions about the Centre’s operations and puts those programs forward– hiring
decisions, program decisions, and assistance to the most vulnerable people decisions. If David is not here,
we are not going to be able to continue the service we provide to the community. We have over 1000 people
who are regular users of our services. All those people are going to suffer because of the lack of services we
provide. We can not function without David Schottenstein’s involvement.

Your Honor, on behalf of over 1000 people in our community, we beg you for compassion and mercy for David
Schottenstein. Our community needs him.

Respectfully yours,

Stephen Antal
President of David and Eda Schottenstein Community Centre
5380 Bourret ave, Montreal, Quebec, Canada, H3X 1J2
         Exhibit A - Page 218
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

I am Steven Levinsky, a 70-year-old man who lives in Bal Harbour now by myself. I am a former police
officer who worked as a patrolman for the Penn Central Police Dept in NY and NJ from about 1973 till
about 1979, and I believe I am a good judge of character.
                                         attend the Shul of Bal Harbour, where I met David
Schottenstein about seven years ago, and we became friends about five years ago.




I have had financial problems off and on for many years and usually go to the shul for financial help just
to pay my bills and keep a roof over my head. About a year before covid, my financial situation became
untenable, and I was sleeping in my car more than once after not being able to pay my rent each time.
The shul and a few people would give me the three months' rent needed to get another apartment.
Since covid, I felt I had taken too much from the shul, and David found out about my hardship and
offered to give me money any time I needed it, so I’m never homeless again. He would just ask how
much I needed and GIVE it to me, no questions asked. The total was often around $3000, and he never
blinked or made me seem like I was burdening him or asking for too much. He won’t even hear about
me trying to pay him back. He has given me financial support sometimes two or three months in a row.
It would take me ¼ of a year just to earn that money. I would be on the street without his help, and he




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continues to help me to this day. He asks me regularly if I need money. I want to cry when he shows me
such unsolicited love and concern. He is a special gentle soul with a giant heart, and he cares for me like
I’m his old uncle, like I am truly a part of his family.

I recently got a new job which is very difficult for me and emotionally a roller coaster for me because
this is my first time being a phone solicitor, and my personality is not good for phone sales. The job is
progressing slowly, and I want to leave but can’t afford to. David advises me regularly with stories of
how he had to start his businesses the same way, with cold solicitation calls, and assures me if I keep up
with it, I will succeed. He keeps me focused and positive and is my business mentor. He takes my calls
any time and is instrumental in my staying with this job.


With all going on in his life, he went out and called his business connection and got me a new builder to
be my customer, which helped me grow at my job. I never asked him for this help, but after five weeks
at this job, he still solicited clients for me. I am lucky to have him helping me with customers and moral
support. It’s amazing to me how he keeps up so positively and finds time to help me with his current
tribulation. He has told me quite a few times how he regrets the whole incident and is not afraid to
speak about his transgression and how it humbled him and made him look into his life and look for ways
to become a better person, more aware of how his actions can affect or hurt others. He is truly sorry.

For me, David is one in a million. Kind and concerned for the welfare of others like myself. Not only with
words but with giving of his time and money and welcoming me into his home even though there is no
logical reason we should be so close to me and concerned about my well-being. I cannot help him in
any way, which makes him selfless in my eyes. It’s a real blessing that he is in my life.

David has also told me that if I can come up with a business plan, he would lend me the money I
needed to start my own business and hopefully become self-sufficient. I told him that my son works for
an online retailer, and David encouraged my son and me to find a business to start, and he would
finance the entire project. There was one idea I had for a business for over 25 years, but it depended on
a land owner in Australia whom I reached out to quite a few times and could never get an audience
with. It was a good plan. I was with David when he reached out to this man in Australia. David was
willing to invest 6 figures in the business and no cost to the land owner to try to get my deal done.
Unfortunately, the man did not have those acres anymore and had recently bought a large plot of land
in Tasmania for his mining operations. I further research the land, and it was unsuitable for my plan.
David showed his true colors by reaching out as he had promised and was willing to invest more money
in my project than I have earned in my entire life. What courage and faith. He does what he promises. I
am still shocked that he was willing to make such an incredible investment in me and my idea. He is
truly 1 in a million. He was going to invest in a friend and still encourages me to look for other business
opportunities.

I would be at a great loss if David had to leave the community for a while. He still helps me financially.
He is a great inspiration to me and continues to help my morale and business. I would be alone on so
many Shabbat and holidays which makes me sad. He has a beautiful family, so loving and




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understanding, and it would be a great hardship for his family and many in the community if he had to
go away. He is truly humbled and remorseful about the mistakes he had made and has told me how he
is working to become a more thoughtful and careful person who will never participate in any
questionable act again. I can't see this gentle and generous soul separated from his family. I know that
emotionally this has impacted him and is haunting me. He is a real repentant. Judge Woodlock, please
have mercy and compassion for David and his family and let him stay home.
                                                                                          Thank you for
your service, Your Honor.

Respectfully yours,

Steven Levinsky




 Exhibit A - Page 221
January 11, 2023                                                         Tamara Kichkinova




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,

My name is Tamara Kichkinova. I came to Montreal from Samarkand, Uzbekistan, with my
daughter and her family of three children. I am a widow, as my husband passed away in
Samarkand a few years before we left. Although I helped my daughter with babysitting, I did
not live with her in Samarkand.




I always attended the events at David and Eda Schottenstein Community Centre, and my
grandchildren attended Sunday school and all children's events. I met David and Eda
Schottenstein there.




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Exhibit A - Page 223
To The Honorable Judge Douglas P Woodlock,

My name is Thomas Schottenstein, and I am David Schottenstein’s father. I was born
in 1950 in Columbus, Ohio and until very recently resided there where my wife Lea
and I raised our 5 children. I work in the real estate industry. While I came from a
privileged background I took great care to raise my children believing that we were
more of a middle class family. My children believed that I worked for my younger
brother, that he owned the business and I was his employee. While my children’s
cousins went on extravagant vacations abroad we loaded our kids up in the minivan
and took them on vacation to places like Pittsburgh. I believe this is why our kids
grew up hardworking and driven with no sense of entitlement.

Thank you for taking the time to read my letter, and so many others, in support of
David. David has faced many challenges. His mother and I have been far from the
perfect parents in that we have both had our own issues to deal with. At 21, my
father suddenly died unexpectedly. This event triggered a need to impose a sense of
control and security on things in my life. I don’t know the repercussions of my issues
on David in particular, but there is no question that he has had to deal with the
fallout from my neurotic behaviors. My wife grew up in Casablanca, Morocco,
and there have been some issues with our conflicting philosophies/cultures on
raising children that certainly has been less than ideal for our children.




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positive. I have watched David do this over and over again and have most
recently watched him do this as it relates to his insider trading conviction.
Never in my wildest dreams could I have imagined how David would respond
to the present situation. The amount of good that is coming out of this
challenge is remarkable. From the work he is doing with the Chapman
Partnership and the programs he is implementing there to the speeches he is
now giving regularly to young folks at universities, business clubs, high
schools etc he seems to be writing the book on how to turn something wrong
you have done into something extraordinarily positive.


                                                                         .A
year ago, we made the difficult decision of leaving our life and home in
Columbus, Ohio, and relocate to Miami, Florida, to be closer to David. The
choice to be close to David, was in large part informed by our increasing
dependence on him. David insisted we make the move so that he could care
for his mother and I. David takes us to our doctors appointments, he ensures
on a 2X/weekly basis that our house is stocked with essentials, he even acts
as a de facto marriage counselor when my wife and I have our little blow ups
as we continue to adjust to our life as empty nesters. He cares for us in ways
that are hard to describe, often times lifting me out of a funk. He cares for his
siblings more than even my wife and I do. It hard and painful to think of what
being separated from him for even a month would be like.

Describing David as a husband and father is something that I simply can’t do
justice to through a letter alone. The way he dotes on his wife and children,
encouraging them, loving them, taking care of them and spending time with
them simply put makes me a better husband and better grandfather. Most
people have a hard time understanding how he has managed to be such a
successful entrepreneur while at the same time managing to be such a
present and doting father and husband. The idea of him being away from Eda,
Ari, Nina, Aliyah and Reeva is heartbreaking and gut wrenching. They have all
suffered so much over the past 18+ months and somehow, they have used
the pain and suffering to grow as individuals and as a family. I don’t know how
much more they can take and I fear that David having to do any time would
cause catastrophic damage to his marriage, which has already been severely
tested as a result of the last 18 months, and to his children as well.




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It is not only David’s immediate family that would suffer were David to be
incarcerated. There are countless family members, friends, charities,
organizations, and individuals who benefit from David, and even depend on
him. So many disadvantaged and needy would benefit if David were somehow
able to continue providing in the way they have become accustomed to. From
my wife and I to his siblings to Sylvia to Sandra to Lenny to all the folks at
Chapman and so on and so forth. The list just goes on and on. And so many
more stand to benefit from his ever-expanding efforts to help those in need.

I can testify that David unequivocally feels tremendous remorse for his crime. I
tried not to pile on to David’s shame when I first learned of his transgressions.
He was so disappointed in himself and full of regret. The repercussions of his
actions kept unfolding and David experienced more and more hardship and
embarrassment. One day, we were speaking, and I couldn’t help but express
my disappointment in the bad decision he had made when he committed the
transgression. He tearfully responded, “Dad, don’t you see that I know that?”
And it has been painfullly obvious to see. It has been clear that he is well
aware of the foolishness of his actions, and he regrets what he has done. He
accepts full responsibility and expresses total remorse. More than that, he has
been doing everything he can to try to make amends for what he has done
and helping to ensure others don’t make the same mistake he did.

David has experienced a serious diminution of his reputation and his standing
in the community, as well as the disappointment of his family and friends and
the consequential impact of his business standing. The good name David
established over his lifetime has been lost. David has been destroyed
watching his family suffer because of his actions. He is terrified about how the
future might continue affecting his family. I am not a judge and I can’t pretend
to know how difficult to determine whether and how to punish someone but
from my own vantage point, the punishment he has endured over the last 18
months more than fits the crime. He has paid and paid and paid for his
actions.




             I don’t know how much time I have left but I humbly beseech
Your Honor to not separate my son from me for even a day. I thank you for




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taking the time to read my letter and bless you with good health, happiness,
long life and joy.

With gratitude and appreciation,

Thomas H Schottenstein




 Exhibit A - Page 228
December 26, 2022                                                   Vladimir Khripunov




Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein



Dear Judge Woodlock,

My name is Vladimir Khripunov. I came to Canada 20 years ago from Ukraine. I was not in
touch with anyone in the community. I went to public school in Montreal and then to College
and University. I did not know about the Jewish Russian Community Centre and was not a part
of any activities. I loved sports and joined the Y sports club.

At the time, I was going to work out almost daily. One Saturday, after my workout, I looked
inside the hall upstairs and saw it was set up as a synagogue. A person invited me in. I was
very curious as I had never been to a synagogue before. I later found out that when the Jewish
Russian Community Centre did not have a building of its own, they moved from place to place in
rented facilities. One of those places was the Y. The Concert Hall was transformed into the
Jewish Russian Community Centre synagogue on Saturday and Jewish Holidays, and I felt very
welcome there.

Once, a young man about my age started talking to me. He said his name was David
Schottenstein, and he was visiting from Columbus, Ohio. We quickly became very close. Soon
after, David and Eda Schottenstein bought a building for the community called the David and
Eda Schottenstein Community Centre.

At first, I was an active participant in the Centre's activities.




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                            .




                        .




Respectfully yours,

Vladimir Khripunov




 Exhibit A - Page 230
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

My name is Yael Schottenstein-Gutnick, I am David’s youngest sister. I am married and have
one daughter, and live in Brooklyn. I am aware that my brother is being charged with a federal
crime, and I am writing this letter because I know that despite that, he is more than worthy of my
support.

Throughout my life, no matter how busy David was with work or obligations, he has always
looked out for me. The first time I went to summer camp at 10 years old, I was extremely
homesick, and while I am very close to my parents, the first person I called was David; we both
feel best when we are with our family, and I knew he would understand exactly how I was
feeling and would say just what I needed to hear. I called him every single day that Summer, and
he gave me all of his time without ever making me feel bad for it.

I was only 10 years old when David and his wife Eda had their first son Ari, and I spent most of
my time with them and my nephew who sometimes felt like a little brother. From the day Ari
was born, David and Eda set an example for how loving parents should be, and gave me a
standard that I hope to live up to for my own children; the attentiveness and care they both
constantly show each of their children—even throughout David’s busiest and most successful
times in his life—is unique and a testament to both of their characters.

In many ways, David is the glue that holds our family together. We all have busy lives and live
in different parts of the country, yet David is the one who suggests regular family get togethers
and ensures that we all meet up and spend quality time together. My parents recently moved to
Florida to be closer to David and my brother Aryeh’s families, and the new proximity to him has
improved their physical and emotional well being more than we could have imagined.

As a sister, witnessing David’s remorse in the last year and a half has been painful; he has taken
full responsibility for his actions, and knowing how upset he is with himself while not being able
to change the past is extremely difficult.

                                               The thought of David being away from his
incredible family, specifically his children, for any amount of time breaks my heart. They all
need each other equally, and their close family unit being broken in any way is inconceivable to
me.


Your honor, please show David and his family compassion and mercy in his sentence. It is
extremely clear to anyone close to him that he has already faced many consequences for his


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actions and has truly learned from them. David has a renewed mission to only add goodness to
the world; through his family, through his charity and good deeds, and he wishes to only make a
positive impact. As his sister I strongly believe that’s what he will do.

Respectfully,

Yael Schottenstein-Gutnick




 Exhibit A - Page 232
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

I am writing this letter on behalf of my friend David Schottenstein. My name is Yitzi Hurwitz, and
I am a father of 7 wonderful children.




Thankfully, I was introduced to some very special people, including David Schottenstein and his
beautiful family. He has generously given to our family and to many other families in need. He is
a very kind and generous man who truly looks out for the well-being of others.




With utmost respect,

Rabbi Yitzi Hurwitz

P.s. I am attaching an article I wrote with my eye gaze computer that I am hoping you will take
the time to consider.




 Exhibit A - Page 233
 Hug Your Loved Ones Because You
 Can
 By Yitzi Hurwitz




 Art by Sefira Lightstone


 It has been years since my arms and lips stopped working. I ache to hug and kiss my children. I

 ache to speak to them, and tell them how much I love them and how proud I am of them.



 Now more, than ever, I see the value of these things.



 In the portion of Tzav we read, “And the fire on the altar shall burn on it; it shall not go out. The

 kohen shall kindle wood upon it every morning.”



 The fire on the altar was a G‑dly fire that remained whether wood was added or not.



 What was the purpose of adding the wood? What can we learn from this?



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 Every one of us is a Holy Temple. At our spiritual center, our altar, is a G‑dly fire that can never be

 extinguished. This is our neshamah, our soul.



 One may mistakenly think, “I am a Jew at heart, isn’t that enough? I will set myself on auto-pilot.

 My current direction is good enough for me.”



 To this, the Torah says, the kohen must kindle wood every morning. You must invest your physical

 self, your possessions and your time, to develop and grow your fire every day.



 We can take a lesson from this in our own personal relationships. One may mistakenly think,

 “They know how I feel, that should be enough.” You might think, “I give them everything they want,

 that should be enough.” To this, the Torah says, “The kohen must kindle wood every morning.”



 You must constantly rekindle the spark of your relationships.



 Please, do not take your loved ones for granted! Grab the opportunity to develop your

 connections. Keep adding wood to your fires. Don’t wait for the “right moment.”



 Do it now.



 By Yitzi Hurwitz




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Exhibit A - Page 236
December 27, 2022                                                   Yosef Yitzchak Antal



Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,


My name is Yosef Yitzchak Antal. I grew up in Montreal. My mother is Masha Antal, Eda
Schottenstein's sister. I have five siblings, three brothers, and two sisters.
David Schottenstein is my uncle. I remember growing up, David was always such a great close
uncle to us. He took us for trips and outings together with his children, our cousins. He was a
kind, attentive and generous uncle. Whenever I wanted to come to visit David's family, he would
send us tickets to come and was like a father to us when we visited.




I am now studying Applied Cybersecurity at University. When I needed advice or guidance in
my life, David Schottenstein was there for me. Whenever I need the help of any kind, I know my
uncle David loves, cares for and is looking out for me. I love my uncle. He is and has been a core
part of my life.
I am writing and imploring with all my heart not to separate David from his children, my
cousins, and from us, his nieces and nephews for whom he is an irreplaceable support.


Respectfully yours,


Yosef Yitzchak Antal




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Exhibit A - Page 238
                                                                 Yossi Duchman
  Judge Douglas P. Woodlock
  John Joseph Moakley U.S. Courthouse
  1 Courthouse Way, Suite 2300
  Boston, Massachusetts 02210
  Courtroom 1, 3rd floor
  Re: David Schottenstein


  Dear Judge Woodlock,



  I am writing to request leniency for Mr. David Schottenstein, who has been a pillar
  of his communities for over 20 years. I have personally witnessed Mr.
  Schottenstein's dedication to helping those in need and his generosity towards
  numerous charitable causes. Mr. Schottenstein has been a strong supporter of
  my non-profit organization the Jewish Learning Center, in Miami Beach Florida,
  which helps poor and underprivileged families around South Florida. Our
  organization helps these families purchase much needed food and clothing for
  Jewish holidays like Passover as well as assist them with making weddings and
  Bar Mitzvahs for their children. Our organization also send children to overnight
  summer camps around the country instead of spending their summers at home,
  with nothing to do, while all their friends are away in camp. Unlike anyone I have
  ever seen do, Mr. Schottenstein, for years, has proactively reached out to me
  asking what I need for these families and numerous times closed the gap on our
  needs for these families in need. I can’t emphasize enough how rare it is for
  anyone to ask me how they can help my organization. I have been doing this for
  over 40 years and in all that time it is always I who need to call my supporters
  asking them to help contribute to these important causes. I am attaching a
  sample of the many letters I have received over the years from recipients of Mr.
  Schottenstein's generosity. Even though these letters are not addressed to him,
  in reality they should be. I believe that Mr. Schottenstein's commitment to helping
  others should be taken into consideration as you make your decision. I hope that
  you will consider granting leniency to Mr. Schottenstein, who has made such a
  positive impact on our community through his charitable efforts.



Sincerely,


Yossi  Duchman
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Miami Beach, FL
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Exhibit A - Page 251
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein

Dear Judge Woodlock,

I am a married father of five children living in Spring Valley, NY. I am the Executive Director of
Chayenu, a non for profit organization that promotes the study of Torah to the global English-
speaking Jewish communities. I am also actively involved in my local synagogue /community
center by dedicating my time to youth programs and community events.

I am writing this letter on behalf of Mr. David Schottenstein, who is being sentenced with respect
to a federal crime. Notwithstanding this, David is eminently worthy of my support and the
support of our organization.

I have known David for close to fifteen years. During this time and ongoing, David has been a
strong supporter of our work to promote and proliferate Torah study worldwide. And in working
closely with David, he has become a personal friend whom I have come to respect and admire.
In my work of building relationships with supporters of our organization, David is unique in some
respects.

For one, he has adopted and contributed towards a very high-level publishing project that will
positively impact and uplift the lives of hundreds of thousands of people worldwide. David did
this with swift and complete commitment to helping people become more committed to studying
Torah and thus becoming more connected to their true selves.

Also, something unique about David's involvement is that he "checks in" consistently and
frequently to assess how the project is progressing, what the bottlenecks are, and what he can
do to help actively move it forward. Undoubtedly, David provides critical and irreplaceable
support to our work. This level of engagement is indeed unique and, as you can imagine, is a
breath of fresh air; David shows up and helps make things happen.

On a personal level, I have had some introspective conversations with David, where he shared
with me. some of the other tremendously philanthropic ventures he is engaged in. David
sincerely desires to continue to help other organizations and individuals well into the future.
Providing David with freedom will enable him to do so.

I have witnessed a man who cares deeply about helping others, plans to continue this into the
future, and whose involvement has become integral to the success of the project he adopts.
Incarceration for David would be a net loss to many individuals and organizations.




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I respectfully ask for compassion in sentencing David so that the world can continue to benefit
from his philanthropy.

Respectfully yours,

Yossi Pels




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                           YOSSI SWERDLOV

December 7, 2022                                                         Yossi Swerdlov


Judge Douglas P.
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein




Dear Judge Woodlock,

My name is Yossi Swerdlov, and for 7 years, I was the international director of Chabad’s
Children of Chernobyl (CCOC). CCOC is an organization that evacuated close to 3000 children
who were living in the contaminated zone of Chernobyl and brought them to Israel to live
healthy lives. Once in Israel, these children were cared for in every way. CCOC provided them
with critical medical care, new homes, and an excellent education.

During my time at the organization, I had the great blessing of meeting David Schottenstein and
his wonderful wife and children.

David not only contributed financially to the organization but also encouraged others to give as
well. Furthermore, he made a point of coming with his family to visit the Chernobyl children
and see with his own eyes how they were doing. With his warm and loving personality, he was
able to connect with the children and give them encouragement and hope. He took the time to
speak with them on an individual level and inspire them to achieve greater heights.

I was able to see and witness his loving care for others. Not only in a financial way but in a
human way. His love and concern for others are evident in the way he conducts himself and in
the actions he takes to try to alleviate the pain and suffering of his fellow human beings.

On a personal note, when my family and I went thru our own tragedy with the passing of our
dear daughter, David was immediately there for us as well, trying to alleviate our pain in any
way possible. He commissioned a holy Torah scroll to be written in her memory. He secretly
provided financial assistance for therapy and counseling and found other amazing ways to
provide our emotional support and comfort.

In the time that I got to know David, I also got to meet his beautiful family. I had the
opportunity to see David as a family man. As a husband and father. I witnessed the great love
that he has for



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                           YOSSI SWERDLOV




his family and the love that they have for him in return. This is a man who needs to be with his
family.

I hope the honorable judge will find a way to find mercy for a person who has been so merciful
to others. Please have mercy on him and his family.

With much respect,

Yossi Swerdlov




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Exhibit A - Page 256
Exhibit A - Page 257
                                                                                 Zahava Tornek


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,


I am a married woman living in Brooklyn who has been impacted by Mr. David Schottenstein, even
though he does not know me. His generosity has funded many programs that have impacted my life and
others for the better. I am aware that he is being sentenced with respect to a federal crime, and I am
writing this letter because he is worthy of the support of the individuals he has impacted. Mr.
Schottenstein is known as a person who is available to those who are in need. Not just to those who
everyone sees but to those who not everyone sees.

His actions that have impacted me personally are specifically his support of educational opportunities for
all people. For example, David Schottenstein organized and funded a couples retreat. This retreat focused
on teaching couples the skills necessary for healthy communication and conflict resolution. Couples had
the opportunity to ask pressing questions to community leaders and therapists anonymously. Mr.
Schottenstein did not spare an expense on this retreat. It was hosted in a spacious mansion, and there was
an abundance of delicious, high-quality food. My husband and I came home, renewed in our marriage,
inspired to implement the new tools that we learned, and inspired to learn more.

Additionally, Mr. Schottenstein strongly supports the work of The Soul House, a community center in
New York for young men and women who may be living far from their families for education or work.
This organization hosts weekly classes, meals, and events that enrich the lives of young adults. The sense
of belonging strengthens the young adults and community and is enriched with meaning provided by
classes and workshops by prominent leaders and therapists. These tools allow young adults to strive for
more in their lives and not to feel the need to turn to unhealthy habits or groups for a sense of community
they may otherwise be seeking. As a newly married woman living in Brooklyn with no family nearby,
The Soul House has become my home and my community. For that, I am grateful to Mr. Schottenstein
and his family.

I know I am not the only one impacted by the kindness of Mr. David Schottenstein. I conclude this letter
with a plea for compassion based on the information I provided in this letter.

Respectfully yours,
Zahava Tornek




 Exhibit A - Page 258
   ZALMAN LEBOVIC




   December 8, 2022



   Judge Douglas P. Woodlock
   John Joseph Moakley U.S. Courthouse
   1 Courthouse Way, Suite 2300
   Boston, Massachusetts 02210
   Courtroom 1, 3rd floor

   Re: David Schottenstein


   Dear Judge Woodlock,


   My name is Zalman Lebovic, I am 42 years old and I am married to David Schottenstein’s first
   cousin, Esther Kirschenbaum. We have been blessed with six children and live together in
   Brooklyn, New York. I am the CFO of a real estate management firm in downtown Brooklyn,
   and have been with the company since 2005.

   I am fully aware that Mr. Schottenstein has pled guilty to a crime involving insider trading.
   However, the intent of this letter is not to condone or condemn Mr Schottenstein’s actions, but
   rather to tell you about the type of man Mr. Schottenstein is, his impact on our life, as well as
   those in my community. I want to appeal to your honor to show compassion with his upcoming
   sentence.

   I knew Mr Schottenstein growing up as we attended the same summer camps and Schools in New
   York. However, it wasn’t until my wife Esther and I married, that I really got to know and
   develop a much closer relationship with him. We married within one year of each other and both
   had our first child within a six-month span. As the timing had it, we were raising our children at
   the same time and it is this family environment that I would like to focus on.

   In June of 2009, we were blessed with our third child Hadassah. At the time, we were living in a
   small apartment in Brooklyn and were dreading the upcoming summer with three toddlers in the
   heat.
                                                                  It was a trying time in our life to
   say the least and David and his wife invited us to move in with them for the summer. Without
   any expectation of anything in return, David saw our family as his own and was able to empathize
   and know exactly what we needed. Our family spent the summer at the Schottenstein’s where
   David even organized day camp for our children. I was able to focus on my work, fly in for the
   long weekends while my family experienced a beautiful summer. Our children looked forward to
   Summers at the Schottenstein’s all year.




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   In addition to his generosity towards our family with no strings attached, I was privy to witness
   kindness on countless other occasions. There were other family and friends whom David took in
   and treated as his own, and the feeling he always conveyed was that his home was theirs. Aside
   from his financial support to so many, his way was, and still is, one where the recipients of his
   support and advice feel like an equal and he creates a sense of empowerment, kindness and
   compassion.

   Spending so much time in the Schottenstein’s home, it is so apparent what a positive father-figure
   role David played and continues to play in his children’s life. Despite his busy schedule as an
   entrepreneur, David is always home in the evenings in time for dinner with his wife and children.
   He rarely spends a night away from his family unless it is absolutely necessary. I was always in
   awe that despite marrying young and running various large corporations, David always stayed
   level headed and spent quality time with each of his children. Being in the company of his wife
   and children, you can easily feel what a dedicated husband and father David is, making his family
   his top priority.

   David does not wait; he is emotionally in tune and takes initiative to act and executes.




   My wife Esther is on the board of Bikur Cholim of Crown Heights, an organization that walks
   people through illness easing their burden in any way they can. David is always the first person
   Esther can reach out to in a crisis. As busy as he is he always takes the time to hear Esther out
   and see how he can be of help with that specific patient. Bikur Cholim is forever grateful to
   David’s time, monetary contribution, and advice he has given them over the years.

   Your honor, David’s wife and his children rely on him for daily guidance, love and emotional
   support. His children are in their most formative years and are in need of his constant presence.
   While this letter does not do justice to all those that he has helped in the past and to those that
   would lose out were he to not be available to them on a day-to-day basis, I respectfully request
   that you show mercy with Mr. Schottenstein’s sentence. Mr. Schottenstein is a giant force the
   lives of our entire family.

   Please show your compassion and ensure that his punishment will not diminish from his ability to
   be a father-figure and support to so many.

   Sincerely,
   Zalman Lebovic



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January 11, 2023                                                            Rabbi Zalman Lipskar


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein

Dear Judge Woodlock,

My name is Rabbi Zalman Lipskar, and I am the associate Rabbi at The Shul, located in
Surfside, Florida. I am writing this letter in regard to a very dear friend, parishioner, and
philanthropist, Mr. David Schottenstein. I have known Mr. Schottenstein for close to 15 years,
and I have been amazed and proud of his Growth and development as a person, family man,
and deeply spiritually connected person.

This journey that David has embarked upon since he moved to our community has been
astounding. When I first got to know him, he came off as a bit flamboyant and boisterous. He
was certainly a tenacious, hardworking businessman and entrepreneur. Ultimately, he had a
tremendous amount of insecurities due to many factors, such as his upbringing, his comparison
to others, and his low self-esteem at his core. On the outside, those that did not know him very
well would never believe that to be the case, but I knew he had this underlying feeling of
insecurity, low self-esteem, and self-worth.

Over the last several years, I have watched in awe and with pride at his complete and utter
transformative growth in every facet of his life. He has become an even more unbelievable
father to his precious children, an amazing husband to his gem of a wife, and an extremely
devoted member of our community.

Success in business is still important, but he had a paradigm shift where his ultimate goal is to
help people that are in times of need, to give them a leg up, to give them an opportunity that
they may not have without his support and most of these contributions are done in complete
anonymity.

I have personally witnessed through our communal fund, which is a restricted account set up
where we help members of the community that do not feel comfortable asking for help other
than from the rabbi, literally hundreds of occasions where we have come to David to contribute
to help people who he did not know. He did not know who he was helping and they did not know
where the help was coming from.

When thinking about compiling letters from these individuals to offer thanks and gratitude, we
decided against it, as per David's instructions. He did not want the beneficiaries and recipients
of his magnanimous contributions and open heart to know that he was the benefactor of these
grants. This is, according to Jewish law, the highest level of charity, where one gives money, not




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knowing who is being helped, and the one in need does not know who is helping him or her.
This avoids potential embarrassment and pain for the recipients, especially since these are
mostly people in the community. However, suffice it to say his contributions have been able to
put the kids through college that they otherwise would not have been able to attend. He has
paid people's rent that was going to be evicted. He has provided food and clothing for families
that cannot afford to buy them on their own. He has provided special provisions for the holidays
and the holy Shabbat for food and basic necessities.

He has helped people with life-saving surgeries that they could not afford. He has sent gifts to
young children on behalf of their parents who have been incarcerated so that it would look like
it's coming from the parents themselves to help foster love between parent and child even
during the most challenging times. During the height of Covid, when many families didn't know
how they were going to feed their children before the government stepped in with any sort of
financial assistance, David stepped up in a huge way, without even being asked, and rallied
many others around him to help, people who otherwise wouldn't have given. That is one of his
most unique traits. He doesn't just give. He gets everyone around him involved, too. He has that
innate ability to get others to do good.

I'm writing this to you with tears in my eyes, I can't begin to describe to you the impact that
these anonymous donations have made on hundreds of people's lives collectively.
David, through this process of pleading guilty to an insider trading crime, has already suffered
immeasurably through the pain and embarrassment this has caused him in the community, with
his family and friends, and I know he is extremely remorseful of his errors and judgment. He has
never once, in confidence, expressed anything other than an absolute apology, regret, and
sorrow for his iniquities.

Your Honor, I beseech you to understand the effects that prison would have on our dear friend
and community member, not only his family and himself but perhaps in a certain way even more
important to the dozens of community members that he has helped and continues to help. I
believe his outlook in life has changed considerably since I knew him 15 years ago, and his sole
focus in life is to be there for his family, to be a great example for them, and to help people that
are less fortunate in a way that is dignified, respectful, and without fanfare or overt
acknowledgment.

I was just in Israel for a family celebration. I had the opportunity to spend time with his eldest
son Ari, who, although he loves his father with every fiber in his body and soul and knows how
much his family needs him, understands very clearly the error his father made because his
father has so effectively explained this to him. His siblings teach them and all of us that taking
full responsibility is the way to go. But as we sat and cried together, we knew that everything will
be OK because his father's merits are many and will stand in his good stead and that he has
paid the price many times over through the pain he has already endured and will continue to
endure in the future. I beseech of you from the bottom of my heart, your Honor, as a Rabbi in
our community, speaking on behalf of all those that have benefited from David's magnanimous




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heart and open hand that you show him mercy and allow him to continue to do more to help
those less fortunate in a way that is so needed during these challenging times in our society.

David has been and can continue to be a role model speaking about his bad judgment, his
errors, and the process of repentance.

With respect and admiration,

Rabbi Zalman Lipskar




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                                                                   Zalman Minkowitz

Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
Re: David Schottenstein


Dear Judge Woodlock,

David is a very special person.

He has this quality that he will seek out the people that are in need, and he will help
them. That's a new level of giving. There are those that will give if someone comes and
asks, which in itself is a very special characteristic. Then there is charity, which one
seeks the way most people seek when it comes to doing business.

During covid, my wife put out a video that went viral. It was about small businesses
having to close their doors while the bigger corporations were able to stay open. It didn't
make sense, and she had really strong points, how the small guys were literally losing
everything they had worked for no reason.

Small businesses can be much more careful in keeping customers safe while putting
safety guidelines into place. Anyway, it was a very heartfelt message that resonated with
many. even the major News outlets reached out to my wife about this.

After the video went out, David's heart was obviously touched, and he wanted to help.
He didn't state that to me when he called, and he didn't mention anything about our
outcry for businesses to open. All he did was ask me if I had any nice earrings for him to
give to his wife. I showed him lots of options, and he settled on three.

He seemed to be deciding which to take, but then he said; Hey, can you give me all three
pairs for this and this price?

I countered with another price, and he said, ship all three to me and charge my card. At
the height of the pandemic, he literally helped my business climb out of the hardships
we were in. These were not just earrings, and the total was significant. His purchase
meant so much for our business.




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David contributed to my life in such a beautiful and meaningful way.
This was just my story out of the many others I’ve witnessed where he helps people and
organizations by giving, in a discreet way to the recipient.

Sincerely,

Zalman Minkowitz
Amor Fine Jewelry




 Exhibit A - Page 265
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein


Dear Judge Woodlock,
I am a married father of three children, I sit on the board of many important organizations, all
of which are non-paid charity work. I live in Crown Heights Brooklyn, and I am very involved
with my community. I am writing this letter for a friend whom I have known for over 25 years. I
have watched him grow and have much admiration for him. David’s wife Eda and I grew up
together and feel like we are family.
 I know he has committed a crime and he is very ashamed and broken from this lapse of
judgement. It goes against every fiber of his being as I know him well. I am watching how its
destroying him from the inside. Our sages say “man doesn’t sin unless a spirit of folly enters
him.” David is the epitome of that statement; it is not his character at all. It was as if “the folly”
overtook him - breaking the true essence of who he is.
David is someone everyone looks up to. He puts his family and community above all else, he is
selfless and giving. If I would be in tough predicament or I would need advice he would be the
one, I would turn to- as well as send others. I would watch in amazement as he would donate
large sums of money to charities all over the world but what I was more amazed about was the
private charity where no one would know about it. I once found out about one such story as
was brought to tears how he helped a random family avoid eviction and he added a little extra
to the pile so they wouldn’t fall behind again. He did this without anyone knowing. When he
found out I knew about this, he reached out to me and pleaded that I keep it silent and that no
one should know about it. He cared so much more then the money he wanted that family to
have their dignity. This is just one many such instances.
In the Building that David resides in lives a holocaust Survivor. She has no one left in this world.
Every week David together with his children go visit. They bring her home cooked meals, buy
groceries and just spend time with this lonely Elderly women. She joins them for shabbat
dinner and holiday meals. When they are away – they make sure that she has everything she
needs.
David is extremely remorseful for his indiscretion, more then the shame he must carry around
for the rest of his life, what bothers him more is the shame he has brought to his family, his
wife Eda and his innocent young children- as well as the community at large.




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David like I have said earlier is a family man like none I have seen, he spends so much time with
children and cherishes them so much – to the extent that if his daughter would make a
bracelet, he would wear it just so she would have the pride to know how much it meant to him.
He would walk around showing off pictures of his children’s and their accomplishments – they
are his pride and joy. With his support his wife Eda has been able to go back to school and get a
master’s degree in psychology. She has only been able to do this with the loving and supportive
husband David is. It would cause tremendous heartbreak to his family who rely so much on
their father for day-to-day support and guidance.


If I were forced into a corner to beg and plead for mercy for one person it would be David and I
will beg and plead for mercy for him, for there aren’t as many people who I know who would
take their shirts off their backs and give their time as he would.
A more appropriate punishment would be for him to take his talents and do many hours of
community service where he will not only be rehabilitated but help many more people at the
same time.


I thank you for taking time out of your busy schedule to read my letter and I hope you find it in
your heart to save a family from drowning.
Sincerely your
Zalman Skoblo




 Exhibit A - Page 267
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

         Re: David Schottenstein


Dear Judge Woodlock,

I am writing to request leniency for my friend David Schottenstein. I have known
David for over 20 years and he has always been an amazing friend to me and
my family. A few years back, after losing my business, David was the first and
one of the only people to reach out to me, asking how he could help me and
what he could do to help me get back on my feet. He is the first person to offer a
helping hand or ear in any time of need, and he has done so much for his local
community and communities that he is not even a part of.

I have firsthand knowledge of the many acts of kindness that David has done for
too many people to count, and considering all the good he has done, I ask that
you treat him with the same kindness and generosity that he has always shown
to others.

I also know firsthand the positive impact that David can have on the younger
generation if he is allowed to stay out of prison and instead use his talents to
speak to others, especially the younger generation, about his story and the
lessons he can give about the importance of always obeying the law and
thinking about the potentially negative impacts of any actions they may take.

Additionally, I ask that you consider the impact on David's family, particularly his
wife and four young children, in your decision. Our families are close friends and
I know firsthand how devoted David is to his family. He always made sure to
never travel overnight if he did not have to so that he would not be away from
his kids, and he is constantly on the phone with his wife and children when he
does have to travel for work. His entire world revolves around them, and they
would be greatly impacted without having him at home.

I have also had the opportunity to work directly with David as an investor and
advisor in numerous start-ups, and I have witnessed firsthand the mentoring
and guidance that he has provided to the many founders and small business
owners he has worked with. His knowledge and passion for business have
helped many entrepreneurs grow their businesses, creating jobs for so many


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people around the country. I ask that you take into consideration the fact that if
David is incarcerated, he will not be able to continue helping the current
business owners he is mentoring and working with, which could have a negative
effect on their businesses.

I want to assure you that in my time working with David intimately, he has
always acted in a completely ethical way when it comes to all business matters.
The actions for which he has taken responsibility were clearly a huge mistake on
his part, but they are far from the character traits I have seen him demonstrate
in all my business dealings with him.

I believe that David has the potential to make a positive difference in the lives of
others, and I ask that you consider all these points when deciding on his
sentence.

Thank you for considering my request.

Sincerely,


Zalmi Duchman




 Exhibit A - Page 269
December 8, 2022                                                                       Zev Wineberg


Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
       Re: David Schottenstein

Dear Judge Woodlock,

I am writing on behalf of my dear cousin, David Schottenstein. My name is Rabbi Zev Wineberg.
In 2002 I married Rivka Kirschenbaum, a first cousin of David. Theirs is a very sociable and
gregarious family, and David went out of his way to always make me feel a part of things. This is
very indicative of how David has lived his life.

In 2006, Rivka and I established a community center in Queens, NY. David, at the time, was
living in Columbus, OH. He had a fledgling business and family together with all sorts of
additional local responsibilities. Still, David sought us out, showed genuine interest in our work,
encouraged and challenged us to aim higher, and put his money where his mouth was! I
distinctly remember receiving a call from David in late 2007, where he asked me, “What do you
have going on?” As I shared the details of a program, he asked, “How much does that cost?”
After exhausting our complete schedule for the next several months then, he summarily
contributed the entire cost. Aside from the generosity and level of care, what really moved me
was that he literally got nothing out of it! Not even recognition, as he did not allow us to
acknowledge his support publicly.

Exactly one year ago, Rivka and I were in Miami Beach visiting with a community member in
hospice. Late in the evening, we drove up to Surfside to visit with Rivka's sister and brother-in-
law. While there, David came over and shared with us some of the details of his legal troubles. I
have never seen a man so humbled and contrite. Not even one expression of anger or
frustration, only absolute acceptance. His primary concerns revolved around his wife and
children, his extended family, his beloved community, and beyond.

David has many personality assets, many character strengths, and a bit of Mazal too! I can
attest that he exclusively uses them to benefit other people. I do not believe he has any “free
time”. When in a public setting, his time and attention are monopolized by all sorts, those
seeking advice, assistance, or just a pick-me-up. And when he is not doting on his wife and
children, he is the one doing the seeking, looking for ways to improve other people’s lives. I
sincerely believe that his drive to succeed is entirely motivated by the ability it will provide to
help more people.

I know that David broke the law. I know this because he told me as much in no uncertain terms.
I also know that it is the discretion of Your Honor to determine the appropriate penalty. In
considering that penalty, I respectfully ask the court to bear in mind this truth; David’s physical
presence makes a positive impact on countless lives every single day!

Your time and attention to my appeal are sincerely appreciated. I am writing to reiterate my
earnest plea that you allow David to stay with his family and with all his beneficiaries.

Respectfully Yours,
Rabbi Zev Wineberg



 Exhibit A - Page 270
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor
        Re: David Schottenstein

Dear Judge Woodlock,


My Name is Zevia Sirota Wuensch. David Schottenstein is married to my sister Eda. I am a mother of 8
children living in Jerusalem, Israel, and writing on behalf of all of us. David is and always was the anchor
of our family. I truly cannot imagine what would happen if he was not around for support.




He is the only person I know who will do anything for anyone. His whole being is about giving to the
next person financially and physically. I’m sure you will hear plenty about the amazing person that he is,
but I wish you really knew him personally to really see firsthand how special he is.

He is the ultimate family man. He has never missed any family events. He is so much part of our lives
daily.
My son, who was living alone and in limbo, knew to call David, who of course, guided him and got him a
job. He made sure my son was stable and well taken care of. He is everyone’s favorite uncle, but for
myself and my husband- he is more than just an uncle to them. He is truly loved!

A while back David heard that there were families in Israel who had no money to buy bread and food for
their children. He immediately told my husband that he wants to help and started sending tens of
thousands of dollars to feed those families. He started a program with the Osher Ad supermarket chain
where they sell us grocery gift cards which David purchases, and now supports hundreds of families with
vouchers to feed their families. Last Chanukah, he asked to please add vouchers for those families to buy
holiday gifts for their kids. This is something most people have no clue David is doing, there is zero
public recognition but we are involved.
The list goes on and on.


I am writing and begging with all my heart not to separate David from his family. He sincerely regrets




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ever committing this act. He did not have to get caught but felt the guilt right away and
stopped on his own over three years before he was even approached by the government.


                                                     t. He is the most well-meaning person I know and
the last person anyone would believe can be in trouble. I am begging Your Honor to have compassion
and truly see who David is as a person and how much people will suffer without him being here for them.

Thank you for your consideration.

Respectfully,

Zevia Sirota/Wuensch




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BH




December 8th, 2022
Judge Douglas P. Woodlock
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210
Courtroom 1, 3rd floor

      Re: David Schottenstein

Dear Judge Woodlock,

I am sending this email in support of David Schottenstein who, as I understand, is facing
sentencing for criminal charges. I am a resident of Miami for over 50 years. My husband and
I have raised our seven children here and are currently enjoying the dividends of a large
brood of wonderful grandchildren, many of whom have
chosen to settle here. I am a high school teacher and I volunteer for a non-profit charity
fund which distributes food and provides other assistance to needy families. It was through
my involvement with the Tomchei Shabbos Fund that I became acquainted with David.

David has contributed generously to the fund. He has sponsored distributions of holiday
foods, a distribution of Chanuka toys and other gifts to deserving families as well as direct
financial assistance to struggling individuals and families.I am impressed with his concern
for those less fortunate. Rather than our organization soliciting funds from him, he always
initiated the contact.

He would typically text me to inquire what was needed and immediately and cheerfully offer
to sponsor the next program. Most of the recipients of his generosity had no idea as to the
identity of their benefactor whom some referred to as their angel. I have no knowledge of
the details of the charges against him. My experiences with him have shown him to be kind-
hearted and caring .I sincerely believe that he deserves compassion.

I am confident that he will utilize the opportunity to return to being an agent for goodness in
the community. I am confident that, if given the chance, he will prove himself worthy of a
second chance.
On behalf of the many adults and children whose lives were brightened by David's kindness
I plead with the court to show compassion to a man who himself has demonstrated
compassion.

Respectfully yours,


       Exhibit A - Page 273
Zipora Brusowankin




      Exhibit A - Page 274
